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              EXHIBIT 14
              EXHIBIT 14
                                    ALL INFORMATION CONTAINED
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    DOMESTIC INVESTIGATIONS
     AND OPERATIONS GUIDE
      FEDERAL BUREAU OF INVESTIGATION
          RELEASED MARCH 3, 2016
                         UPDATED SEPTEMBER 28, 2016




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             NOTICE OF SUPERSESSION AND UPDATE:
This document amends and supersedes the previous Domestic Investigations and Operations
                    Guide (DIOG), published November 18, 2015




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sound business practice. if an FBI employee obtains an item of evidence which clearly is not
relevant to the Assessment or investigation and there is no foreseeable future evidentiary or
intelligence value of the item for the FBI or the USIC, the item should be returned or destroyed
as circumstances warrant, with a record of the disposition documented in the file or on the FD-71
or Guardian (FD-71a). In the alternative, such item of evidence may be sequestered in the
investigative file. If it is later determined that the item of evidence is relevant, the item may be
used in the investigation upon such determination. The determination of relevancy will be made
on a case-by-case basis with supervisory direction and may include consultation with the
appropriate federal prosecuting office and/or the Chief Division Counsel (CDC) or the Office of
the General Counsel (OGC). This policy does not supersede Sections 18.6.4.1.5 (Administrative
Subpoenas); 18.6.5.1 (Federal Grand Jury Subpoena); 18.6.6.1.7 (National Security Letters); or
18.6.7.1.6 (PISA Order for Business Records), or any requirement imposed by statute, regulation
or other applicable law.

18.5      (U) AUTHORIZED INVESTIGATIVE METHODS IN ASSESSMENTS

(U) See AGG-Dom, Part II.A.4.
(U//F                                                       FD-71, in Guardian.'                              b7E




(U) In conducting an Assessment, only the following investigative methods are authorized:
         A) (U) Public information. (Scc Section 3 3 1)
         B) (U) Records or information - FBI and DOJ. (Sec Section 185.2)
         C) (U) Records or information - Other federal, state, local, tribal, or forei m government agency.
            (Sec Section 18.5_3)
         D) (U) On-line services and resources. (See Section 18.5.4)
         E) (U) CHS use and recruitment. (See Section 18,5.5)
         F) (U) Interview or request information from the public or private entities. (Sec Section 18.5.4)
         CH (U) Information voluntarily provided by governmental or private entities. (See Section 18.5.7)
         H) (U) Physical Surveillance (not requiring a court order). (See Section 13.5.8)
         I) (U/n71:30&) Grand jury subpoenas - to providers of electronic communication services or
            remote computing services for subscriber or customer information only during a Type I & 2
            Assessment (Sec Sections 3.3,n and 8.6.5)
(U//F U ) In Assessments, supervisory approval is required prior to use of the following
investigative methods: certain interviews, tasking of a CHS, and physical surveillance not
rea uirind                                                                                                    b7E




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 18.5.1       (U) INVESTIGATIVE METHOD: PUBLIC INFORMATION ("PUBLICLY
              AVAILABLE INFORMATION')

(U) See AGG-Dom, Part II.A.4.a and Part VII.L.
   18.5.1.1      (U) SCOPE

  (UHF01,15) Public information is "Publicly Available Information" that s:
       A) (U) Published or broadcast for public consumption;
       B) (U) Available on request to the public;
      C) (U) Accessible on-line or otherwise to the public;
       D) (U) Available to the public by subscription or purchase;
       E) (U) Made available at a meeting open to the public;
       F) (U) Obtained by visiting any place or attending an event that is open to the public (e.g.. public
          places); or
       G) (U) Observed, heard. smelled, detected or obtained by any casual observer or member of the
          public and does not involve unconsented intrusion into private places.
  (UHFOU0) The phrase "observed, heard, smelled, detected or obtained by any casual
  observer or member of the public" includes, for example, plain view observations;
  overhearing a conversation taking place at an adjacent table in a public restaurant; odor
  detection (by a person. drug dog. or technical device) emanating from a vehicle, in a public
  place, or from locations to which the employee has gained lawful access; searching property
  that has been intentionally abandoned, including property discarded in public trash containers
  or public dumpsters (but does not include a "trash cover" as set forth in DIOG Section
  18.6.12).
  (UAL6(4140) The following are examples:
          1) (U) Viewing the vehicle identification number or personal property that is exposed to
             public view and may be seen when looking through the window of a car that is parked in
             an area that is open to and accessible by members of the public;
          2) (U) The examination of books and magazines in a book store or the purchase of such items.
             See Maryland v. Macon, 472 U.S. 463 (1985); and
          3) (U) A deliberate overflight in navigable air space to photograph marijuana plants is not a
             search. despite the landowner's subjective expectation of privacy. See California v.
             Ciraolo, 476 U.S. 207 (1986).
  (U/iF(411:41) Note: Consent Searches are authorized in Assessments, as well as in Predicated
  Investigations.
  (U/tFESCA Note: If the originator of information reported to the FBI characterizes an
  individual, group. or activity in a certain way, and that characterization should be documented
  for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
  another party, and not the FBI, is the originator of the characterization.




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 18.5.1.2       (U) APPLICATION

(unroud                                                                                                     b7E




 18.5.1.3       (U) APPROVAL

(CM WU        Supervisory approval is not required for use of this method, except for the special
rule for attending a religious service, even if it is open to the public. (See DIOG Section
18.5.1.3.1)
         18.5.1.3.1      OnSPECIAL RULES: "SPECIAL RULE FOR RELIGIOUS
                         SERVICES" AND "SPECIAL RULE FOR OTHER SENSITIVE
                         ORGANIZATIONS"

               18.5.1.3.1.1 (U//FOLIO) SPECIAL RULE FOR RELIGIOUS SERVICES —
                            REGARDLESS OF WHETHER IT IS OPEN TO TILE GENERAL PUBLIC
                                                                                                            b7E
       A) (U//POUOt I Assessments.
                                                  rAn FBI employee attending a religious service overtly
          must have SSA approval. Higher approvals may be required under certain circumstances, such
          as attendance that rises to the level of UDR (see DIOG Section 16)


       B) (11/iFetter) I Predicated Investigations                                                          b7E
                                     An FBI employee attending a religious service overtly must have SA
          approval. Higher approvals maybe required under certain circumstances, such as attendance
          that rises to the level of UDP (see DIOG Section 161
                      (sec DIOG Section 18.6.13).
               18.5.1.3.1.2 (U/Wiettr) SPECIAL RULE FOR OTHER SENSITIVE
                            ORGANIZA [IONS

  A)         U//1, liU0) Dt Assessments'                                                                    b7E




  B)        (1177Meld43)-In Predicated Devestipatiion sa                                                    b7E




 18.5.1.4       (U) USE/DISSEMINATION

(U//F U ) The use or dissemination of information obtained by this method must comply with the
AGG-Dom and DIOG Section 14.




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 18.5.2       (U) INVESTIGATIVE METHOD: RECORDS OR INFORMATION- FBI AND
              DEPARTMENT OF JUSTICE (Dal)

(U) See AGG-Dom, Part II.A.4.b.
   18.5.2.1      (U) SCOPE
  (U/IFOrtt) An FBI employee may access and examine FBI and other DOJ records and may
  obtain information from any FBI personnel or other DOJ personnel. Access to certain FBI
  records may be restricted to designated FBI personnel because of the sensitive nature of the
  information in the record, the classification of the record, or the tool used to gather the
  information contained in the record. These include, but are not limited to: FBI records
  concerning human source identification; espionage investigations; code word; other
  compartmented information; records that include raw FISA collections; and Rule 6(e)
  material.
  (U//ferffer) Note: If the originator of information reported to the FBI characterizes an
  individual, group, or activity in a certain way, and that characterization should be documented
  for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
  another party, and not the FBI, is the originator of the characterization.
   18.5.2.2      (U) APPLICATION
  (U/tb U A                                                                                              b7E



   18.5.2.3      (U) APPROVAL
  (U//F U }Supervisory approval is not required to use this method, except that if the use of
  records constitutes pattern-based data mining under the Federal Data Mining Reporting Act of
  2007, it must be reviewed and approved according to Section 18.5.2.4 below.
   18.5.2.4      (U) PATTERN-BASED DATA MINING
  (U/tffle13) As used here, pattern-based data mining (PBDM) means queries or other analysis
  of electronic databases using two or more search criteria designed to discover or locate a
  predictive pattern or anomaly indicative of terrorist or criminal activity on the part of any
  individual or individuals (as defined in                                                               b7E
                                 ny such analysis based solely on racial, ethnic, national origin or
  religious characteristics is strictly prohibited.
  (U//F U ) Foi purposes of this requirement, pattern-based data mining does not include
  activities using one or more personal identifiers to identify an individual or analysis designed
  to discover links between a specific subject and unknown individuals or entities, even if the
  subject's actual identity is not yet known. Pattern-based data mining does not include queries
  or analysis designed solely to identify potential human sources of intelligence nor does it
  include activities designed to identify an individual or individuals associated with criminal or
  terrorist activity that has already occurred.                                                          b7E




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                                  'In contrast, database queries using criteria,                           b7E


                                             because the queries are being used to investigate a clime
   that has already occurred. Queries designed to identify individuals or entities who have had
   contact with a specific individual are not pattern-based data mining; rather, such queries are
   subject-based data mining, even if the specific individual's actual identity is presently
   unknown.
   (UHFOU ) The majority of data analysis performed during FBI Assessments and Predicated
   Investigations is based on specific individuals or events and therefore does not constitute
   pattern-based data mining because it is either link analysis or is not predictive of future
   behavior.
   (till-F(4438)-A Privacy Threshold Analysis (PTA) for pattern-based data mining must be
   completed and forwarded to the Privacy and Civil Liberties Unit, OGC. See the Privacy
                           Guide (Y2991)(i for additional details.
   (U//FEN444. The Sensitive Operations Review Committee (SORC) must also receive notice of
   any proposal to use pattern-based data mining as defined above. Additionally, pursuant to the
   FCCienti A -5.-Aicv Data Mininq Report i .1 Act of 2007:6 the FBI must advise the DOJ of all
   agency initiatives that involve the use of PBMID, so that those activities may be included in
   the Department's annual report to Congress. (See the Pattern-bawd Ditto             Reportin?.
   Paqivremegts Pen-- Directive.       IIN)).
    18.5.2.5      (U) USE/DISSEMINATION

   (U//FUUO) The use or dissemination of information obtained by this method must comply
   with the AGG-Dom and DIOG Section 14.
   (Uilr6t89) The request for the records and the records received from DOJ and used during an
   Assessment or Predicated Investigation must be maintained as part of the appropriate file
                                                                                                           b7E




26 (U) 42 U.S.C. § 2000ee-3
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 18.5.3       (U) INVESTIGATIVE METHOD: RECORDS OR INFORMATION- OTHER
              FEDERAL, STATE, LOCAL, TRIBAL, OR FOREIGN GOVERNMENT AGENCY

(U) See AGG-Dom, Part II.A.4.c.
   18.5.3.1      (U) SCOPE
  (U/1T+11644) An FBI employee may access and examine records maintained by. and request
  information from, other federal, state, local, or tribal, or foreign governmental entities or
  agencies. When requesting information using this authority, care must be taken to ensure the
  entity to which the request is made understands that it is not compelled to provide such
  information or create a new record to assist the FBI.
  (Ufiretre) Note: If the originator of information reported to the FBI characterizes an
  individual, group, or activity in a certain way, and that characterization should be documented
  for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
  another party, and not the FBI, is the originator of the characterization.
   18.5.3.2      (U) APPLICATION
  (UbCOU 6                                                                                            b7E



   18.5.3.3      (U) APPRov Ai,
                                                                                                      b7E
  (U//



  (UllFel3Q-}Requests to oilier Federal Agencies: The FBI may request, for a law
  enforcement purpose, that another federal agency disclose Privacy Act-protected records
  through a written request (5 U.S.C. 552a(b)(7)). Such written requests must be for a civil or
  criminal law enforcement purpose and must be made by the Director or his designee. (See 28
  CFR 16.40(c); OMB Guidelines, 40 Fed. Reg. at 28 sec. 955.) Pursuant to these provisions,
  the Director hereby delegates his authority to request formally from federal agencies
  information and records otherwise protected from disclosure by the Privacy Act, at FBIHQ, to
  all Section Chiefs and above, and in the field, to all SACs and ADICs. This authority may not
  be redelegated to a person below the rank of SAC in the field and SC in FBIHQ.
  (U) The FBI may also request another federal agency to disclose Privacy Act-protected
  records pursuant to that agency's published routine uses. See 5 U.S.C. sec. 552a(b)(3). These
  requests need not be made in writing, and there are no restrictions on which FBI personnel
  may ask for such information.
  (U//f^(3430) Requests to Foreign Agencies: Requests for records or information from a
  foreign government entity or agency must be appropriately coordinated through the applicable
  FBI LEGAT office, International Operations Division (IOD), INTERPOL, relevant FBIHQ
  operational division, and/or DOJ Office of International Affairs, as necessary. Direct contact
  with foreign government agencies is authorized in certain circumstances, such as an imminent
  threat situation.


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(U        If the analysis of records obtained in this manner constitutes Pattern-based Data
Mining (PBDM) under the Federal Data Mining Reporting Act of 2007. it must be reviewed
and approved according to Section 18.5.2.3, above.
(U/tES Example:                                                                                   b7E




18.5.3.4     (U) USE/DISSEMINATION

(U/IFOUO) The use and/or dissemination of information obtained by this method must
comply with the AGG-Dom and DIOG Section 14.
(U/bP886) The request for the records and the records received from an outside entity and
gsed_during an ff ssessment or Predicated Investigation must be maintained as cart of the
aDDI'onrlate file                                                                                 b7E




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 18.5.4       (U) INVESTIGATIVE METHOD: ON-LINE SERVICES AND RESOURCES
(U) See AGG-Dom, Part II.A.4.d.
   18.5.4.1     (U) SCOPE
  (U//f9.144) An FBI employee may use any publicly available on-line service or resource
  including those that the FBI has obtained by subscription or purchase for official use,
  including services available only to law enforcement entities.
  (U//1/0c0) Note: If the originator of information reported to the FBI characterizes an
  individual, group, or activity in a certain way, and that characterization should be documented
  for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
  another party, and not the FBI, is the originator of the characterization.
   18.5.4.2     (U) APPLICATION
  (U/tOUO) This investigative method may be used prior to opening an Assessment, in
  Assessments, Predicated Investigations, foreign intelligence collection investigations, and for
  assistance to other agencies.
   18.5.4.3     (U) APPROVAL
  (U//FOU ) Supervisory approval is not required to use this method, although subscribing to
  or purchasing any new service or resource must be done according to FBI contracting
  procedures.
  (U//FOtte) Example: Publicly available on-line services or resources include, but are not
  limited to:                                                     Online resources that may be        b7E
  purchased by the FBI for official use include, but are not limited to:I



   18.5.4.4     (U) USE/DISSENIINATION
  (U//feible+ The use or dissemination of information obtained by this method must comply
  with the AGG-Dom and DIOG Section 14.
  (U) See 1)106 Appendix L     On-line hivestioations for additional information.




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 18.5.5       (U) INVESTIGATIVE METHOD: CHS USE AND RECRUITMENT

(U) See AGG-Dom, Part II.A.4.e.
   18.5.5.1      (U) SCOPE
  (U//F U ) The FBI may use and recruit human sources in Assessments and Predicated
  Investigations in conformity with the AGG-Dom, Attorney General Guidelines Regarding the
  I Poe of FRI CianFdentF I Hit man Sources (AGG-CHS), thd                                                b7E
                              and the
                        In this context, "use" means obtaining information from, tasking, or
  otherwise operating such sources. See AGG-Dom, Part VII.V.
  (U         ) Note: If the originator of information reported to the FBI characterizes an
  individual, group, or activity in a certain way, and that characterization should be documented
  for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
  another party, and not the FBI, is the originator of the characterization.
 (LU
   J


   (U//F U                                                                                                b7E




   18.5.5.2      (U) APPLICATION
  (U/tR3440) This investigative method may be used in Assessments, Predicated Investigations,
  foreign intelligence collection investigations, and for assistance to other agencies when it is
  not otherwise prohibited by AGG-Dom, Part III.B.2.
  (U) When collecting positive foreign intelligence, the FBI must operate openly and
  consensually with an USPER, to the extent practicable.
  (U//Fn1444) A CHS can be "used" in support of an Assessment and a Predicated Investigation
  or for the purpose of validating, vetting or determining the suitability of another CHS as part
  of an Assessment.
   18.5.5.3      (U) APPROVALS
  (U//FOUO) All investigative methods should be evaluated to ensure compliance with the
  admonition that the FBI should use the least intrusive method if reasonable based upon the
  circumstances of the investigation. That requirement should be particularly observed during
  an Assessment when using a CHS because the use of a CHS during an Assessment may he
  more intrusive than many other investigative methods. Use of a CHS in an Assessment should
  take place only after considering whether there are effective, less intrusive means available to
  obtain the desired information. The CHS must comply with all constitutional, statutory, and
  regulatory restrictions and limitations. In addition:
       A) (U//I- U ) CHS use and direction must he limited in focus and scope to what is necessary to
          accomplish the authorized purpose and objective of the Assessment or Predicated
          Investigation                                                                                   b7E



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     B? (U//Feel) Dm in2 an Assessment                                                                       b7E
                                          ksee the Special Rule for Religious Services and the Special
        Rule for Other Sensitive Organizations below) only to the extent that such information is
        necessary to achieve the specific objective of the Assessment. If such contact reveals
        information or facts about an individual, group or organization that meets the requirements to
        open a Predicated Investigation, a Predicated Investigation may be opened, as appropriate.
     C) (U/H-etrerr Special Rule for Religious Services - regardless of whether it is open to the
        general public:
        I) (Uaiiet39) In Assessments.I                                                                       b7E
                                                fAn 1.131 employee attending a religious service
           overtly must have SSA approval. Higher approvals may be required under certain
           circumstances, such as attendance that rises to the level of UDP (see DIOG Section 16).

        2) (1.1/7M1216) In Predicated Investigations:                                                        b7E
                                    kn FBI employee attending a religious service overtly must have
           SSA approval. Higher approvals may be required under certain circumstances such as
           attendance that rises to the level of UDR (see DIOG Section 16
                                     [sec DIOG Section 18.6.13).
     D) (U/           Special Rule for Other Sensitive Organizations:
        1) (1.111+4444) In Assessments:                                                                      b7E




        2) (1.1/21ietie) In Predicated Inve   a in                                                           b7E




     E) (U/21   U ) I ublic Information                                                                      b7E




F)         (U/Mertht+)-Non-Public Information:                                                               b7E




G)          1177rftirI44)1                                                                               I   b7E



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                                                                                              This         b7E
           principle does not. however. elunmate the legal concept of a consent search or the doctrine
           of misplaced confidence that may be relied on by the government to gain access to
           otherwise protected places or information when the CHS has been granted access by a
           consenting party and the CHS stays within the scope of the consent provided. The doctrine
           of misplaced confidence provides that a person assumes the risk when dealing with a third
           party that the third party might be a government agent and might breach the persons
           confidence'                                                                                     b7E




           (U) Example:
               (U/7MITI/t7) Scenario                                                                       b7E


               (U//171/110) Response:                                                                      b7E




                tmrets€4-                                                                                  b7E




18.5.5.4       (U//        ) APPLICABILITY orrHE MISPLACED CONFIDENCE DOCTRINE
               DURING CHS ONLINE ACTIVITY

UHF U )




                                                                                                           b7E




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                                                   luidelines.

18.5.5.5       (U) USE/DISSEMINATION

(Unfee&) The use or dissemination of information obtained by this method must comply
with the AGG-Dom, DIOG Section 14, and the                                                   b7E




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 18.5.6        (U) INVESTIGATIVE METHOD: INTERVIEW OR REQUEST INFORMATION
               FROM THE PUBLIC OR PRIVATE ENTITIES

(U) See AGG-Dom, Part II.A.4.f; AGG-Dom, Part II.B.4.
    18.5.6.1      (U) SCOPE
   (U//Fertit An interview is the questioning of an individual (including a subject or target) in
   order to gather information that is pertinent to and within the scope of an authorized
   Assessment or Predicated Investigation, or otherwise within the scope of FBI authority. An
   "interrogation" is a type of interview. For purposes of this policy provision, the terms
   "interview" and "interrogation" are interchangeable. In accordance with DIOG Section 5.1.1,
   the initial questioning of a complainant is not an interview, nor is re-contacting a complainant
   to clarify information that was initially provided. Normally, an FBI employee should disclose
   the employee's affiliation with the FBI and true purpose of the interview at the outset. The
   person being interviewed is voluntarily providing information and his/her Constitutional
   rights must be respected.
   (U//F U ) It is the policy of the FBI that an employee27 must not use force, threats, improper
   promises, or physical abuse when conducting an interview, or the threat of such abuse to the
   person being interviewed, or to any third party. It is also the policy of the FBI that an
   employee must not impose severe physical conditions on the person being interviewed.
   (U//FOUO) All persons, whether in custody or not, located domestically or overseas, who are
   interviewed by FBI employees must be treated in accordance with FBI policy at all times. In
   addition, FBI employees must adhere, at all times, to the Constitution and laws of the United
   States, including but not limited to the prohibition against torture found in chapter 113C of
   title 18, United States Code, when conducting any interview or interrogation regardless of
   geographic location of the interview or interrogation.
   (U/I-1441341) FBI employees may not obtain a statement by force, threats, or improper
   promises. FBI employees do not have the authority to promise leniency or immunity from
   prosecution. Additionally, the interviewer should make reasonable efforts to obtain
   information that is accurate, relevant, timely, and complete. An interview may only elicit a
   description of how an individual exercises a right guaranteed by the First Amendment to the
   Constitution if such information is pertinent to and within the scope of an authorized activity;
   similarly, regardless of how such information is elicited, it may not be maintained in FBI files
   unless it is pertinent to and within the scope of an authorized activity.
   (U//F U ) Nothing in this section prohibits asking for or accepting volunteered access to
   personal or real property. "Consent Searches" are authorized in Assessments, as well as in
   Predicated Investigations.
   (UHF-9444;0                                                                                                   b7E




2 The term "FBI employee includes, but is not limited to, an operational/administrative professional staff
person, intelligence analyst, special agent, task force officer (TFO), task force member (TFM), task force
participant (TFP), detailee, and FBI contractor.

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(UM OU ) Note: If the originator of information reported to the FBI characterizes an
individual, group, or activity in a certain way. and that characterization should be documented
for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
another party, and not the FBI, is the originator of the characterization.
18.5.6.2     (U) APPLICATION

(U//F U                                                                                                  b7E




18.5.6.3      (U) VOLUNTARINESS

(U//F U J Information that is sought during an interview must be provided voluntarily. It is
the policy of the FBI that an employee must not use force, threats, improper promises, or
physical abuse when conducting an interview, or the threat of such abuse to the person being
interviewed, or to any third party. It is also the policy of the FBI that an employee must not
impose severe physical conditions on the person being interviewed.
(U/WOU0) FBI employees do not have the authority to promise leniency or immunity from
prosecution. If, during a non-custodial interview, the interviewee indicates he or she wishes to
consult an attorney, the interviewer should assess whether continuing the interview would
negatively affect the voluntariness of any further information provided. In determining
whether a statement has been given voluntarily, courts evaluate a "totality of the
circumstances," which may include consideration of the following factors:
    A) (U//te148+ Whether the interviewee was notified of any charges against him/her or advised of
       his/her rights;
    B) (U//FOUO) The interviewee's age, intelligence, experience, and physical condition:
    C) (U//1-0u0) Whether there was any physical abuse or threats of abuse during the interview;
    D) (U/fteter) The number of officers present and whether weapons were displayed during the
       interview;
    E) (U//Feet le) Whether threats or psychological pressure was used during the interview;
    F) (U//F0t6TWhether the interviewee was deprived of food, sleep, medication, or outside
       communication during the interview;

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               G) (11/71- U ) The duration of the interview, and whether any trickery, ruse, or deception was
                  used; and
               H) (1.17/18191±5) Whether there were any promises of leniency or other inducements made during
                  the interview.
     (1.14Fette) See Sections 18.5.6.3.8. 18.5.6.3.9, and 18.5.6.4.13 below for additional
     considerations when interviewing juveniles.
     (U/f  U ) These factors are illustrative. The presence of any one or more of the factors
     mentioned above will not necessarily make a statement involuntary.
      18.5.6.4          (U) APPROVAL / PROCEDURES

     (U//            ) Generally, interviews do not require supervisory approval, except for:
          A)        (U// FOLIO) Circumstances involving the Advice of Rights in Connection with Operational
                    Terrorists inside the United States (Sec Section 18.5.6.4.1.4 below);
          B)        (U) Contact with Represented Parties (See Section 18.5.6.4.5 below);
       C)           (U) Member of the U.S. Congress and their Staffs (Sec Section 18.5.6.4.6 below);
          D)        (U) White House Personnel (See Section 18.5.6.4.7 below);
          E)        (U) Members of the News Media (Sec Section 18.5.6.4.8 below); and
          F)        (U(LBQirlSj                                                                                     b7E


     (Uilfe86) No policy or PG may contradict, alter or otherwise modify the interview
     standards of the DIOG, i.e., requiring approvals for other types of interviews not specified
     above, etc. PGs may, however, require prior notice to FBIHQ for other interview types.
                 18.5.6.4.1       (U) DOMESTIC CUSTODIAL INTERVIEWS-3°

     (ullretir) An FBI employee must advise a person who is in custody of his/her Miranda
     rights. per the                     TD-395 form, before beginning an interview inside the
     United States with the exception of questioning reasonably prompted by a concern for public
     safety (discussed below) including the exception of questioning reasonably prompted by a
     concern for public safety (See DIOG Section 18.5.6.4.1.3 below]
                                                                          See DIOG Section
     18.5.6.4.1.4 below). It is critical that the person understand his/her rights before questioning.
     By signing the FD-395, the defendant acknowledges that he/she has been advised of his/her
     rights and is willing to proceed without a lawyer present. Once the advice of rights is provided
     and the interviewee voluntarily. knowingly, and intelligently waives those rights, the
     interview may proceed until such time as the interviewee invokes a right to silence and/or
     counsel]



     (U/ffeee) A person is "in custody" for purposes of Miranda when his/her freedom of
     movement is significantly restricted. Custody can arise short of formal antst when, judg ng
     from the totality of the circumstances, a reasonable person in the position of the interviewee

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      would believe that he/she is in custody. A brief, temporary investigative detention is not
      custody provided it is reasonable in scope. In assessing whether a temporary detention is
      reasonable in scope and thus not custody for purposes of Miranda, factors to consider include
      the degree of force used to affect the detention, use of restraining devices and whether the
      individual was moved from the location of the stop. Employees can clarify custodial status by
      telling the person that he/she is not under arrest. See DIOG subsection 18.5.6.4.17.3 below
      regarding requirements for recording custodial interviews. All statements made during a
      custodial interview of persons arrested by the FBI for federal crimes,31 prior to initial
      appearance and while in a place of detention with suitable recording equipment, must be
      electronically recorded (with very limited exceptions as listed in DIOG subsection
      18.5.6.4.17.4, below).
                     18.5.6.4.1.1 (U) MIRANDA WARNINGS REQUIRED DOMESTICALLY

            (U/T0171)Miranda warnings are required when a person:
            A) (U//1-6H@) Has been arrested and is in federal, tribal, state, or local custody;
            B) (U/443440) Is significantly restricted in his freedom of movement to a degree normally
               associated with a formal arrest; or
            C) (U//1     ) Regardless of custody, has previously been formally charged, prosecution is
               pending. and the subject matter of the interview concerns the pending charge.
            (U//F U ) For the purposes of Miranda. an interview refers to express questioning and
            any words or actions that are reasonably likely to elicit an incriminating response. In a
            custodial interview, the individual must be advised of the names and official identities of
            the employee(s) conducting the interview, the nature of the inquiry, and provided
            Miranda warnings, per the FD-395 form, before being interviewed. After being advised
            of his/her rights, if an interviewee who is in custody, invokes the right to counsel and/or
            the right to remain silent, this must be honored and the interview must cease. However,
            once the advice of rights is provided and the interviewee voluntarily, knowingly, and
            intelligently waives those rights, the interview may proceed until such time as the
            interviewee invokes a right to silence and/or counsel. While an express waiver, including
            signing a waiver portion of the FD-395, is preferred                                                           b7E

            Once the interviewee invokes his or her right to remain silent and/or right to counsel, the
            interview must immediately be terminated. The fact that the interviewee invoked the right
            to counsel and/or the right to remain silent should be recorded on the FD-395 and the
            form should be executed in all other respects.
                     18.5.6.4.1.2 (U) MIRANDA WARNINGS NOT REQUIRED DOMESTICALLY

            (U//FOUO) There are certain custodial interviews in which the protection Miranda
            provides against self-incrimination may not he served by reading the standard warnings
            and obtaining a waiver. In the following circumstances, Miranda warnings are not
            required for custodial interviews:
            A) (1.174;01fte/ standard hooking questions;



31   This policy does not pply to a person divested firr a state or local crime during   ent or Task force investigation

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         B) (UOIOU0) an interview of the incarcerated individual as a victim or witness in an unrelated
            matter that does not pertain to any pending charges against the interviewee;

         C) (117/1-0U0) the public safety exception (discussed in more detail below); and

         D) (UC rUuO, in connection with arrests of operational terrorists inside the United States
            (discussed in more detail    below).
                  18.5.6.4.1.3 (ULF-QUO) PUBLIC SAFETY EXCEPTION
         (U/FLQUQ) The warning and waiver of rights is not required when questions are asked
         that arc reasonably prompted by a concern for public safety                                                     b6
                                                                                                                         b7C



                                    This public safety exception could also apply to other
         situations where imminent threat(s) to the safety of law enforcement officers or
         member(s) of the public could be alleviated by questions necessary to neutralize the
         threat.
                  18.5.6.41.4 (UHFOU69 ADVICE OF RIGHTS IN CONNECTION WITH ARRESTS
                                 OF OPERATIONAL TERRORISTS INSIDE THE UNITED STATEs32
         (U//F U ) Identifying and apprehending suspected terrorists. interrogating them to
         obtain intelligence about terrorist activities and impending terrorist attacks, and lawfully
         detaining them so that they do not pose a continuing threat to our communities are critical
         to protecting the American people. The DOJ and the FBI believe that we can maximize
         our ability to accomplish these objectives by continuing to adhere to FBI policy regarding
         the use of Miranda warnings for custodial interrogation of operational terrorists33 who are
         arrested inside the United States:
         A) (U//alQ) If applicable. agents should ask any and all questions that arc reasonably
            prompted by an immediate concern for the safety of the public or the arresting agents without
            advising the arrestee of his Miranda rights.''

         B) (U//   U ) After all applicable public safety questions have been exhausted, agents should
            advise the arrestee of his/her Miranda rights and seek a waiver of those rights before any
             further interrogation occurs, absent the exceptional circumstances described below.




   (U/412Q440) This guidance applies only to arrestees who have not been indicted and who are not known to be
represented by an attorney. For policy concerning the interrogation of indicted defendants, see Section 18.5.6.4.1;
and for policy concerning contact with represented persons, see DIOG Section 18.5.64.5,
11
  (U/8”1/1O1O4 For these purposes, an operational terrorist is an arrestee who is reasonably believed to be either a
high-level member of an international terrorist group; or an operative who has personally conducted or attempted to
conduct a tentrist operation that involved risk to life; or an individual knowledgeable about operational details of a
pending terrorist (Iteration.
31(U/41-103:18) The Supreme Court held in New Um* r. Quarles. 467 U.S. 649 (1984). that if law enforcement
officials engage in custodial interrogation of an individual that is "reasonably prompted by a concern for the public
safety: any statements the individual provides in the course of such interrogation shall not be inadmissible in any
criminal proceeding on the basis that the warnings described in Miranda V. Arizona. 384 US. 436 (1966), were not
provided. The Court noted that this exception to the Miranda rule is a narrow one and that "in each case it will he
circumscribed by the {public safety} exigency which justifies it." 467 US. at 657.

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        C) (U//Fettrhere may he exceptional cases in which, although all relevant public safety
           questions have been asked, agents nonetheless conclude that continued unwarned interrogation
           is necessary to collect valuable and timely intelligence not related to any immediate threat, and
           that the government=s interest in obtaining this intelligence outweighs the disadvantages of
           proceeding with unwarned interrogation.`
            (U//41 U ) In these exceptional cases, agents must seek SAC approval, which cannot be
            delegated, to proceed with an unwarned interrogation after the public safety questioning is
            concluded. Whenever feasible, the SAC will consult with FBIHQ (including OGC) and DOJ
            attorneys before granting approval. Presentment of an arrestee may not he delayed simply to
            continue the interrogation, unless the arrestee has timely waived prompt presentment.
          UHFS177701 The determination whether particular unwamed questions are justified on
        public safety grounds must always be made on a case-by-case basis based on all the facts
        and circumstances. In light of the magnitude and complexity of the threat often posed by
        terrorist organizations, particularly international terrorist organizations, and the nature of
        their attacks, the circumstances surrounding an arrest of an operational terrorist may
        warrant significantly more extensive public safety interrogation without Miranda
        warnings than would be permissible in an ordinary criminal investigation. Depending on
        t he lads. such inierroualion might include. for examnIel                                                    b7E




        (UHFOUG) As noted above, if there is time to consult with FBIHQ (including OGC) and
        Department of Justice attorneys regarding the interrogation strategy to be followed prior
        to reading the arrestee his Miranda rights, the field office should endeavor to do so.
        Nevertheless, the agents on the scene who are interacting with the arrestee are in the best
        position to assess what questions are necessary to secure their safety and the safety of the
        public, and how long the post-affest interview can practically be delayed while
        interrogation strategy is being discussed.
           18.5.6.4.2       (Ill/          MIRANDA WARNINGS FOR SUSPECTS IN CUSTODY OVERSEAS

   (U/LF-4130) The decision to use or not use Miranda warnings during an overseas custodial
   interrogation will have to be made on a case-by-case basis and weigh many factors. Overall, if
   there is a reasonable likelihood of a prosecution in a U.S. civilian criminal court of the person
   being interrogated while in custody overseas, agents should discuss with FBIHQ, FBI OGC.
   and DOJ whether warnings should he provided to the person being interrogated. Once the
   determination is made to provide Miranda warnings as pail of an overseas custodial


35 (U//F44149) The Supreme Court has strongly suggested that an arrestee's Fifth Amendment right against

self-incrimination is not violated at the time a statement is taken without Miranda warnings, but instead may
be violated only if and when the government introduces an unwarned statement in a criminal proceeding
against the defendant. See Chavez v. Martinez, 538 U.S. 760, 769 (2003) (plurality op.); id. at 789 (Kennedy, J.,
concurring in part and dissenting in part); cf also id. at 778-79 (Souter, J., concurring in the judgment); See
also United States v. Patane, 542 U.S. 630, 641 (2004) (plurality opinion) ("[V]iolations [of the Fifth
Amendment right against self-incrimination] occur, if at all, only upon the admission of unwarned statements
into evidence at trial:), United States v. Verdugo-Urguidez, 494 U.S. 259, 264 (1990) C[A] violation [of the
Fifth Amendment right against self-incrimination] occurs only at trial/.

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interrogation, if the person being interrogated invokes his right to remain silent or consult
with an attorney, this invocation should be honored. If use of Miranda warnings is appropriate
given the circumstances of the case, the following DOJ-approved modified waiver form
should be used. The form is the Standard Ad r.<- of 4igha,, for Snsoects in Foreign Custody.
FD-MU.
      18.5.6.4.3       (U) CONSTITUTIONAL RIGHTS TO SILENCE AND COUNSEL UNDER
                       MIRANDA

    A) (U//F U ) Silence: If a custodial interviewee invokes his/her right to remain silent. FBI
       employees should not attempt a subsequent interview until a significant period of time has
       elapsed (a two-hour period has been held to he significant) or the interviewee requests to be
       interviewed anew. In either case, an FBI employee will ensure that the interviewee is again
       advised of his/her Miranda rights and indicates that he/she understand those rights before
       further questioning. If the interviewee again asserts his/her right to remain silent or the right to
       counsel, questioning must cease at that time. Assertion of the right to silence, like assertion of
       the right to counsel, must he unequivocal and unambiguous. A waiver of the right to remain
       silent occurs when an interviewee knowingly and voluntarily makes a statement; assertion of
       the right to remain silent requires more than mere silence in the face of questioning. This right,
       like the right to counsel, can be invoked at any time during custodial interrogation. Agents
       may continue questioning someone who has not clearly invoked his/her right to remain silent,
       hut if the custodial interviewee asserts his/her right to silence, questioning must cease at that
       time.
    B) (11//1 U ) Counsel: If a custodial interviewee invokes his/her right to counsel, questioning
       must cease. FBI employees may not attempt a subsequent interview unless counsel is present.
       the custodial interviewee initiates contact, or there has been a break in custody of at least 14
       days.
       1) (11a) When a custodial interviewee who has invoked his/her right to counsel
          initiates a subsequent interview, an FBI employee must ensure that the interviewee is
          advised of and understands his/her Miranda rights before proceeding with the interview.
          Not every statement by a custodial interviewee can fairly he interpreted as initiating a
          subsequent interview. In order to constitute the initiation of an interview, the custodial
          interviewee must either directly request such or use words that are reasonably interpreted
          as expressing a desire to he interviewed. If the words used are ambiguous. the FBI
          employee should clarify the custodial interview eels intent by asking directly whether the
          custodial interviewee wants to he interviewed. The words and responses, if any, to such
          clarifying questions should he documented. General conversation by a custodial
          interviewee cannot be interpreted as indicating a desire to be interviewed and cannot be
          used standing alone to predicate a second interview after the right to counsel has been
          invoked. If the interviewee again asserts his/her right to counsel. or invokes his/her right to
          silence, questioning must cease at that time.
       2) (U//       ) When an uncharged and/or unrepresented interviewee who has previously
          invoked his/her right to counsel experiences a break-in-custody of at least 14 days. he/she
          may he approached for a subsequent interview. FBI employees, however, must ensure that
          the custodial interviewee is again advised of and waives his/her Miranda rights before
          proceeding with the interview. A break-in-custody for these purposes can occur even if an
          interviewee is continuously incarcerated. Questions as to what constitutes a break-in-
          custody should he directed to the CDC or OGC.



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       3) (U//}        Contact with a represented person outside the presence of his/her counsel may
          implicate state ethics rules for attorneys (AUSAs). Before making such contact, employees
          arc encouraged to contact the CDC, OGC, or the USAO. Once a represented person has
          been charged, information may only he elicited from the person: 1) regarding an unrelated
          or uncharged matter or 2) when counsel is present. Questions as to whether an individual is
          in fact represented or may he questioned as to a particular matter should he directed to the
          CDC or OGC.
      18.5.6.4.4      (U) SIXTH AMENDMENT RIGHT TO COUNSEL

(1.1//P6inte.) The Sixth Amendment Right to Counsel requires the government to advise and
obtain a waiver of the Right to Counsel prior to interviewing the person to whom the right has
attached. The Right to Counsel attaches upon indictment regardless of whether the indicted
person realizes an indictment has been returned. The Right to Counsel also attaches upon the
filing of information and at the time of an initial appearance on a Federal Complaint. The
Right to Counsel is offense specific. When applicable, a warning regarding the Right to
Counsel and subsequent knowing and voluntary waiver must occur prior to an interview.
regardless of whether the person is in custody. Providing a person with a Miranda warning
and obtaining a waiver per the use of Form FD-395 will permit the interview of the person
after the Right to Counsel has attached. The Sixth Amendment right to counsel does not
prohibit the government from re-contacting the subject if the subject refuses initially to waive
this right or otherwise has requested or obtained counsel following an Initial Appearance.
However, further attempts to interview the subject may be prohibited if the subject invoked
his right to counsel and remained in continuous custody or then1 was an insufficient break i
custody (consistent with Miranda and its progeny). In addition,                                           b7E




      18.5.6.4.5      (U) CONTACT WITH REPRESENTED PERSONS

(U//FOUO) CDC or OGC review is required before contact with represented persons in the
absence of prior notice to counsel. Such contact may implicate legal restrictions and affect the
admissibility of resulting evidence. Hence, if an individual is known to be represented by
counsel in a particular matter, the CDC must follow applicable law and DOJ procedure when
reviewing the request to contact the represented individual in the absence of prior notice to
counsel. The SAC, CDC, or their designees, and the United States Attorney or his or her
designees must consult periodically on applicable law and DOJ procedure relative to contact
with represented persons. The field office may raise inconsistent application of: (i) state ethics
rules; or (ii) rules for contacts with represented persons with the USAO and request that it
consult with the DOJ Professional Responsibility Advisory Office. (AGG-Dom, Part V.B. I)
      18.5.6.4.6      (U) MEMBERS OF THE UNITED STATES CONGRESS AND THEIR STAFFS

(U//FOUO) Generally, FBI employees may accept information offered from Congressional
offices just as they would accept information from other sources, and they may act upon it
accordingly.                                                                                              b7E




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      18.5.6.4.7     (U) WHITE HOUSE PERSONNEL
(U/W-480418) FBI employees may accept information offered by White House personnel just as
they would accept information from other sources, and they may act upon it accordingly.             b7E

                                                                                 (A dditional
guidance regarding contact with White House personnel may be found in the AG
Memorandum captioned "Communications with White House and Congress" dated May 11
2009. (See DIOG Appendix D) Note:




      18.5.6.4.8     (U) MEMBERS OF THE NEWS MEDIA
            18.5.6.4.8.1 (1.) APPROVAL REQUIREMENTS
    (U) Attorney General approval, including notice to the Director of the DOJ's Office of
    Public Affairs, must be obtained prior to conducting an interview of a member of the
    news media for any offense which the member of the news media is suspected of having
    committed in the course of, or arising out of. the coverage or investigation of a news
    story, or while engaged in the performance of his/her official duties as a member of the
    news media.                                                                                     b7E



    (UI/FOUO) Requests for this approval must be submitted with an EC to the AD of the
    operational FBIHQ division that is responsible for the investigative classification and the
    AD of the Office of Public Affairs (OPA). The requesting EC must be reviewed by the
    CDC and approved by the SAC after coordinating the request with the local USAO. The
    EC must contain the necessary facts and investigative justification fir the interview
    consistent with the DOJ guidelines so forth in 28 C.F.R. § 50.10(0.1



    (U) Note: 28 C.F.R. § 50.10(b)(1)(ii) provides guidance on categories of individuals nd
    entities not covered under the requirements set out above.
   18.5.6.4.8.1.1      (U) EXIGENT CIRCUMSTANCES

    (UI                                                                            may
    authorize the questioning of a member of the news media as described in DIOG
    subsection 18.5.6.4.8.1 if he/she determines that exigent use of such a technique is
    necessary

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 (U) See also the DOI News h.Jcdis Poficv Memo, dated February 27. 7014-, DOJ News
 Media Policy, and the DOI News Media            mo, dated January 4. 2015.
          18.5.6.4.8.2 (U) USE OF SUBTERFUGE WITH A MEMBER OF THE NEWS MEDIA

 (UHF U ) To the extent operational needs allow, investigators must operate openly and
 consensually with members of the news medial                                                     b7E




 Alter consultation with the OPA and UGC, the AU of the operational division must
 decide whether to approve the request. If the request requires approval by DOJ (because
 the interview is related to an offense communed by the member of the news media during
 the course of news gathering) the AD of the operational division is responsible for
 submitting all requests for approval to the DOJ per 28 C.F.R. 50.10.
 (U//FQUO) FBIHQ operational division PGs may contain additional notice requirements.
   18.5.6.4.9       (U)DURING AN ASSESSMENT - REQUESTING INFORMATION WITHOUT
                    REVEALING FBI AFFILIATION OR THE TRUE PURPOSE OF A REQUEST

 A) (U//FOUO) In the normal course of an interview, an FBI employee should divulge the
    employees affiliation with the FBI and the true purpose of the interview

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 B) W//5.6141.611                                                                                 b7E



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      C) (U/K-01639+                                                                        b7E



                                                                                            b7E
      D) (U//I     U


         1) (U/YOUOI                                                                        b7E


         2) (UN' OUO                                                                        b7E



                                                                                            b7E
         3) (11//1/ U

         4) (11//n1,630                                                                     b7E

         5) (LW/       U                                                                    b7E


         6) (11//F44144                                                                     b7E




         7 (11//1 U                                                                         b7E

(U//F01                                                                                     b7E




(U/                                                                                         b7E




(U/fig                                                                                      b7E




(11//Fet191                                                                                 b7E




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     18.5.6.4.10     (U) CONSULTATION AND DISCUSSION

(UA4POIJOI                                                                           b7E




     18.5.6.4.11     (U) EXAMPLES

             18.5.6.4.11.1 (U) EXAMPLE 1

   (UHF    uq                                                                        b7E




                                                                                     b7E
   (U/FF-Seer

             18.5.6.4.11.2 (U) EXAMPLE 2
                                                                                     b7E
   (U//rt(ttY




   (U//FOUO1                                                                         b7E




             18.5.6.4.11.3 (U)ExAmpi,E3

   (U/                                                                               b7E




   (U//f     U                                                                       b7E




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       18.5.6.4.11.4   (U) EXAMPLE 4

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 (uhrtyiel                                                                      b7E



       18.5.6.4.11.5   (U) EXAMPLE S

 (U//F U                                                                        b7E




 (U/tUOUO1                                                                      b7E




       18.5.6.4.11.6   (U) EXANIPLE 6
                                                                                b7E
 (U//F U




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 (UHF U 1                                                                        b7E




         18.5.6.4.11.7 (U) EXAMPLE 7

 (U//F                                                                           b7E




 (U//F U                                                                         b7E




         18.5.6.411.8 (U) EXAMPLE 8

 (U/                                                                             b7E
            A




 tullfeAgeA                                                                      b7E




         18.5.6.4.11.9 (U) EXAMPLE 9

  U/11- U   )                                                                    b7E




 (U//F U                                                                         b7E




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      18.5.6.4.12     (U/IFOU0) PREDICATED INVESTIGATIONS - REQUESTING INFORMATION
                       WITHOUT REVEALING FBI AFFILIATION OR THE TRUE PURPOSE OF A
                       REQUEST

(U/treree) In the normal course of an interview. the FBI employee should divulge the
employee's affiliation with the FBI and the true purpose of the interview.

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(ullretxtr                                                                                                  b7E




      18.5.6.4.13     (U) INTERVIEWS OF JUVENILES

(U//Feita) When determining whether to interview a juvenile (anyone under the age of
eighteen) who does not fall within the provisions of the JDA above, e.g.. when interviewing a
juvenile as a witness or subject prior to arrest, and. if so, determining the scope and tactics
that will be used, the FBI employee should consider the age and competency of the juvenile,
whether the juvenile is emancipated, the juvenile's relationship to the suspect(s), safety
concerns, the gravity of the offense at issue, any alternative sources of evidence, the
importance of the information or potential testimony to the investigation, and the juvenile's
degree of involvement, if any, with the offense. If the interview is custodial, compliance with
the provisions of the Juvenile Delinquency Act (JDA) below is necessary. In determining
whether a juvenile is in custody the test remains an objective test —was there a formal arrest or
a deprivation of freedom of movement equivalent to an arrest. However, with respect to
juveniles, if the juvenile's age is known to the interviewer or is objectively apparent, the
juvenile's age is to be considered in the custody analysis. This is not to say that age is the
determining or decisive factor in every case, but it recognizes that age is to be considered
given a reasonable adult may view the circumstances surrounding the interview differently
than a reasonable juvenile. If the juvenile is placed under arrest, the procedures listed in
18.5.6.4.14 must be followed. If not under arrest. but based on the objective circumstances
surrounding the interview, including the juvenile's age, the juvenile is deemed to be in
custody, the interviewer should advise the juvenile of their rights as set forth in the FD-395
and cease the interview if the juvenile invokes a right. Parental consent for a juvenile
interview should be obtained when feasible under the circumstances of the investigation.
    A) (1.1/ffS139) Special consideration should be given to child interviews and to interviews of
       juveniles who are of a tender age, maturity, or have a significant developmental disability. To
       the extent appropriate, agents should make use of local child protective services to aid in
       interviewing a child -- especially for an offense involving sexual exploitation of the child. The
       agents should consider seeking approval to video and/or audio record child interviews to



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       address potential allegations that the child was manipulated and to have an unimpeachable
       record in case the child's statement changes.
    B) (U//FOUO) Federal statutes and the Attorney General Guidelines on Victim and Witness
       Assistance require federal investigators to utilize sensitive and developmentally appropriate
       practices designed to elicit the most accurate information from child victims and witnesses and
       to reduce unnecessary and additional trauma to these children. An interview should he
       appropriate for the age and developmental level of the child. It may be advisable in some
       instances for FBI employees to seek assistance with interviewing children — possibly by
       utilizing local child protective services — particularly. when the child is very young,
       developmentally disabled, or extremely traumatized. Interviews of child victims and
       witnesses, regardless of the type of crime, should he conducted by personnel properly trained
       in the techniques designed to best elicit accurate information from a child while minimizing
       additional trauma.
      18.5.6.4.14      (U) INTERVIEWS OF JUVENILES AFTER ARREST

(U//FOLIO) Under the Juvenile Delinquency Act (JDA), a juvenile is anyone who commits a
federal crime before his or her eighteenth birthday and who has not yet reached age twenty-
one (21) before being charged. The provisions of the JDA, 18 U.S.C. § 5031 et seq., apply
upon arrest. When an agent interviews a juvenile in custody, after arrest and prior to initial
appearance while in a place of detention with suitable recording equipment, the statement
must be recorded in accordance with DIOG subsection 18.5.6.4.17.3.
    A) (11//fette) Whenever a juvenile is arrested for a violation of federal law, he/she must he
       immediately advised of his/her legal rights and the United States Attorney must be notified.
       The juvenile's parents, guardian or custodian must also be immediately notified of his/her
       arrest as well as his/her rights and the nature of the alleged offense. After notification has been
       made, FBI employees must allow a parent, guardian, or custodian access to the juvenile if
       requested by the juvenile or by a parent. guardian or custodian of the juvenile. The juvenile
       must he promptly taken before a magistrate if a magistrate is available. If no magistrate is
       immediately available, the juvenile must be taken to a magistrate without undue delay.
    B) (U//rtzutzt Whether a juvenile may be interviewed for a confession or admission of his own
       guilt between the time of his arrest for a federal offense and his initial appearance before the
       magistrate depends on the law of the circuit in which the arrest occurs. If the interrogation is
       not allowed under the law of the circuit, information volunteered by the arrested juvenile
       concerning his own guilt should be recorded in the FBI employee's notes for use in subsequent
       proceedings; clarifying questions may he asked as necessary to make certain the FBI
       employee correctly understands what the juvenile intends to say. The volunteered statement
       may he reduced to writing if such action does not involve any delay in the juvenile's
       appearance before the magistrate. Any questions concerning the law that applies in the
       particular circuit should be directed to the CDC.
    C) (U//1- U ) A juvenile may be questioned concerning the guilt of a third party if such
       questioning does not cause any delay in bringing him/her before the magistrate.
    D) (UNUCUelQ) These special requirements apply only after the arrest of a juvenile, as defined by
       federal law, for a federal offense. They do not apply when the juvenile is under arrest by state
       or local officers on a state or local charge but is suspected of having committed a federal
       offense. FBI employees may question a juvenile in custody on a non-federal charge about a
       federal offense for which he/she is a suspect. FBI employees are cautioned, however, that they
       may not collude or create the appearance of collusion with non-federal officers to delay an
       arrest on federal charges to circumvent the JDA requirements.

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    E) (1.171- U ) A juvenile may waive his Fifth Amendment rights and consent to a post-arrest
       custodial interview if permitted by the law of the circuit. Whether a waiver is knowing and
       voluntary will be determined based on the totality of the circumstances surrounding the
       interview. Among the factors the court kil l likely consider are the juvenile's age, experience,
       education, background, and intelligence, and whether he/she has the capacity to understand the
       warnings given, the nature of Fifth Amendment rights, and the consequences of waiving them.
       The presence and co-signature of a parent or guardian during the waiver of rights (FD-395) is
       not required for a voluntary waiver, although it is a factor to be considered and might help
       dispel any notion that the juvenile was coerced. The AUSA must approve a post-arrest
       custodial interview of a juvenile.

      18.5.6.4.15      (U) DOCUMENTATION

(UHF U ) When it is anticipated that the results of an intervi AA/ nig v hernmr 1hr ciThirrt of
                                                                                                             b7E
       c 'fimony, the interview must be recorded on an FD-302j
         See DIOG subsection 18.5.6.4.15.1 below for guidance on the use of the FD-302. The
FD-302 must contain a record of statements made by the inter Tiewee and not contain the
interviewer's opinion or contextual comments If theewer's opinions or contextual
comments are relevant, they must he documented in            r other appropriate document.
 If the interviewee characterizes an individual, group, or ac ivity in a certain way, FBI records
(i.e.. 302s, ECs, LHMs) should reflect that the interviewee, not the FBI, is the source of the
characterization.
(UCOU0) Certain types of written material developed during the course of an interview
must be retained including:
    A) (11//4a1Q) Written statements signed by the witness. When possible. written statements
       should be taken in all investigations in which a confession or admission of guilt is obtained
       unless the confession is obtained during an electronically-recorded interview session. If a
       witness gives a signed statement, and then gives additional information orall both the signed
       statement and the oral information should be recorded on an FD-302                                    b7E

    B) (U/a=6448) Written statements, unsigned by the witness, but approved or adopted In any
       manner by the witness. An example of such a written statement would be a written statement
       that the subject orally admits is true but will not sign; and
    C) (DUI- U ) Original notes of an interview when the results may become the subject of court
       testimony. Materials generated via email, text messages, or similar means during an online
       interview must be retained as original notes. Because some forms of synchronous
       communication tools, such as text messaging, have limited or no storage. print. or production
       capabilities, they should not be used for substantive communications with law enforcement
       colleagues or civilians who may become witnesses. If these tools are, nonetheless, used for
       substantive communications as part of an interview, the communications must be
       memorialized verbatim in an Fll-302.
    D) (UNFE3149) If an FBI employee and an AUSA conduct an interview, and the AUSA asks or
       tells the FBI employee to refrain from recording the substance of the interview or taking notes.
       the FBI employee should decline to participate in the interview and should not he present
       when it takes place unless the interview is part of the trial preparation of the witness (or unless
       another law enforcement agent present is given the responsibility for taking notes and
       documenting the substance of the interview). FBI employees generally do not report the
       substance of trial preparation unless new material information or impeachment information is
       developed. FBI employees should consult with the trial AUSA to determine how to document

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         any new information, including impeaching information, developed during the trial
         preparation interviews.
      E) (U1                                                                                              b7E




(U) Set also DIOG Section 3.3.1.14 (Retain Original Notes Made During An Investigation).
(U//F U ) All originalt handwritten interview notes must be retained as "original note
material" in                 of a file. The original handwritten notes may be scanned, but the
physical original h and written notes must he retained regardless of whether or not the notes are
scanned. Also see'


        18.5.6.4.16    (U) USE OF THE FD-302

(U) Documenting Information of Record: Any                e that may be testimonial must be
documented using an FD-302 within'




(U) Whenever a person being interviewed could be called upon to testify at any time in a
                                                                                                         b7E
future trial, or hearing, the results of the interview must be reported in an FD-302.
(U) All FBI employees present during an interview1
                                                 must be identified by name on the FD-302.
The employee preparing the FD-302 is listed as the author of the document and all other
employees present must he listed as co-authors. The author and co-author(s) of the FD-302
must review the FD-302, and then electronically sign the final FD-30                 o attest it is
accurate and complete. If someone other than an FBI employee and co-aut or(s ale present
during the interview
                             he third party's presence during all or part of the interview must
he noted in the FD-302.
(U) The FD-302 opening paragraph must state the official identity of the interviewing
agent(s), the purpose of the interview, and the identity of the individual being interviewed to
include relevant identifying information such as a date of birth, address, or other identifying
data. It is also permissible to place more details or extensive personal, biographical, criminal
history, business related information, other agency record information, etc in the body or at


it



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the end of the report. When an ongoing interview is carried out over a period of days, the
dates should also be set out in the details of the FD-302. In such cases, the report should
clearly delineate the particular date(s) the information was obtained. A composite interview
report may be utilized in certain circumstances (see "composite FD-302" below for additional
guidance).
(U) If during an interview, the interviewee provides unrelated information relevant to other
criminal, national security. intelligence, or public safety matters from the original purpose of
the interview, the interviewer may take the information. When documenting such unrelated
information, each topic must be documented in a separate FD-302, filed to the appropriate
investigative classification, and disseminated as appropriate.
(U) The preparation of the FD-302 must be initiated as soon as practicable
                      following the conclusion of the interview or other activ y that may be
testimonial.
(U) Interview notes must be retained in accordance with DIOG subsections 3.3.1.14 and
18.5.6.4.15 above.
(U) Composite FD-302: In limited situations involving an extended or a series of related
interviews of a subject. witness, or victim, the preparation of a composite FD-302 may be
necessary. Preparation of a composite FD-302 at the conclusion of the interview may be the            b7E
most logical and orderly way in which to document the totality of the interview. In these
situations, in the judgment of the interviewer, a single composite FD-302 might be appropriate
when:
(U)
(U)


(U )


(UI


(U




(U) If agents elect to prepare a composite FD-302, they must, without exception. ensure the
composite FD-302 captures all material information in the extended interviews. including that
which may also be considered exculpatory or impeaching. This includes, but is not limited to,
any materially inconsistent statements of the witness and anything that may tend to mitigate
guilt or punishment of the accused.
(U) The preparation of the com iosite FD-302 must be initiated as soon as practicable
                                following the conclusion of the last interview.
(U) Interview notes must be retained in accordance with DIOG subsections 3.3.1.14 and
18.5.6.4.15.

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(U) Adoption of an FD-302: In consultation with the assigned AUSA or DOJ attorney, the
agent may seek to have the interviewee adopt an FD-302 as the statement he/she intended to
give. Adoption by the witness may be in the form of (I) a signed statement, (2) an unsigned
statement adopted by oral declaration, or (3) the report of information furnished by the
witness, the substance of which was reviewed fully with the witness and adopted by the
interviewee as the full and correct report of the statement he/she desired to furnish. Should the
witness adopt an FD-302 as their statement, the agent must have the witness declare that it
represents a full and correct report of their statement and then sign and date the first page of
the FD-302, including any corrections, edits or additions he/she make on that page. The
witness should also initial and date each subsequent page of the report and also make any
corrections, edits or additions to the FD-302. The adoption of the FD-302 by the witness can
provide a defense to any allegations that the FD-302 represents information the interviewer
claims the witness said, rather than what the witness actually stated. The original                         b7E
                FD-302 adopted by the witness should be retained in                    of the
investigative file after it has been scanned and electronically placed into the relevant
investigative file(s).
      18.5.6.4.17     (U) ELECTRONIC RECORDING OF INTERVIEWS

            18.5.6.4.17.1   (1) OVERVIEW

    (U




    (U//FOUO)


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         18.5.6.4.17.2 (U) RECORDED NON-CUSTODIAL. INTERVIEWS
18.5.6.4.17.2.1     (U) OVERTLY RECORDED NON-CUSTODIAL INTERVIEWS
 (UHF U ) FBI employees have the option to conduct an overtly recorded non-custodial
 interview. An overtly recorded interview occurs when an FBI employee, identified as
 such, advises the interviewee that the interview is or will be recorded, or the interviewee
 is otherwise clearly aware that the interview is in fact being recorded                         b7E


 (U//F U ) The FBI employee must provide notification td                       as soon as
 practicable'                                 after completion of an overtly recorded non-
 custodial interview(s). The notification may be in the form of the interview summary FD-
 302 described in DIOG subsection 18.5.6.4.17.2.2 below.
 (UH-F-Q448) Additionally, prior to conducting the inteMew, the interviewing employee
 should consider the factors listed below


                                                                                   r-1
     A. (1.177PertlEB Whether the purpose of the interview is to gather evidence for
        prosecution or intelligence for analysis or both;
     B. (Uilrere0) If prosecution is anticipated, the type and seriousness of the crime,
        including, in particular, whether the crime requires mens rea, or a mental element,
        such as knowledge or intent to defraud, proof of which would be considerably
        aided by the interviewee's admissions in his/her own words;
     C (U//F U ) Whether the interviewee's own words and appearance (in video
        recordings) would help rebut any doubt about the meaning, context or
        voluntariness of his/her statement or confession raised by his/her age, mental
        state, educational level, or understanding of the English language; or is otherwise
        expected to be an issue at trial, such as to rebut an insanity defense; or may be of
        value to behavioral analysts;
     D. (U/*F-61471e). If interviewers anticipate that the interviewee might be untruthful
        during an interview, whether a recording of the false statement would enhance the
        likelihood of charging and convicting the person for making a false statement;
     E. (U//1- U ) The sufficiency of other available evidence to prove the charge
        beyond a reasonable doubt;
     F. (U//-R31,1434 The preference of the USAO and the Federal District Court regarding
        recorded interviews or confessions;
     G. (U/1W4439) Local laws and practice—particularly in task force investigations
        where state prosecution is possible;
     H. (U//ffebt) WhLthei inter iews with other witnesses or subjects in the same or
        related investigations have been electronically recorded; and
     I. (U/7FOtt3) The potential to enlist the witness or subject's cooperation and the
        value of using his/her own words to elicit his/her cooperation.




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18.5.6.4.17.2.2     (U) OVERTLY RECORDED NON-CUSTODIAL INTERVIEW: DOCUMENTATION
                   AND HANDLING

 (U/         ) After completing the recorded interview, the FBI employee must document
 the fact that the interview took place in an FD-302.                                          b7E




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 (U//refrb84)-Any handwritten notes taken during the recorded interview must be retained
 as original note material. See also DIOG Section 3.3.1.14 ("Retain Original Notes during
 an Investigation").
18.5.6.4.17.2 3     (U) SURREPTITIOUSLY RECORDED NON-CUSTODIAL INTERVIEWS

 (U/ir-sue)1




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18.5.6.4.17.2.4     (U) SURREPTITIOUSLY RECORDED NON-CUSTODIAL IN?ERVIEW:
                   DOCUMENTATION AND HANDLING

 (U//f0b99-




  uibuctun )1




 (U//FOU0) Any handwritten notes taken during the recorded interview must be retained
 as original note material. See also DIOG Section 3.3.1.14 ("Retain Original Notes during
 an Investigation").
         18.5.6.4.17.3 (U) CUSTODIAL RECORDED INTERVIEWS (WARRANT/PROBABLE
                     CAUSE)

18.5.6.4.17.3.1    (U) OVERVIEW

 (U//rOtIS) There is a presumption that statements made by persons in FBI custody must
 be recorded following arrest and prior to initial appearance when the arrestee is in a place

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           of detention with suitable recording equipment. All statements made during a custodial
           interview of persons arrested by the FBI for federal crimes:7 prior to initial appearance
           and while in a place of detention with suitable recording equipment, must be
           electronically recorded (with very limited exceptions as listed in DIOG subsection
           18.5.6.4.17.4. below)I                                                                                        b7E




           (uHrouol


                                                                             For factors bearing on
           voluntariness, see DIOG subsection 18.5.6.3. For factors bearing on Miranda compliance
           see DIOG subsection 18.5.6.4.1.1
           (Ill/Febta) Employees must use suitable equipment as approved byl




           (U//




           (U/




          18.5.6.4.17.3.2        (U) OVERTLY RECORDED CUSTODIAL INTERVIEWS
           (U/TPOtterj-FBI employees may conduct an overtly recorded custodial interview. An
           overtly recorded custodial interview occurs when an FBI employee. identified as such,

37   This policy does not pply to a person anested torstate or local crime during a joint or Task force investigation

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 advises the interviewee that the interview is or will be recorded, or the interviewee is
 otherwise clearly aware that the interview is in fact being recorded,                            b7E




18.5.6.4.17.3.3    (U) OVERTLY RECORDED CUSTODIAL INTERVIEW: DOCUMENTATION AND
                   HANDLING

 (U/850.1e1a) After completing the recorded
 that the interview took lace in an FD-302




 (U) The FBI will provide electronic copies for distribution pre-indictment. Post-
 indictment, the USAO will pay for transcripts of recordings as necessary.
 (UAW...0440j Any handwritten notes taken during the recorded interview must be retained
 as original note material. See DIOG Section 3.3.1.14 ("Retain Original Notes during
 Investigagon").
 (U/I-E-04(31-




18.5.6.4.17.3.4    (U) SURREPTITIOUSLY RECORDED CUSTODIAL INTERVIEWS

 (UHF U ) FBI employees may conduct a surreptitiously recorded custodial intervie




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18.5.6.4.17.3.5    (U) SURREPTITIOUSLY RECORDED CUSTODIAL INTERVIEW:
                   DOCUMENTATION AND HANDLING

 (U//fet&G) After completing the recorded intervie      he agent must document he fac
 that the interview took place in an ED-302.1




 (U) The FBI will provide electronic copies for distribution pre-indictment. Post-
 indictment, the USAO will pay for transcripts of recordings as necessary.
  (U/tF0130) Any handwritten notes taken during the recorded interview must be retained
 as original note material. See DIOG Section 3.3.1.14 ("Retain Original Notes during
 Investigation").
 (U/tP6UO




         18.5.6.4.17.4 (U) EXCEPTIONS TO MANDATORY RECORDING OF POST-ARREST
                     CUSTODIAL. INTERVIEWS

 (U//F     Unless conducter jaalant to prior written ap royal, the interviewing
 employee must document in       as soon as practicable


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         after the completion of the interview. the exercise of an exception to the mandated        b7E
   requirement to record a custodial post-arrest interview             must be captioned.
                                                                                 and must
   specifically address the reason1s) wh the interview was not recorded
                                     Upon         pproval           mist be electronically
   placed into the substantive invLstigat ve case file, and a notification copy sent to the
   FBIHQ operational unit with program responsibility over the investigative classification.
   appropriate OGC/ILU or NLSB Unit, and to the Division's Compliance Officer. For
   tracking ur oses and fora wiodic reviefLyuu,                    must be electronically placed
   into file                       I A copy 4          lolocumentitg the basis for utilizing an
   exception to the mandatory recording of post-arrest custodial recorded interview policy
   must be made available to the AUSA by the "office of origin" field office overseeing the
   investigation.
A. (U/Met*(4) Refusal of subject to be recorded during the interview: If the subject is
   advised that the interview will be recorded and they indicate that they are willing to
   provide a statement but wish not to be recorded, then the recording need not take place.
      a. (U//F U )




B. (U//        Public Safety Exception: If the questioning is reasonably prompted by an
   immediate concern for the safety of the public or the arresting agent under New York v.
   Quarles then recording is not mandatory (see, e.g. DIOG 18.5.6A.1.3).
C. (U/ /F U )1




       a. (U/iff(313Q-1




       b. (U/ffitrtb141


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       C. (U/A1444344




       d   (U(/         1

                  i. (U/tFerfle)                                                                  b7E




                     UW-1-9TSIEW                                                                  b7E




             iii. (U//F                                                                           b7E




              iv. CU/MC(17\9i                                                                     b7E


                                                                                                  b7E
              v. (U/49446)-


              vi. (UHF U )r-                                                                      b7E




       e. (U         This is not meant to be n exhaustive I      nd other cot iderat ons
          may counsel in favor ofl                                                                b7E




D. (U//E0.130)-Recording is not reasonably practicable: In the event that the circumstances
   of the arrest does not allow for the recording of the intervie




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E. (U71+017851 "Residual" Exception: The
                  [agree that a significant and articulable law en forcemen                        b7E
                                                          purpose requires not recording the
   interview. Some considerations may includc
   This exception is to be used judiciously and very infrequently




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        18.5.6.4.175   (U) ELECTRONICALLY RECORDED INTERVIEW REFERENCE
                    TABLE

 (U//UOUOtSee below quick reference table regarding electronically recorded interviews:
                                                                                            b7E




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            18.5.6.4.18     (U) INTERVIEWS RELATING TO CLOSED FILES

   (U/FF6       An interview initiated by an employee should only be conducted if it is within the
   scope of an open authorized Assessment or Predicated Investigation. On the other hand, there
   are situations in which an individual contacts the FBI to report information concerning a
   matter that has been closed or placed in a zero file classification, or is unrelated to any current
   or previous investigation. In these situations, an FBI employee may collect whatever
   information the person is willing to provide, except solely First Amendment information, and
   may document the results of the contact in an FD-71/Guardian, or with an EC or FD-302.
   These documents may be electronically placed in files that are relevant to an open Assessment
   or Predicated Investigation, a closed Assessment or Predicated Investigation, a zero
   classification file, or a control file (if no further investigative activity is required).
   (unr-ebtal                                                                                                     b7E




            18.5.6.4.19     (U) FBIHQ OPERATIONAL DIVISION REQUIREMENTS

        A      ALwak()                                 4                                                          b7E




        B) (U//F U ) Othu      ER/HO               Each FBIHQ division may provide additional interview
             notice requirements in its PG.
    18.5.6.5       (U) USE/DISSEMINATION
   (U/701119) The use or dissemination of information obtained by this method must comply
   with the AGG-Dom and DIOG Section 14.
    18.5.6.6       (U//FOLIO) OVERSEAS INTERVIEWS

            18.5.6.6.1      (U//FOLIO) INTERVIEWS OUTSIDE THE UNITED STATES

   (thrpetes) It is the policy of the FBI that an employee'"                                                      b7E




38 The term "FBI employee includes, but is not limited to, an operational/administrative professional staff
person, intelligence analyst, special agent, task force officer (TFO), task force member (TFM), task force
participant (TFP), detailee, and FBI contractor.

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                                                                                         b7E




(U




        18.5.6.6.2   (U/IFOUO)MIRANDA WARNINGS FOR PERSONS IN CUSTODY   OVERSEAS

(U//F       )




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 18.5.7       (U) INVESTIGATIVE METHOD: INFORMATION VOLUNTARILY PROVIDED BY
              GOVERNMENTAL OR PRIVATE ENTITIES

(U) See AGG-Dom. Part II.A.4.2.

   18.5.7.1      (U) SCOPE

  (U//F U ) An FBI employee may accept information voluntarily provided by federal, state,
  local, tribal, or foreign governmental or private entities and individuals. Voluntarily provided
  information includes. but is not limited to, oral as well as documentary and physical evidence
  such as a computer hard drive or other electronic media that contains information, paper
  documents containing information, or physical objects (e.g., handgun or narcotics).

  (U/IFOU9) Nothing in this section prohibits asking for or accepting volunteered access to
  personal or real property.

  (U/IF U ) Note: Consent Searches are authorized in Assessments, as well as Predicated
  Investigations.

  (U111*(3173E+3 Note: If the originator of information reported to the FBI characterizes an
  individual, group, or activity in a certain way, and that characterization should be documented
  for completeness of the FBI record, the FBI record (i.e., 302, EC, LHM) should reflect that
  another party, and not the FBI, is the originator of the characterization.

   18.5.7.2      (U) APPLICATION

  (U//Fe€ISI                                                                                           b7E




   18.5.7.3      (U) APPROVAL

  (U//retf7S3) S upentisory approval is not required to accept voluntarily provided information.
  Personnel may not request nor knowingly accept information where disclosure would be
  prohibited by federal law. See, e.g., 18 U.S.C. § 2702 (prohibiting an entity providing
  electronic communications services from divulging certain communications and other
  records. except in certain circumstances).

   18.5.7.4      (U) USE/DISSEMINATION

  (U//FOU0) The use or dissemination of information obtained by this method must comply
  with the AGG-Dom and DIOG Section 14.




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 18.5.8         (U) INVESTIGATIVE ME7'HOD: PHYSICAL SURVEILLANCE (NOT REQUIRING
                A COURT ORDER)

(U) See AGG-Dom. Part II.A.4.h -"Engage in observation or surveillance not requiring a court
order." Note: Consent Searches are authorized in Assessments.
(U                                                                                                          b7E


     18.5.8.1        (U) SCOPE
     (Uh roUV) Physical Surveillance Defined: Physical surveillance is the deliberate
     observation of persons, places, or events, on either a limited or continuous basis, in areas
     where there is no reasonable expectation of privacy.
     (unreuel                                                                                               b7E




     (uitr-eigo41.                                                                                          b7E




         A) (1.111a;11493                                                                                   b7E


         B) (UHF U )                                                                                        b7E


         C) (L1/44448.                                                                                      b7E




         D   UPT-1,176/4                                                                                    b7E




     (U//FEg843) Surveillance Enhancement Devices: The use of mechanical dex ices operated by
     the user (e.g., binoculars; hand-held photographic or video cameras                                    b7E
                                                                                      is authorized as
     part of physical surveillance provided that the device is not used to collect information in
     which a person has a reasonable exoectation of orivani




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18.5.8.2      (U) APPLICATION

(U//F U                                                                                                       b7E



18.5.8.3      (U) APPROVAL

(UHEEM4eTiDulino  rat
                    3; ssment, physical surveillance may be approved fora period of
time not to exceed     as explained further below.                                                            b7E

      18.5.8.3.1       (U/       1I STANDARDS FOR OPENING OR APPROVING PHYSICAL
                       SURVEILLANCE DURING AN ASSESSMENT

(U/fF-04344) During an Assessment, in addition to the standards contained in DIOG Sections
5.5 and 5.8, the FBI employee and supervisor must consider the following:
    A) (U//F U ) Whether the physical surveillance is rationally related to the articulated purpose
       and objective of the Assessment;
    B) (U/478E4 Whether the physical surveillance is the least intrusive alternative for acquiring
       needed information;
    C) (1.17/F U ) If the physical surveillance is for the purpose of determining a pattern of activity,
       whether there is a logical nexus between the purpose of the Assessment and the pattern of
       activity the employee is seeking to determine; and
    D) (UHIOU0) If being conducted in order to gather positive foreign intelligence, whether the
       surveillance is consistent with the requirement that the FBI employee operate openly and
       consensually with a USPER, to the extent practicable.
      18.5.8.3.2       (U/iF6tWal                        FOR ASSESSMENTS                                      b7E

(U//F U ) In an Assessment, an FBI employee must use thel
                                             E3-7] o                                       mead
Request form, or an ECG                                                                                       b7E



                    FD-71, Guardian,'


(U//F U                                                                                                       b7E




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      18.5.8.3.3        (U/ffee(3.1                                                              b7E



 U//iFeett01                                                                                     b7E
                                                                   bn an FD-71, Guardian, an
EC, or other appropriate form requesting Assistant Special Agent in Char e (ASAC)
approval. (Note: Tht         Approval standard, renewable for additional


(UHF U                                                                                           b7E




      18.5.8.3.4        (U                                                                       b7E

(U/trefreGi                                                                                      b7E




               18.5.8.3.4.1 (WW44171480)   APPROVAL REQUIREMENTS

    (U//p U                                                                                      b7E
                                                           must document the reason and
    objective for its use and be approved by an ASAC. The request and approval must be
    documented in                                      !Guardian, an EC, or other appropriate
    form and electronically placed into the appropriate investigative file.
               18.5.8.3.4.2   (UhT4314)J                                                         b7E

    (U/fPOttO                                                                                    b7E




   18.5.8.3.4.2.1        (U/IFOUO)                                                               b7E

    (U//FeLth91                                                                                  b7E




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 (U/IFOU0



 (U//FOUO)                                                                                 b7E
                                                                                           b7E
    1) (U/iruuu1

    2) (U                                                                                  b7E


        (U/Miette4                                                                         b7E


    4 (UNFESnifbi                                                                          b7E



    5) (U//                                                                                b7E



                                                                                           b7E
 (U/IFT71220.




        18.5.8.3.4.3 (U//FOIjO)                                                            b7E

 (L1//FQ14011                                                                              b7E




 (U//FOU0) Note:I                                                             I            b7E




        18.5.8.3.4.4 (U//FOUO) COMPLIANCE AM) MONITORING

 (U//      ) The request and approval documentation for the use of                         b7E
 must be electronically placed into the appropriate investigative file.




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18.5.8.4     (U) OTHER PHYSICAL SURVEILLANCE
(U//f8e1b103 Physical surveillance conducted by employees other than through use of the
resources discussed above (i.e.,                          during a Predicated Investigation         b7E
does not require supervisory approval. In addition!


18.5.8.5     (U) MAINTAIN A "SURVEILLANCE LOG" DURING PHYSICAL SURVEILLANCE
(U//FOUO) A surveillance log must generally be maintained for the purpose of documenting
observations made during the period of physical surveillance. The log is a chronological
narrative detailing the observations noted during the surveillance. A team member must be
assigned to maintaining the surveillance log. M the end of the shift, each individual must
initial on the surveillance log the notations of the activities he or she observed. Completed
physical surveillance logs must be electronically placed in the investigative main file or in the
FISUR sub-file, if the sub-file has been opened for the investigation. Any original notes must
be permanently retained in a IA envelope (FD-340a) in the investigative file. Surveillance
logs must be concise and factual. When reporting locations, the surveillance log must be as
specific as possible. Surveillance team members must avoid over-reporting and including
unnecessary information; logs are subject to discovery in legal proceedings.
18.5.8.6     (U) USE/DISSEMINATION
(U//FOUO) The use or dissemination of information obtained by this method must comply
with the AGG-Dom and DIOG Section 14.




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 18.5.9       (U) INVESTIGATIVE METHOD: GRAND JURY SUBPOENAS -TO PROVIDERS
              OF ELECTRONIC COMMUNICATION SERVICES OR REMOTE COMPUTING
              SERVICES FOR SUBSCRIBER OR CUSTOMER INFORMATION (ONLY IN TYPE I
              & 2 ASSESSMENTS)

(U) See AGG-Dom. Part II.A.4.i.
(U) See DIOG Section 18.6.5 for additional information on use of Federal Grand Jury (FGJ)
subpoenas in Predicated Investigations.
   18.5.9.1      (U) SCOPE
  (U// U Duiing a Type 1 & 2 Assessment, an FBI employee may request from an
  appropriate USAO the issuance of an FGJ subpoena for the limited purpose of obtaining
  subscriber or customer information from providers of electronic communication services or
  remote computing services                                                                           b7E
                         A F J subpoena, under this provision, may not be requested for the
  purpose of collecting positive foreign intelligence.
   18.5.9.2      (U) APPLICATION
                                                                                                      b7E



   18.5.9.3      (U) APPROVAL
  (till-Fetter) In Type I & 2 Assessments, subscriber or customer information from providers
  of electronic communication services or remote computing services
                                                                    I may be requested through
  the use of an FGJ subpoena without supervisory approval. An agent requesting an FGJ
  subpoena during an Assessment must advise the Assistant United States Attorney (AUSA),
  who will issue the subpoena, that the FBI is conducting an Assessment. The AUSA must
  determine whether there is sufficient connection between the Assessment and possible
  criminal conduct to warrant issuance of an FGJ subpoena. FGJ subpoenas may not be sought
  during a Type 3, 4. 5. or 6 Assessment.
          18.5.9.3.1    (U) MEMBERS OF THE NEWS MEDIA


       (ull-peeel




       (U) Note: 28 C.F.R. § 50.10(b)(1)(ii) provides guidance on categories of individuals and
       entities not covered under the requirements set out above.




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 18.5.9.4       (U) GRAND JURY SUBPOENAS TO PROVIDERS OF ELECTRONIC
                COMMUNICATION SERVICES OR REMOTE COMPUTING SERVICES FOR
                SUBSCRIBER OR CUSTOMER INFORMATION (ECPA 18 U.S.C. §2703
 (U/7reft413) Title 18 U.S.C. Section 2703 governs the disclosure of customer
communications or records maintained by providers of electronic communication services or
remote computing services when sought by a government agency through legal process.
Subsection (c)(2) of Section 2703 specifies the types of records that may be obtained by the
government pursuant to a subpoena.
(U/4F.CAL,V4                                                                                         b7E



      a. (Ull                                                                                        b7E
      b. (U]                                                                                         b7E

                                                                                                     b7E
      c. (U 1
      d. (U                                                                                          b7E




                                                                                                     b7E


 18.5.9.5       (U) RESTRICTIONS ON USE AND DISSEMINATION
(U/tReHtle+ Because judicial districts vary as to whether subscriber records obtained through
use of an FGJ subpoena must be handled pursuant to the FGJ secrecy rules as "matters
occurring before the federal grand jury," subscriber records obtained pursuant to an FGJ
subpoena should be protected as required by the judicial district in which the FGJ subpoena is
issued. See DIOG Section 18.6.5 for additional guidance.
(CP/FERS.07 In addition, in those judicial districts in which subscriber records obtained
pursuant to an FGJ subpoena are considered to be matters occurring before the grand jury, no
documentation of the actual subscriber records should be made in the FD-7 I or the
unrestricted portion of the Guardian FD-71a. Instead, a copy of the FGJ subpoena and the
responsive subscriber records must b
                      iGuardian FD-71a1                                                              b7E



(U                                                                                                   b7E



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(U/




(U/         The use or dissemination of information obtained by this method must always
comply with the AGG-Dom, DIOG Section 14, and the Federal Rules of Criminal Procedure
(FRPC) Rule 6. FRCP 6(e), which is discussed below in DIOG subsections 18.6.5.11 and 12,
and controls the release of information obtained as part of the FGJ proceeding.




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18.6     (U) AUTHORIZED INVESTIGATIVE METHODS IN PRELIMINARY
          INVESTIGATIONS

(U) See AGG-Dom. Part ILB and Part V.A.1-10.
(U) In Preliminary Investigations the authorized methods include the following:
        A) (U) The investigative methods authorized for Assessments:
             1) (U) Public information. (See Section 18 5.1)
             2) (U) Records or information - FBI and DOJ. (Sec Section 1852)
             3) (U) Records or information - Other federal, state, local, tribal, or foreign government
                agency. (See Section 18.5.3)
             4) (U) On-line services and resources. (Sec Section Is 5 r0
             5) (U) CHS use and recruitment. (See Section I s s X)
             6) (U) Interview or request information from the public or private entities. (Sec Section
                     6)

             7) (U) Information voluntarily provided by governmental or private entities. (Sec Section
                I 8.5.7)
             8) (U) Physical Surveillance (not requiring a court order). (Sec Section Is 5 tO
        B)   (U) Consensual monitoring of communications, including electronic communications. (See
             Section 18.6.€)
        C) (U) Intercepting the communications of a computer trespasser. (See Section 18.6.2 )
        D) (U) Closed-circuit television/video surveillance. direction finders, and other monitoring
           devices. (See Section 18.6.3)
        E) (U) Administrative subpoenas. (Sec Section 18 .6-4)
        F) (U) Grand jury subpoenas. (See Section 18 6.5)
        G) (U) National Security Letters. (Sec Section 18 6 8)
        H) (U) FISA Order for business records. (Sec Section ; 8.6)/)
        I) (U) Stored wire and electronic communications and transactional records. (See Section
           1 „.z 6 . 42
                   ;)
        J) (U) Pen registers and trap/trace devices. (See Section 1 -S.6 9)
        K) (U) Mail covers. (See Section 18.4.10)
        L) (U) Polygraph examinations. (See Section 18.6i I)
        M (U) Searches that Do Not Require a Warrant or Court Order'                                             b7E


          n—      lind Inventory Searches Generally (See Section I
        N) (U) Undercover operations. (Sec Section 186.1 ))



42 (UHF U ) The use of Search Warrants to obtain this information in Preliminary Investigations is
prohibited. (See DIOG Section 18.6.8.4.2.3)

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18.6.1      (U) INVESTIGATIVE ME7'HOD: CONSENSUAL MONITORING OF
            COMMUNICATIONS, INCLUDING ELECTRONIC COMMUNICATIONS

 18.6.1.1      (U) SUMMARY

 (U) Monitoring of wire, oral or electronic communications based on the consent of one party
 to the communication is referred to as consensual monitoring. The consent exception applies
 to the interception of wire, oral, and electronic communications. Consensual monitoring
 requires review by the CDC or the OGC. (AGG-Dom, Part V.A.4)
 18.6.1.2      (U) APPLICATION

 (U                                                                                                      b7E




 (INSFeHlt See Ai/Ivor& Fier                                                   Guide. 06 WIN( for
 additional guidance.
 18.6.1.3      (U) LEGAL. AUTHORITY
      A) (U) The Fourth Amendment to the United States Constitution and case law interpreting the
         same;
      B) (U) The Wiretap Statute. 18 U.S.C. § 2511-2522 , prohibits the intentional interception and
         use of wire. voice, or electronic communications absent an exception;
      C) (U) The consensual monitoring exceptions, 18 U.S.C. § 2511(2)(c) & (d). require one party to
         the communication to consent to monitoring; and
      D) (U) The Foreign Intelligence Surveillance Act of 1978 (FISA). 50 U.S.C. 55; 1801 et seq.
         provides that if a party to the communication has consented to monitoring, a FISA court order
         is not required.
 18.6.1.4      (U) DEFINITION OF INVESTIGATIVE METHOD

 (U) Generally, the Wiretap Statute (also referred to as Title III), 18 U.S.C. §§ 2510-2522,
 prohibits the intentional interception of wire, oral, or electronic communications unless one of
 several exceptions applies. One such exception is based on the consent of a party to the
 communication. Two other statutory exceptions to the general prohibition include 1) the
 warrant or court order exception, and 2) the computer trespasser exception. This section
 discusses the monitoring of communications under the consent exception.
 (U) Consensual monitoring is the monitoring of communications based on the consent of a
 party to the communication. (AGG-Dom, Part VII.A.) For purposes of this policy, at least one
 of the parties to the communication must be located. or the interception of the consensual
 communication must occur, within the United States or the United States territories. The
 consensual monitoring of communications is subject to legal review by the CDC or OGC, as
 applicable. (AGG-Dom, Part V.A.4). Consensual monitoring includes the interception of the
 content of communications and typically falls into one of three general categories:


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    A) (U) Wire communications. which include conventional telephone communications or other
       means of transmitting the human voice through cable. Wilt. radio frequency (RF). voice over
       Internet Protocol (VolP), or other similar connections;
    B) (U) Oral communications, typically intercepted through the use of devices that monitor and
       record oral conversations (e.g.. a body transmitter or recorder or a fixed location transmitter or
       recorder used during face-to-face communications in which a person would have a reasonable
       expectation of privacy but for the consent of the other party); and
    C) (U) Electronic communications, which include any transfer of signs. signals. writing, images,
       sounds, data, or intelligence by a wire, radio, electronic, or optical system or network (e.g., e-
       mail, instant message, chat sessions, text messaging, non-voice peer-to-peer communications).
       as that term is defined in 18 U.S.C. § 2510(12)(14) and (17). which are intercepted and
       recorded at the time of transmission. The monitoring of electronic communications based on
       one party consent is sometimes referred to as "consensual computer monitoring." 'Consensual
       computer monitoring' applies to '-real time" electronic surveillance based on consent and does
       not include retrieving or obtaining records of communications that have been stored on the
       computer or elsewhere after the communication has occurred.
(U) Note regarding electronic communications monitoring: Agents seeking to consensually
monitor electronic communications (specifically, communications to, through. or from a
computer) must consider whether the party who has consented is a party to all of the
communications they want to monitor or whether some of the communications involve a
computer trespasser. as defined by the computer trespasser exception. (See DIOG Section
18.6.2) The trespasser exception and the consensual monitoring of communications
exceptions are related, but separate, exceptions to the Wiretap Statute. The owner, operator,
and authorized users of a protected computer or computer network can consent to the
monitoring of only those communications they send or receive (i.e.. to which they are a party),
which typically does not include a trespasses communications. The trespasser exception
allows the interception of the communications transmitted to or from the trespasser.
(U) When applicable, the exceptions to the Wiretap Statute can be used together. permitting
the interception of the communications of both authorized users and trespassers on the
protected computer. This is particularly useful when it is difficult to discern the trespasser
communications from other communications. If it is possible to obtain consent to monitor the
communications of the authorized users, use of both the consent and trespasser exceptions
together can mitigate the risk of over or under collection of the trespasser's communications.
 18.6.1.5     (U) STANDARDS AM) APPROVAL REQUIREMENTS FOR CONSENSUAL
              MONITORING

      18.6.1.5.1       (U) GENERAL APPROVAL REQUIREMENTS

(IJAW44H0) Except as provided below, an SSA may approve the consensual monitoring of
communications if the information likely to be obtained is relevant to an ongoing Predicated
Investigation. SSA approval, including oral approval pursuant to DIOG subsection 34.2.2, is
documented through the FD-759, and is conditioned on the following criteria being met and
documented on the FD-759 and other supporting documentation:




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        18.6.1.5.1.1 (U) REASONS FOR MONITORING
 (U/        ) The synopsis must include sufficient factual information supporting the need
 for the monitoring. It must provide the relationship between the monitoring and the
 investigative purpose (e.g., obtain evidence of drug trafficking, public corruption, etc.).
        18.6.1.5.1.2 (U) DOCUMENTED CONSENT OF A PARTY TO THE COMMUNICATION
                       TO BE MONITORED
 (U//e) Consent must be obtained from one of the parties to be monitored, and the
 consent must be documented to the appropriate investigative ELSUR sub-file. Having the
 consent of one of the parties provides an exception to the Title III statute. The
 requirement to obtain and document consent also applies to the monitoring of computer
 communications. See DIOG Section 18.6.1.8 for specific procedures.
        18.6.1.5.1.3   (U) SUBJECT
 (U//F U ) Agents conducting consensual monitoring must not intentionally intercept
 third-parties who are not of interest to the investigation except for unavoidable or
 inadvertent overhears.
        18.6.1.5.1.4   (U) LOCATION OF DEVICE
 (U//F U ) Consensual monitoring can only be approved if appropriate safeguards are in
 place to ensure that the consenting party remains a party to the communication
 throughout the course of monitoring. For example, if a fixed-location monitoring device
 is being used, the consenting party must he admonished and agree to he present during
 the duration of the monitoring. If practicable, technical means must be used to activate
 monitoring only when the consenting party is present.
        18.6.1.5.1.5 (U) NOTICE OF CONSENSUAL MONITORING TO OTHER FIELD
                       OFFICES
 (U// OLIO) If an employee, CHS, or non-confidential third party is operationally tasked
 to conduct consensual monitoring outside the field office's territory, the FBI employee
 requesting approval to conduct the monitoring must provide notice to the SSA who is
 responsible for the investigative program in the field office where the monitoring will
 occur. This notice must he documented in the appropriate investigative fil e                  b7E



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        /8.6.1.5.1.6 (U) DURATION OF APPROVAL
 (U//F       The request for approval must state the length of time needed for monitoring.
 Unless otherwise warranted, approval may be granted for the duration of the
 investigation, subject to a substantial change of circumstances. If one or more sensitive
 monitoring circumstances are present, DOJ may limit its approval to a shorter duration.
 See DIOG Section 18.6.1.6.3 below.
        18.6.1.5.1.7 (U) LEGAL REVIEW

 (U//F       ) Prior to conducting consensual monitoring, the CDC or OGC must determine
 that, given the facts of the investigation, the consensual monitoring is leoal. This review
 must be documented wit111771Should an employee seek oral                        pproval for   b7E
 the use of this method, the legal review by the CDC or OGC must be accomplished as
  art of the oral request. The or11 approval and legal review must be ocumented inlI
           s soon as practicable,                                       after the oral
 authorization. Although AUSA concurrence is no longer required for consensual
 monitoring, providing notice to the AUSA is encouraged.
        18.6.1.5.1.8 (U) CHANGE OF MONITORING CIRCUMSTANCES
 (UHF U ) Whenever the monitoring circumstances change substantially, a new FD-759
 must be executed, and the CDC or OGC must be recontacted to obtain new legal review.
 (AGG-Dom, Part V.A.4.) The following are examples of substantial changes in
 monitoring circumstances which require a new FD-759: a different consenting party, a
 change in the location of a fixed monitoring device, or the addition of a new computer
 system. If any of these or other monitoring circumstances substantially change, the FBI
 employee must immediately contact the CDC or OGC.
        18.6.1.5.1.9 (U) JOINT INVESTIGATIONS
 (U//F986) In joint investigations. the policy and procedures for conducting any
 investigative method or investigative activity by employees or CHSs are usually
 governed by FBI policy. Similarly, employees from other agencies who are participating
 in a joint investigation with the FBI are generally governed by their agencies' policies
 regarding approvals. If, however, the FBI has assumed supervision and oversight of
 another agency's employee (e.g., a full time JTTF Task Force Officer), then FBI policy
 regarding investigative methods or investigative activity controls. Similarly, if another
 agency has assumed supervision and oversight of a FBI employee, unless otherwise
 delineated by MOU, the other agency's policy regarding investigative methods or
 investigative activity controls.
 (U//FOUO) Consensual monitoring conducted by a non-confidential party (e.g.. witness,
 victim, etc.) will be controlled by the agency that is primarily responsible for the non-
 confidential party. In a joint investigation, the employees should reach an understanding
 as to which agency is responsible for the non-confidential party; that agency's policies
 will govern approval and documentation requirements for consensual monitoring.




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18.6.1.6     (U) CONSENSUAL. MONITORING SITUATIONS REQUIRING ADDITIONA L.
             APPROVAL

      18.6.1.6.1    (U) PARTY LOCATED OUTSIDE THE UNITED STATES
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         18.6.1.6.2          (U) CONSENT OF MORE THAN ONE PARTY REQUIRED FOR CONSENSUAL
                             MONITORING

(U//1.0440) Pursuant to Attorney General Order No (3594-2015) dated 11/18/2015, the FBI
may engage in the consensual monitoring of communications in accordance with FBI policy,
even if it is considered a crime under state, local, territorial, or tribal law that may require all-
party consent and do not sanction or provide a law enforcement exception                                       b7E



         18.6.1.6.3          (U) SENSITIVE MONITORING CIRCUMSTANCE

(U) Requests to monitor communications when a sensitive monitoring circumstance is
involved must be approved by the DOJ Criminal Division, or, if the investigation concerns a
threat to the national security or foreign intelligence collection, by the DOJ NSD. (AGG-
Dom, Part V.A.4) A "sensitive monitoring circumstance" is defined in the AGG-Dom. Part
VII.0, to include the following:
       A) (U) Investigation of a member of Congress, a federal judge. a member of the Executive
          Branch at Executive Level IV or above. or a person who has served in such capacity within
          the previous two years (Executive Levels I through IV arc defined in 5 U.S.C. §11 5312-5315);
       B) (U) Investigation of the Governor, Lieutenant Governor, or Attorney General of any state or
          territory, or a judge or justice of the highest court of any state or territory, concerning an
          offense involving bribery, conflict of interest. or extortion related to the performance of
          official duties;
       C) (U) The Attorney General, the Deputy Attorney General, or an Assistant Attorney General has
          requested that the FBI obtain prior approval for the use of consensual monitoring in a specific
          investigation; or
       D) (U) A party to the communication is in the custody of the Bureau of Prisons (BOP) or the
          United States Marshal Service (USMS) or is being or has been afforded protection in the
          Witness Security Program.
          (U//11Illed                                                                                          b7E




  E)                  UCt                                                                                      b7E




  F)         (U//F U ) See 1IOC ,12-died     C      I   vc-±- - Pr'   i -lc for additional information
            regarding consensual monitoring.




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             18.6.1.6.3.1 (U//FOUO) PROCEDURE FOR OBTAINING DOJ APPROVAL FOR A
                         SENSITIVE MONITORING CIRCUMSTANCE:

    (u/iFe4441                                                                          b7E




             18.6.1.6.3.2 (W/FOUC) EMERGENCY REQUESTS INVOLVING SENSITIVE
                         MONITORING CIRCUMSTANCES:

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    A (U/FLOU0)1                                                                        b7E




    B (u/irterbe                                                                        b7E



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    (U/If U )                                                                           b7E




18.6.1.7      (U) DURATION OF APPROVAL

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18.6.1.8      (U) SPECIFIC PROCEDURES

(U//F       ) The following procedures apply when obtaining consent.

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     18.6.1.8.1    (U) DOCUMENTING CONSENT TO MONITOR/RECORD
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           18.6.1.8.1.1 (U) CONSENSUAL MONITORING OF COMPUTERS

   (UHF U                                                                                  b7E




             the CDC or OGC must review the document at ssue to ensure that the implied
   consent is legally sufficient.
     18.6.1.8.2    (U) DOCUMENTING APPROVAL
                                                                                           b7E
(U//F U



     18.6.1.8.3    (U) RETENTION OF   CONSENSUALLY MONITORED COMMUNICATIONS

(UHF U                                                                                     b7E




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         18.6.1.8.4    (U) MULTIPLE COMMUNICATIONS
                                                                                                 b7E
(U//FOUOj




         18.6.1.8.5    (U) INVESTIGATION SPECIFIC APPROVAL
                                                                                                 b7E
(U// F




 18.6.1.9      (U) COMPLIANCE AND MONITORING

(U/1F0) Case agents and supervisors must regularly monitor the use of this method to
ensure that the continued interception of communications is warranted and lawfully obtained
by virtue of consent, express or implied, from a party to the communication. Such monitoring
must include a review of the investigative file to ensure that consent and authorization forms
are in the appropriate investigative ELSUR sub-file and properly completed by the requesting
agent. ELSUR program personnel must review all submitted FD-759s and consent forms (FD-
472 and FD-107 I ) to ensure proper approval is documented for the consensual monitoring of
communications.
 18.6.1.10     (U) EVIDENCE HANDLING

 U//                                                                                             b7E




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18.6.2      (U) INVESTIGATIVE METHOD: INTERCEPTING THE COMMUNICATIONS OF
            A COMPUTER TRESPASSER

 18.6.2.1      (U) SUMMARY

 (U) The wire or electronic communications of a computer trespasser to, from, or through a
 protected computer may be intercepted and collected during a Predicated Investigation. Use of
 this method requires SSA approval and review by the CDC or the OGC. (AGG-Dom. Part
 V.A.4)
 18.6.2.2      (U) APPLICATION

 (UHF U                                                                                                    b7E




 18.6.2.3      (U) L MAL AUTHORITY
     A) (U) The Fourth Amendment to the United States Constitution and case law interpreting the
        same;
     B) (U) The Wiretap Statute. 18 U.S.C. § 2511, prohibits the intentional interception and use of
        wire, oral. or electronic communications absent an exception;
     C) (U) Computer Trespasser Exception. 18 U.S.C. § 2511(2)(i); and
     D) (U) The Foreign Intelligence Surveillance Act of 1978 (FISA). 50 U.S.C. §.§ 1801 et seq.,
        requires court authorization for 'electronic surveillance." FISA specifically provides,
        however, that the acquisition of computer trespasser communications that would he
        permissible under 18 U.S.C. § 251 1(2)(i) are not subject to the NSA court order requirement
        for electronic surveillance of wire communication under section 101(0(2) of FISA. 50 U.S.C.
        § 1801(0 (2).
 18.6.2.4      (U) DEFINITION OF TILE COMMUNICATIONS OF A COMPUTER TRESPASSER

 (U) Generally, the Wiretap Statute (also referred to as Title III). 18 U.S.C. §§ 2510-2522,
 prohibits the intentional interception of wire, oral, or electronic communications unless one of
 several exceptions applies. One such exception is the interception of a computer trespasser's
 wire or electronic communications to. through or from a protected computer based on the
 authorization of the owner or operator of that computer. Another statutory exception is based
 on the consent of a party to the communication. This section relates specifically to the
 computer trespasser exception; the policy on consensual recording of computer
 communications can be found at. DIOG Section 18.6.1.
 (U) The computer trespasser exception to the Wiretap Statute, 18 U.S.C. § 2511(2)(i), permits
 a person acting under color of law to intercept the wire or electronic communications of a
 computer trespasser that are transmitted to, through. or from a protected computer when the
 owner or operator of that computer authorizes the interception. The use of this method does
 not include retrieving or obtaining records of communications that have been stored on the
 computer or elsewhere after the communication has occurred.
 (U) The statute requires:


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    A) (U) The owner or operator of the protected computer to authorize the interception of the
       trespasser's communications on the protected computer;
    B) (U) The person acting under color of law to he engaged in a lawful investigation;
    C) (U) The person acting under color of law to have reasonable grounds to believe that the
       contents of the trespasser's communications gill be relevant to the investigation: and
    D) (U) The interception is limited to the communications transmitted to or from the trespasser.
(U) The case agent is responsible for documenting the basis for the conclusion that the person
who provided authorization to intercept the trespasser's communications is either the owner
or operator of the protected computer. The "owner or operator" must have sufficient authority
over the protected computer/computer network system to authorize access across the entire
system. This could be a corporate officer. CIO, or system administrator, if the system
administrator has authority across the entire system. In any instance in which the
identification of the owner or operator is not plainly evident, the case agent must seek the
assistance of the CDC or the OGC to identify the proper owner or operator.
(U) A "protected computer," defined in 18 U.S.C. § 1030(e), has been generally interpreted to
he any computer or computer network device connected to the Internet, although it also
includes most computers used by a financial institution or the United States Government
regardless of whether the computer is connected to the Internet.
(U) A "computer trespasser" is a person who accesses a protected computer without
authorization and thus has no reasonable expectation of privacy in any communication
transmitted to, from, or through the protected computer. The definition of computer trespasser
does not include a person known by the owner or operator to have exceeded their authority or
to have an existing contractual relationship with the owner or operator for access to all or part
of the computer. (18 U.S.C. § 2510(21))
(U) The trespasser exception and the consensual monitoring of communications exception are
related, but separate. exceptions to the Wiretap Statute. The owner. operator. and authorized
users of a protected computer can consent to the monitoring of only those communications
they send or receive (i.e., communications to which they are a party). which do not include a
trespasser's communications. (See DIOG Section 18.6.1) In comparison, under the trespasser
exception, the owner or operator may only authorize the interception of the communications
of a trespasser transmitted to, through or from the protected computer.
(U) When applicable, the computer trespasser and consensual monitoring of communications
exceptions to the Wiretap Statute can he used together, permitting the interception of
communications of both authorized users and trespassers on the protected computer. This is
particularly useful when it is difficult to discern the trespasser communications from other
communications. If it is possible to obtain consent to monitor the communications of the
authorized users, using the consent and trespasser exceptions together can mitigate the risk of
over or under collection of the trespasser's communications. See DIOG Section 18.6.1 for the
policy regarding consensual monitoring of computer communications.




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18.6.2.5     (U/40140) USE AND APPROVAL REQUIREMENTS FOR INTERCEPTING THE
             COMMUNICATIONS OF A COMPUTER TRESPASSER

      18.6.2.5.1     (U) GENERAL APPROVAL REQUIREMENTS
(UHP144:+9) An SSA may approve the use of the computer trespasser exception, subject to
CDC or OGC review. Approval is conditioned on the following criteria being met and
documented on the ED- 7 59 and through other supporting documentation in the investigative
file:
           18.6.2.5.1.1 (U) REASONS FOR THE INTERCEPTION
    (U//F U ) The synopsis portion of the FD-759 must include sufficient facts to support
    the need for the interception and to explain how the contents of the trespasser's
    communications will be relevant to the investigative purpose.
           18.6.2.5.1.2 (U) OWNER OR OPERATOR AUTHORIZATION
    (U//F U ) The authorization of the owner or operator of the protected computer (who
    may be the system administrator, as stated above) to a person acting under color of law to
    intercept the trespasser communications on the protected computer system or network
    must be documented using the FD-1070. Authorization to Intercept the Communications
    of a Computer Trespasser. The steps the case agent takes to ensure that the person
    providing the authorization is the actual or appropriate owner or operator of the protected
    computer must be documented in the investigative file. See 18.6.2.6 below for specific
    procedures.
           18.6.2.5.1.3 (U) ACQUIRING ONLY TRESPASSER COMMUNICATIONS
    (U//frieleleB When intercepting communications under the computer trespasser exception
    alone (i.e., not in conjunction with consensual monitoring of electronic communications),
    the collection must not intentionally acquire communications other than those to or from
    the trespasser. This can often be technically complicated to accomplish depending on the
    use and configuration of the protected computer and the sophistication of the trespasser.
    The steps to be taken to identify trespasser communications and to isolate such
    communications from those of authorized users must be considered by the approving and
    reviewing officials and documented in the investigative file. See DIOG Section 18.6.2.6
    below for specific procedures.
           18.6.2.5.1.4 (U) OWNER OR OPERATOR COLLECTION
    (U/tritttie) The interception of trespasser communications may be conducted by the FBI
    or by the owner or operator of the protected computer at the FBI's request. In either
    instance, the interception is being conducted under color of law. If the collection is not
    being conducted by the FBI, the case agent must document that he or she has informed
    the person conducting the interception that it must be accomplished in conformity with
    the statute.
           18.6.2.5.1.5 (U) LOCATION OF INTERCEPT
    (U/tF61494If the intercept or collection of the trespasser communications will occur
    outside of the field office of the approving official, the SAC or ASAC of the field office

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    within which the interception will occur must be notified, and the notification must be
    documented in the investigative file.
            18.6.2.5.1.6   (U)DURATION

    (I)htra.949) The request for approval (FD-759) must state the length of time needed for
    the interception. Unless otherwise warranted, approval may be granted for the duration of
    the investigation. subject to a substantial change of circumstances, as described in DIOG
    Section 18.6.2.6. below.
            18.6.2.5.1.7 (U) LEGAL REVIEW
    (U/1-F-14440) Prior to conducting the interception, the CDC or OGC must review the
    request and determine that, given the facts of the investigation, the interception appears to
    be lawful under the computer trespasser exception. Whenever the factors surrounding the
    use of the approved technique change substantially, a new FD-759 must be executed. The
    newly executed FD-759 must include new legal review by the CDC or OGC. (AGG-
    Dom. Part V.A.4.) The following are examples of substantial changes in the
    circumstances of the interception that require a new FD-759: a change in owner or
    operator, a change in the method of collection, or the change or addition of a protected
    computer system. On the other hand, technical changes in the collection system for the
    purpose of improving or refining the interception are usually not substantial changes to
    the circumstances of the interception.
            18.6.2.5.1.8 (U) JOINT INVESTIGATIONS
    (U/1febt9) In joint investigations. if the FBI is the lead investigating agency. FBI
    policies and guidance regarding the interception of computer trespasser communications
    must be followed. If the FBI is not the lead investigating agency, the policies of the lead
    investigating agency must be followed and documented to the appropriate FBI
    investigative file.
            18.6.2.5.1.9 (U) E XTRATERRITORIAL CONSIDERATIONS
    (U/FR41/4144                                                                                     b7E




18.6.2.6     (U) DURATION OF APPROVAL FOR INTERCEPTING THE COMMUNICATIONS OF A
             COMPUTER TRESPASSER

(U//reS9)-The interception and collection of computer trespasser communications under the
computer trespasser exception may be approved for a specified length of time or for the
duration of the particular investigation.
18.6.2.7     (U) SPECIFIC PROCEDURES FOR INTERCEPTING THE COMMUNICATIONS OF A
             COMPUTER TRESPASSER

(U//f   U ) The following procedures apply when obtaining authorization.




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      18.6.2.7.1      (U)DOCUMENTING AUTHORIZATION TO INTERCEPT

(UllftiorrrWhenever possible, written authorization must be obtained from the owner or
operator of the protected computer and documented on an FD-1070, Authorization to
Intercept the Communications of a Computer Trespasser.
(U//f U ) If the authorization from the owner or operator is provided orally, at least one FBI
agent and another law enforcement or intelligence officer should witness the authorization,
and the authorization must be memorialized in an FD-302. The fact that the authorizing party
has declined or was unable to give written authorization must also be recorded on the FD-
1070, Authorization to Intercept the Communications of a Computer Trespasser form. This
form should then be executed in all respects with the exception of the authorizing party's
signature.
(Ullfe8414 The case agent must document to the file (i.e., FD-302 or EC) the facts that
establish that the person providing the authorization is a proper party to provide authorization
for the anticipated interception.
(U/LECILLIcB-If the case agent is seeking approval for the FBI to engage in both consensual
monitoring and an interception of the computer trespasser on the same computer system,
separate forms -                                                                                     b7E




      18.6.2.7.2      (U)ACQUIRING ONLY THE TRESPASSER COMMUNICATIONS

(U//F U ). The computer trespasser exception permits the FBI to intercept only trespasser
communications. Prior to seeking approval to intercept computer trespasser communications,
the case agent must coordinate the use of the method with the Field Office Technical Advisor
by submission of an Electronic Technical Request (ETR). On receipt of the ETR. the
Technical Advisor must ensure that the technical equipment and expertise necessary to
lawfully implement the interception are timely provided following approval to use this
investigative method.
(U/TFC7itt3-) Many of the technical challenges and risks associated with accurately isolating
the trespasser communications can be mitigated by also obtaining consent to monitor the
computer or a court order. The possibility of using the authority to intercept trespasser
communications in conjunction with consent should be raised at the time of the ETR
submission or as soon thereafter as the case agent determines that the authorized users of the
protected computer will consent to FBI monitoring.
(U//f U ) When intercepting trespasser communications, the case agent must prepare an
FD-302 or EC detailing the steps taken to identify trespasser communications and to isolate
such communications from those of authorized users. For example: "reviewed system logs
provided by the system administrator and identified a trespasser accessing the system at the
following dates and times via IP address xxx or port xxx." Additionally, any subsequent
review or revision of the steps needed to identify and isolate the trespasser's communications
must also be documented to the investigative file by an EC or FD-302, as appropriate.




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      18.6.2.7.3      (U) REVIEWING THE A CCURACY OF THE INTERCEPTION

(U/Merb84)-At the initiation of the interception and collection of computer trespasser
communications, the Technical Advisor or designated technically trained agent (TTA)
coordinating the implementation of the interception and collection device shall ensure that
appropriate collection parameters are implemented as required by OTD policy and
procedures.
(U//FOUO) The case agent shall ensure a timely initial review of the collected information to
verify that the interception and collection are limited to communications authorized for
interception and collection under the trespass authority or other lawful exception. Following
this initial review, the case agent shall ensure that a similar review and evaluation is repeated
at appropriate intervals throughout the duration of the interception to ensure that the
interception and collection remain within the scope of the trespasser or other lawful
exceptions. Factors that may impact the frequency of reviews include, but are not limited to:
volume of data to be reviewed, complexity and nature of data collected. and complexity of the
trespassed system.
(U//FOU ) Any FBI employee who identifies interception and collection of communications
that may be outside the scope of the trespasser or other lawful exception shall immediately
notify the case agent and the operational SSA of the possible unauthorized interception and
collection of communications. Upon the determination that communications have been
unlawfully intercepted or collected, the interceptions and collection must be halted
immediately. The case agent must consult with a TTA to determine whether collection may be
resumed in a manner that assures further unlawful collections will not occur. If the SSA
determines that unlawful collection can be reliably prevented, that determination must be
documented to the file before lawful interceptions and collection may resume.
(U//f-efrtkt-The content of communications determined to have been unlawfully collected
cannot be used in any manner and shall be removed promptly from all FBI systems and
destroyed. A memorandum documenting the removal and destruction shall be filed in the
main investigation file and the appropriate investigative ELSUR sub-file.
      18.6.2.7.4      (U) REVIEWING THE RELEVANCY OF THE INTERCEPTION

(U ITFOrler, The trespasser exception requires the FBI to have a reasonable belief that the
contents of the trespasser's communications will be relevant to the investigation. Following
the initiation of the interception and collection of the trespasser communication, the case
agent must ensure that the collected communications are reviewed, at appropriate intervals
throughout the duration of the interception, to determine whether the interception is and
continues to be relevant to the authorized investigation. Factors that may impact the frequency
of reviews include. but are not limited to: volume of data to be reviewed, complexity and
nature of data collected, and complexity of the trespassed system.
      18.6.2.7.5      (U)DURATION OF APPROVAL

(U//        Authorization to intercept trespasser communications remains valid until such
time as the authorizing party. orally or in writing, revokes the authorization or on the
termination date of the authorization, whichever comes first.



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      18.6.23.6       (U) ELSUR REQUIREMENTS

(UMPOUO) The information obtained from the collection must be retained in conformity with
the ELSUR Policies located in the OGC Main Law Library) or other applicable policies.
(UHF U ) All ELSUR downloading, processing, and handling of original, derivative, and
copies of original or derivative ELSUR evidence must be conducted by an ELSUR operations
technician (EOT) or other designated employee (e.g. an agent who has successfully completed
ELSUR training in Virtual Academy). ELSUR evidence must not be uploaded into
          U) Multiple Communications.                                                                b7E

(UHF U ) In investigations in which various modes of communication may be intercepted
(e.g., telephonic, non-telephonic, electronic communications, etc., or the use of consensual
computer monitoring in conjunction with the interception of trespasser communications), one
FD-759 may be used to document approval, provided that each mode of communication to be
monitored is being used in the same investigative file and all facts required on the FD-759 are
the same. If the material facts on the FD-759 vary (e.g., different periods of authority, etc.),
separate FD-759s must be executed.
      18.6.2.7.7      (U) INVESTIGATION SPECIFIC APPROVAL

(U//FAX') Approval for intercepting a computer trespasser's communications is
investigation specific and is not transferable to any other investigation, unless the
investigative file under which the authority was granted is consolidated or reclassified.
Investigation specific approval must be obtained for any spin-off investigation(s) that arises
out of the original investigation.
18.6.2.8     (U) COMPLIANCE AND MONITORING

(U          Casr, a_.L.nts must regularly monitor the use of this method to ensure that the
continued interception of trespasser communications is warranted and being lawfully
conducted. Such monitoring shall include a review of the investigative file to ensure that
consent and authorization forms have been properly executed and filed. ELSUR program
personnel must review all submitted FD-759s and FD-1070 (Authorization to Intercept the
Communications of a Computer Trespasser form) to ensure proper approval has been
documented for the interception of computer trespasser communications.
18.6.2.9     (U) EVIDENCE HANDLING

(UHF U ) All ELSUR downloading, processing, and handling of original, derivative, and
copies of original or derivative ELSUR evidence must be conducted by an ELSUR operatioi s
technician (EOT) or other designated employee (e.g. an agent who has successfully,
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ELSUR training in Virtual Academy). ELSUR evidence must not be uploaded into




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18.6.3      (INFOU0) INVESTIGATIVE METHOD:                                                                     b7E

                        CLOSED-CIRCUIT TELEVISION/VIDEO SURVEILLANCE,
            DIRECTION FINDERS, AND OTHER MONITORING DEVICES

 18.6.3.1        (U) SUMMARY

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 (U/IFOU0                                                                                                      b7E




 18.6.3.2        (U) APPLICATION

 uHFeue)1                                                                                                      b7E


 not otherwise prohibited by AGG-Dorn, Part 111.B.2-3


 18.6.3.3        (U) LEGAL AUTHORITY

        A) (U) AGO-Dorn, Part V
        B) (U) Rule 41 Federal Rules of Criminal Procedure
        C) (U) Fourth Amendment to the United States Constitution
 18.6.3.4        (U) DEFINITION OF INVESTIGATIVE METHOD

        A) (U//1/ U ) Closed Circuit Television/Video Surveillance (CCTV/Video Surveillance): a
           fixed-location video camera/device that is typically concealed from view or that is placed on
           or operated by a consenting party.
   B)        (U/4-4Jux) Electronic Tracking Devices: See OG(Ts Guida4nce
             Trackinc incviccs and also OTD s                  m ,,r eint Trth kins
             Prom(;,,        / -tilde ps:.p??LPG.




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18.6.3.5       (umrouo) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR
               INVESTIGATIVE METHOD

(U/H'-913A) When a video camera is physically operated as a hand-held video and is used in
an area in which no one has a reasonable expectation of privacy, its use is equivalent to using
a still camera and does not require CDC review or SSA approval.
(U//f U ) Except for a hand-held video as described above, CDC or OGC review and SSA
approval is required for the use of CCTV/Video Surveillance. CDC review and SSA approval
must be documented using the FD-759. SSA approval may be granted if the following criteria
have been met:
    A) (U          Legal reNiew from the CDC or OGC that a court order is not required for
       installation or use of the device because there has been lawful consent. no reasonable
       expectation of privacy exists, or no physical trespass is necessary to install the device.
       Whenever circumstances change in either installation or monitoring, a new legal review must
       he obtained to determine whether a separate authorization is necessary;
    B) (11/77171t1e)-Use of the method is reasonably likely to achieve investigative objectives;
    C) (U/                                                                                                   b7E




18.6.3.6       (U) DURATION OF APPROVAL.

(U//FOU                                                                                                      b7E




18.6.3.7       (U) SPECIFIC PROCEDURES

(UHFOU0) To use this method, the case agent must:
    A (U7194841                                                                                              b7E


    B (U//IOU                                                                                                b7E

    C) (U//I      4                                                                                          b7E




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    D) (UHF U I                                                                                            b7E



18.6.3.8       (U) CCTV/VIDEO SURVEILLANCE WHERE THERE IS A REASONABLE
               EXPECTATION OF PRIVACY IN THE AREA TO BE VIEWED OR FOR THE
               INSTALLATION OF THE EQUIPMENT.

      18.6.3.8.1      (U)WARRANT OR COURT ORDER

(U//-Febt6) A warrant/court order is required for the use of CCTV/Video Surveillance when a
reasonable expectation of privacy exists in either the area to be viewed or the location where
the equipment will be installed, unless the installation and monitoring is being conducted
pursuant to consent. See DIOG Section 18.6.3.8.2 below for the required consultation with the
Technical Advisor (TA) or technically Trained Agent (TTA).
    A) (Nil U ) Criminal Investigations: When there is a reasonable expectation of privacy in the
       area to be viewed and no consenting party_ prior DOJ/OEO approval is required before
       seeking a warrant/order. When there is a reasonable expectation of privacy only in the location
       where the CCTV/Video Surveillance equipment will he installed, but not in the area to he
       viewed, prior DOJ/OEO authorization is not required to seek a warrant/order for the
       installation. In an emergency situation where CCTV usage is desired and a warrant/court order
       would he required. but cannot he obtained within the time required. an AUSA must he
       contacted to seek D0.1/OED's guidance on how to proceed.

    B) (U//F         National Security Investigations: The use of CCTV/Video Surveillance in
        national security investigations under the Foreign Intelligence Surveillance Act of 1978
        (FISA) requires the filing of an appropriate FISA court order because the use of CCTV/Video
        Surveillance falls within the definition of '-electronic surveillance" under FISA. See DIOG
        Section 18.73.
    C) (Uate+344) Where a warrant is required and the request is included with a Title III or is a
        PISA request: Where the CCTV/video surveillance request is made pursuant to FISA or in
        conjunction with a Title III request. the required supervisory approvals and CDC or OGC
        review will take place as part of the larger FISA or Title III review and approval process. No
        additional reviews or approvals for the CCTV/video surveillance are required.

    D) (U//173udf Where a warrant is required and the request is NOT coupled with a Title III
       request or made pursuant to PISA: As the FD-759 is not used when a court order is needed.
       the required SSA approval and CDC or OGC review must be documented in an EC. Maintain
       the original SAC approved EC in the appropriate investigative ELSUR sub-file.

      18.6.3.8.2      (U/        8) REQUIRED CONSULTATION WITH TECHNICAL ADVISOR (TA)
                      OR TECHNICALLY TRAINED AGENT (TTA)

(U//FOU ) Prior to filing an application and affidavit for a warrant/court order under Rule
41/All Writs Act (in criminal law-based investigations) or under FISA (in national security-
based investigations). the case agent/special agent must consult with the field office TA/TTA
to:
    A) (UtteidE9-consider any potential technical issues; and

    B) (U//FOUO) review any ‘-technical" or -technique" language used in the application and
        affidavit.


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(UHF U ) This leviLw Lnswes that the language used therein is accurate and does not
disclose classified/sensitive methods and techniques.
18.6.3.9         (U) EVIDENCE HANDLING

(U//-FOU0) All ELSUR downloading, processing, and handling of original, derivative, and
copies of original or derivative ELSUR evidence must be conducted by an ELSUR operations
technician (EOT) or other designated employee (e.g. an agent who has successful) completed
ELSUR training in Virtual Academy). ELSUR evidence must not be uploaded int                       b7E

18.6.3.10        (U                                                                               b7E




(u/frepeet




18.63.11         (U) CCTV/VIDEO SURVEILLANCE EQUIPMENT — TYPES, AVAILABILITY,
                 REPAIR AND DISPOSAL

         18.6.3.11.1     (U) EQUIPMENT TYPES

(U//       Listed below are categories of CCTV/Video Surveillance equipment and related
methods. Since CCTV/Video Surveillance tools change with some frequency, available
equipment and methods can be accessed via the appropriate hyperlink to the VSU Web page.
    A) (U//ll6tX3-1                                                                               b7E

          (U) Sec VSU Ira'
    B) (UPI- U                                                                                    b7E

          (U) See VS111,
    C)     UHF                                                                                    b7E

          (U) See 'IS() tiara
                                                                                                  b7E
              18.6.3. 1 1.1. 1   (UHET3170)
    (U/IFOU01                  an approved, unclassified system hat supports FBI special
    agents and tactical groups using CCTV/Video Surveillance method!'                             b7E




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      18.6.3.11.2     (U) EQUIPMENT AVAILABILITY

(ClifF6EI144 If CCTV/Video Surveillance equipment is not available from the existing field
office inventory, the TA/TTA must use the Technical Management Database (TMD) to
forward requests to the appropriate VSU program manager (PM).
             18.6.3.11.2.1 (U) SURVEY SHEET
    (U/*FetteT) The TA or TTA should contact the case agent/special agent requesting the
    CCTV/video surveillance to determine his/her object:ye and expectations of the
    CCTV/Video Surveillance. The                       Is designed to capture the                   b7E
    information needed to maximize investigative and to .finical success when using
    CCTV/Video Surveillance equipment.
      18.6.3.11.3     (U) EQUIPMENT REPAIR

(U//FOUO) Field office TAs/TTAs must consult with the appropriate VSU PM and obtain
approval prior to sending any CCTV/Video Surveillance equipment to VSU for repairs.
       I 8.6.3.11.4   (U) EQUIPMENT DISPOSAL

(U//F 14Q) Field office TAs/TTAs must determine the appropriate disposition of non-
repairable equipment. Surplus property will be disposed of by field offices for equipment
under its cost code.
 18.6.3.12    (U) COMPLIANCE AND MONITORING

(Ullitteiti) Authorization documents regarding the use of the CCTV/Video must be
documented in the appropriate investigative ELSUR sub-file and will be available for
compliance and monitoring review. See this Section and DIOG Section 18.6.1.9 (consensual
CCTV/video surveillance use) for the requirements for using CCTV/Video Surveillance. See
                                                                                                    b7E




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18.6.4      (U) INVESTIGATIVE METHOD: ADMINISTRATIVE SUBPOENAS
            (COMPULSORY PROCESS)

 18.6.4.1       (U) OVERVIEW OF COMPULSORY PROCESS

 (utftbtei                                                                                          b7E




 (U)                                                                                                b7E


 18.6.4.2       (U) APPLICATION
 (U/IFO                                                                                             b7E




 18.6.4.3       (U) ADMINISTRATIVE SUBPOENAS

         18.6.4.3.1    (U) SUMMARY
 (U) The Attorney General has the authority to issue administrative subpoenas pursuant to two
 provisions of the United States Code, 21 U.S.C. § 876 and 18 U.S.C. § 3486. The FBI has no
 inherent authority to issue administrative subpoenas but has delegated authority from the
 Attorney General to do so. The use of administrative subpoenas is limited to three categories
 of investigations—drug program investigations, child sexual exploitation and abuse
 investigations. and health care fraud investigations—and may not be used for any other
 purpose. The delegated authority varies depending on the federal violation being investigated.
 The type of information that can be obtained using an administrative subpoena is also limited
 by law and by policy of the Attorney General.
 (U/1-F,Attfl) Within the FBI, the authority to issue administrative subpoenas is limited to
 positions authorized by the Attorney General; that authority may not be further redelegated.
                                                                                                    b7E




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      18.6.4.3.2    (U) LEGAL A UTHORITY AND DELEGATION

           18.6.4.3.2.1 (ID INVESTIGATIONS INVOLVING THE SALE, TRANSFER,
                       MANUFACTURE OR IMPORTATION OF UNLAWFUL DRUGS

 (U) Authority: 21 U.S.C. § 876 and DOJ Regulation at 28 C.F.R. App to Pt. 0, Subpt. R §
 4.
 (U) May be issued to: Any individual or business holding records relevant to the drug
 investigation.
 (U) Records to be obtained: Any records relevant or material to the investigation.
 (U//F U )Delezated authority to issue: By DOJ regulation, the Attorney General's
 delegation includes SACs, ASACs, SSRAs and "those FBI Special Agent Squad
 Supervisors who have management responsibilities over Organized Crime/Drug Program
 investigations."
 (Ult.24149) Multi-offense investizations:                                                      b7E




 (U/bIJOU0) Confidentiality:                                                                    b7E




           18.6.43.2.2 (U) INVESTIGATIONS INVOLVING TILE SEXUAL EXPLOITATION OR
                       ABUSE OF CHILDREN

 (U) Authority: 18 U.S.C. § 3486(a) and Attorney General Order 3220-2010.
 (U) May be issued to: A "provider of an electronic communication service" or a "remote
 computer service" (both terms defined below in DIOG Section 18.6.4.3.4.2.1) and only
 for the production of basic subscriber or customer information. The subpoena may
 require production as soon as possible but in no event less than 24 hours after service of
 the subpoena.
                                                                                                b7E
 (U) Records to be obtained.




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 (U//tertj0") Delegated authority to issue:                                                       b7E




 (UHF U ) Violations to which this authority applies: These administrative subpoenas
 may only be issued in investigations that involve a violation of 18 U.S.C. §§ 1201, 1591.
 2241(c), 2242, 2243, 2251, 2251 A, 2252, 2252A, 2260, 2421, 2422, or 2423 in which the
 victim is less than 18 years old. Under the Attorney General's delegation, an
 administrative subpoena in these investigations may be issued only to "providers of
 electronic communication services" or to "remote computing services" to obtain the
 information listed above. These administrative subpoenas may not he issued to any other
 person or entity or to obtain any other information, including the content of
 communications                                                                                   b7E




        18.6.4.3.2.3 (U) INVESTIGATIONS INVOLVING FEDERAL HEALTH CARE FRAUD
                     OFFENSES

 (U)Authority: 18 U.S.C. § 3486(a)

 (U) Records to be obtained: Records relevant to an investigation relating to a "federal
 health care offense." Federal health care offense is defined in 18 U.S.C. § 24.
 (U) May be issued       Any public or private entity or individual with records relevant to
 the federal health care offense. (These are referred to in guidance issued by the Attorney
 General as "investigative demands.")
 (U11601J0) Delegated authority to issue: The Attorney General has not delegated
 signature authority to the FBI. AG authority is delegated only to personnel within DOJ's
 Criminal Division and to United States Attorneys, who may redelegate the authority to
 AUSAs. FBI employees must request an AUSA to issue administrative subpoenas in
 health care fraud investigations.
 (U) Limitations: The Right to Financial Privacy Act (RFPA) limitations described in
 18.6.4.3.4 of this section apply. The provisions in ECPA govern, as discussed in
 18.6.4.3.4 of this section. if the request for records is addressed to a "provider of
 electronic communication service" or a "remote computing service." The subpoena may
 not require the production of records at a place more than 500 miles from the place the
 subpoena is served.


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      U



      (U) Restriction on use of health care information against the individual: Pursuant to 18
      U.S.C. § 3486, health information about an individual acquired through an authorized
      investigative demand may not be used in, or disclosed to any person for use in, any
      administrative, civil, or criminal action against that individual unless the action or
      investigation arises from and is directly related to receipt of health care, payment for
      health care, or a fraudulent claim related to health care.
        18.6.4.3.3      (0 APPROVAL REQUIREMENTS

             18.6.4.3.3.1 (U) REQUIRED FORM
           (U                                in accordance with DIOG subsections 18.6.43.2.1 and                b7E
           18 6 4 3 7 7 ;Move must be prepared and issued using the electronic
                                Ior the                         'The electronic form is designed to
           ensure al                          lis: (I) issued only in investigatio is where its use is
           permitted; (2) used to demand information that can he obtained within the applicable leuz I
           and policy limitations; and (3) approved by an individual with proper authority
                 must he electronically placed into the]                                           lin the
           relevant investigative case fr       ' - t is issued. An electronic copy of                  will
           automati ;ally be saved in th              ata base when it is electronically placed into


131        (U) The                          allows for the generation of an                            ]tor     b7E
           any need 'pecified in DIOG subsections 18.6.4.3.2.1 and 18.6. .3.2.2 above. Hor
                                     served to participating providers, it also provides the ability to
           receive expedited returns, as well as a means to review and ingest the return information
           into                         for storage. processing, and analysis.
C)         (U                                      Addressed to an electronic communication service             b7E
           provider contains n attachment explaining the meaning of various terms used in the
           demand for information]

                                      issued by the 1-131 or proposed by the 1-131 for issuance by a
           DO1 attorney without approval from OGC or the CDC. That approval must he documented
                          He.
             18.6.4.3.3.2 (U) APPROVAL AUTIIORITY

      (U//freee)Use of an administrative subpoena requires SSA approval. The subpoena
      may be issued by the SSA if that SSA is among those with delegated authority to do so.
      See DIOG Sections 18.6.4.2.2.1 - 18.6.4.2.2.3 above) Otherwise, the subpoena must be
      forwarded to an individual with the proper delegated authority. Further review and
      approval may be required depending on the delegation. Review by the CDC is
      appropriate if legal questions arise in preparing and issuing the subpoena.
      (UHF-8491                                                                                                 b7E




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          18.6.4.3.3.3 (U) REIMBURSEMENT FOR THE PRODUCTION OF TOLL RECORDS
A)       (U/rtes       Reimbursement to a telecommunications provider (electronic communications
        service) for toll, and other records produced, pursuant to the issuance of an                     b7E
                   is governed by statutory requirements and exceptions to those provisions.
        Additional guidance on toll record reimbursement, specific circumstances that preclude
        reimbursement. and a template telecommunications pr wider response letter, can he found
        on the Help link within OTErs                            home page.
B)       1.1/46ib}et An individual designated by proper autho iity to issue an                            b7E
                   is permitted to sign and issue a '-no payment response letter to a provider upon
        determination that an invoice received from the tcleconmunications provider falls within
        the statutory exceptions to reimbursement. Consultat8 n with. and review of the letter by,
        the CDC is appropriate if legal questions arise in preparing and issuing the response letter.
     18.6.4.3.4      (U) LIMITATIONS ON USE OF ADMINISTRATIVE SUBPOENAS

          18.6.4.3.4.1 (U) FINANCIAL. PRIVACY LIMITATIONS
18.6.4.3.4.1.1        (U) OBTAINING RECORDS FROM A FINANCIAL INSMUl'ION

 (Uh r UO) Financial records" are those records that pertain to a customer's relationship
 with a financial institution. The term "financial institution" is broadly defined as a bank,
 savings bank, card issuer, industrial loan company, trust company, savings association,
 building and loan or homestead association, credit union, or consumer finance institution,
 located in any state, territory. or the District of Columbia. See 12 U.S.C. § 3401. (Note:
 The scope of the RFPA's definition of financial institution for this purpose, which Emits
 the restrictions the RFPA places on federal law enforcement in using an administrative
 subpoena, is narrower than the definition of financial institution that is used in connection
 with NSLs. For that purpose, the RFPA refers to the broader definition found in the Bank
 Secrecy Act (BSA). Among the entities included in the BSA definition are money
 transmitting businesses, car dealers, travel agencies, and persons involved in real estate
 closings. See 12 U.S.C. § 3414(d) and 31 U.S.C. § 5312 (a) (2) and (c) (I ).) When
 seeking financial records from a financial institution. the FBI must send a certificate of
 compliance required by 12 U.S.C. § 3403 to the financial institution. The certificate must
 indicate, among other things, that notice has been provided by the FBI to the individual
 customer whose financial records are to be obtained. The content of the notice is set out
 in 12 U.S.C. § 3405. A court order may be obtained that allows for delayed notice
 pursuant to 12 U.S.C. § 3409. Notice is not required if the administrative subpoena is
 issued to obtain the financial records of a corporation or for records not pertaining to a
 customer. Notice is also not required if the administrative subpoena seeks only basic
 account information, defined as name, address, type of account. and account number. See
 12 U.S.C. § 3413(g).
18.6.4.3.4.1.2        (U) OBTAINING RECORDS FROM A CREDIT BUREAU

 (Unfeele)i A credit bureau or consumer reporting agency may only provide name,
 address former addresses, place of employment and former place of employment in
 response to an administrative subpoena. See 15 U.S.C. § 168111. A credit bureau or

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 consumer reporting agency may not release financial information in a credit report or
 consumer report, or the names and locations of financial institutions at which the
 consumer has accounts pursuant to an administrative subpoena. A court order, a grand
 jury subpoena, or, in an appropriate investigation, a national security letter may be used
 to obtain this information. 15 U.S.C. § 1681 b. Notice of disclosure will be provided by
 the credit bureau or consumer reporting agency to the consumer if the consumer requests
 this information.
          18.6.4.3.4.2 (U) ELECTRONIC COMNICNICATION PRIVACY ACT

 (U/Me/ELQ/) The ability to gather subscriber information and the content of electronic
 communications using an administrative subpoena is governed by ECPA. In
 investigations involving the sexual exploitation or abuse of children, only basic
 subscriber or customer information may be obtained with an administrative subpoena
 under the terms of the Attorney General's delegation, as described above. No content
 information may be obtained. In drug and health care fraud investigations, an
 administrative subpoena may be used to obtain basic subscriber or customer information
 and certain stored communications, under limited circumstances, from entities that
 provide electronic communication services to the public.
18.6.4.3.4.2.1      (CO SCOPE

 (U//FOUO) ECPA applies to two types of entities that provide electronic
 communications to the public. They are:
 A) (1.181-0U0) 'Electronic Communication Service' is defined as'-any service that provides the
    user thereof the ability to send or receive wire or electronic communications." 18 U.S.C. §
    2510(15)
 B) (U/titt:19+ -Remote Computing Service" is defined as the -provision to the public of
    computer storage or processing service by means of an electronic communication system     1
    U.S.C. § 2711(12)

18.6.4.3.4.2.2       O SUBSCRIBER INFORMATION

 (U/ Ou0)                                                                                            b7E


                                                                                              r
 A) (U//h U                                                                                          b7E
 B) (11//F U                                                                                         b7E
 C) (U/                                                                                              b7E


 D) (U//1"6e€41                                                                                      b7E

 E) (U/LkOUOj-                                                                                       b7E


 F)                                                                                                  b7E


 (UHF UOf                                                                                            b7E


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 (U4-F40.1.14                                                                                          b7E




18.6.4.3.4.2.3       (U) SECOND GENERA ZION CONNECTION RECORDS

 taI                                                                                                   b7E




 8.6.4.3.4.2.4      (U) RECORDS OR OTHER INFORMATION PERTAINING ID A SUBSCRIBER

 tuirpetie+                                                                                            b7E




18.6.4.3.4.2.5      (U) CONIENT

 (UHF U )Content is the actual substance of files stored in an account, including the
 subject line of an e-mail.
 A) (U) Unopened e-mail held in storage for 180 days or less may not he obtained using an
    administrative subpoena. A search warrant is required.
 B) (U) Unopened e-mail that has been held in electronic storage for more than 180 days may he
   obtained with an administrative subpoena. (In the Ninth Circuit, the opened c-mail and un-
   opened e-mail must have been in storage for 180 days before it can he obtained with an
    administrative subpoena. See Theofel v. Farey-Jones 359 F.3d 1066.) The government must
    provide notice to the subscriber or customer prior to obtaining such content. A limited
   exception to the notice requirement is provided in 18 U.S.C. § 2705.
 C) (U) E-mail that has been opened and the content of other electronically stored files held in
    storage by an entity that provides storage services to the public (i.e.. a remote computing
    service, as defined in 18 U.S.C. § 2711). may be obtained using an administrative subpoena
    with notice to the customer or subscriber, unless notice is delayed in accordance with 18
    U.S.C. § 2705.




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 D) (U) E-mail that has been opened and the content of other electronically stored files held in
   storage by an entity that does not provide electronic communication services to the public,
   such as that on the internal network of a business, may be obtained using an administrative
   subpoena. Notice to the individual is not required because this demand is not restricted by
    EC PA.
 (U) The FD-1035 administrative subpoena is not configured to obtain e-mail content
 because of developing case law in this area. This information may be obtained using an
 order issued under 18 U.S.C. § 2703(d). See DIOG Section 18.6.8.3.B.
         18.6.4.3.4.3 (U) MEMBERS OF TIIE NEWS MEDIA
 (U//F U ) Approval Requirements: An administrative subpoena directed to a provider
 of electronic communication services or any other entity seeking to obtain local and long
 distance connection records, or records of session times of calls, made by a member of
 the news media may only be issued with the specific approval of the Attorney General.
 Before proposing such a subpoena, an agent should review 28 C.F.R. § 50.10. Requests
 for AG approval must be made by the AUSA involved in the investigation consistent
 with the DOJ policies set forth in 28 C.F.R. § 50.10. Guidance on the DOJ policy may be
 obtained from the Investigative Law Unit and/or the Privacy and Civil Liberties Unit,
 OGC.
 (U) 28 C.F.R. § 50.10(b)(I)(ii) provides guidance on categories of individuals and
 entities not covered under the requirements set out above.
   18.6.4.3.5       (U) COMPLIANCE/MONITORING
         18.6.4.3.5.1 (U) LIMITS ON USE
 (U//Feblef                                                                                             b7E




         18.6.4.3.5.2 (U) OVERPRODUCTION
 (U//Febba) If any of the information that is obtained with an administrative subpoena is
 subject to statutory privacy protections (e.g., records subject to the Electronic
 Communications Privacy Act (ECPA), Right to Financial Privacy Act (RFPA), the Fair
 Credit Reporting Act (FCRA), Health Insurance Portability and Accountability Act
 (HIPAA), or the Buckley Amendment), it must be reviewed at the time it is received by
 the employee who requested the issuance of an administrative subpoena to ensure that the
 information received from the third party provider is within the scope of the request. Any
 information received from a third party provider that is beyond the scope of the
 administrative subpoena and is subject to statutory protections must be treated as an
 overproduction. If it is determined that the overproduced material is subject to statutory
 protection, then all of the produced material must be sequestered with the employee's
 supervisor and may not be electronically placed into any FBI database or used in the


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     investigation until one the following methods of disposition have been completed at the
     discretion of the field office or FBIHQ division that issued the administrative subpoena:
     A) (U) The employee redacts the overproduced material. The employee's supervisor must
        approve the scope of the redaction. If there is any question whether the information provided
        is within the scope of the administrative subpoena. the CDC or OGC must be consulted. The
        method of redaction is left to the discretion of the employee, but redacted information must
        not be visible, used in the investigation, or electronically placed into any FBI database. The
        method of redaction will vary depending on whether the information was provided in hard
        copy or electronically. After the overproduced information has been redacted, the remainder
        of properly produced information may be electronically placed into any database and used in
        the investigation;
     B] (I                                                                                                  b7E




     C (U) The records are returned to the entity that produced them; or
     D (U) The records are destroyed.
     (U) Whichever disposition is selected for the overproduction, it must be documented in
     the investigative SBP sub-file for administrative subpoenas.
     (U) Any questions concerning this process. including the review or disposition of the
     responsive records. or the statutes which cover such records, should be discussed with the
     CDC or OGC.
               18.6.4.3.5.3 (U) FACTORS FOR COMPLIANCE

                ) The following factors should be considered to ensure compliance with
     applicable laws and regulations that govern the FBI's use of administrative subpoenas:
     A) (U/1FOtlO) The administrative subpoena must relate to a type of investigation for which the
        subpoena is authorized;
     B) (U//F0448) The administrative subpoena must be directed to a recipient to whom an
        administrative subpoena is authorized;
     C) (11//renlet The administrative subpoena may request only records that are authorized under
        the pertinent law;
     D) (1.1//11SLY)) The administrative subpoena must be approved by an authorized official,
E)           (U/iruuu) The administrative subpoena must be electronically placed in           (using the
             SBP sub-file of the investigation for record purposes.)                                        b7E




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F)        (1.1/ttf0E444 The return of service information must he completed on the hack of the original
          administrative subpoena. Typed signature blocks do not affect current practices for
          coronletinn the return of service information. For electron ically served subpoenas,
                       satisfies the return of service" upon the review ofi                                  b7E
                                      'thus no paper copy is required. For non-electronically served
          subpoenas, users must col tplete the

                                                 'process to satisfy the return of service requirement.
          This copy of the subpoena must he placed in the SBP sub-file or uploaded as a 1 A to the
          case file, following your office practices;
G)        (U/4141E6) The original administrative subpoena and completed return of service must he
          maintained in a SBP sub-file of the investigation. Provided a copy of the approved
          subpoenacopy of the completed return of service are electronically placed to the case
          file            the SBP sub-file is not mandated. This only applies to those administrative        b7E
          subpoenas which are created through thel             'application; and
     H) (U//         If the records provided in response to the administrative subpoena are subject to
       statutory privacy protections, they must be eviewed to ensure that they are within the scope of
        the request (i.e., that there is no overproduction). If an over-production has occurred, the
        procedures outlined above must be followed.




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18.6.5       (U) INVESTIGATIVE METHOD: GRAND JURY             SUBPOENAS (COMPULSORY

             PROCESS)

  18.6.5.1       OVERVIEW OF COMPULSORY PROCESS43
 (I I/A1701 In                                                                                     b7E




  18.6.5.2       (U) APPLICATION

 (U) An FGJ is an independent panel charged with determining whether there is probable
 cause to believe one or more persons communed a particular federal offense. The FGJ makes
 its determination based on evidence presented by the prosecuting attorney in an ex parte
 proceeding. If the FGJ believes probable cause exists, it will vote to return a "true bill" and
 the person will be indicted. An indictment is the most typical way a person is charged with a
 felony in federal court. The FGJ operates under the direction and guidance of the United
 States District Court. Generally, only witnesses for the prosecution testify before the grand
 jury.
 (U) Only the United States Attorney or an AUSA, other DOJ attorneys prosecuting the matter,
 the witness under examination, an interpreter (as needed), and the stenographer or operator of
 a recording device may be present while the grand jury is in session. No judge is present
 during the presentation of evidence, although the court will sometime rule on evidentiary
 issues and will provide initial instructions to the FGJ. No person other than the grand jurors
 may be present while the FGJ is deliberating or voting.
  18.6.5.3       (U) LEGAL. AUTHORITIES

 (U) An  FGJ can collect evidence through the use of an FGJ subpoena. which is governed by
 Rule 6 of the FRCP. FRCP 6(e) controls the release of information obtained as part of the FGJ
 proceeding. FRCP 6(e) allows federal prosecutors to share foreign intelligence,
 counterintelligence, and terrorism-related threat information, and it is the DOJ's policy that
 such information must be shared to the fullest extent permissible by law and in a manner
 consistent with the rule. The Attorney General has issued revised guidance for the Disclosure
 and Use of Grand Jury Information under Rule 6(e)(3)(D) (hereinafter "1"GiGuidl;t1,e").


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18.6.5.4     (11) SCOPE
(WPM11) This      policy applies to all FBI employees engaged in a FGJ-related investigation
who have access to FGJ information defined as "matters occurring before the grand jury" and
are involved in operational activity. This includes FBI personnel such as task force officers
(TF0s), task force members (TFMs), and task force participants (TFPs) (see DIOG subsection
3.3.2), and other government agency (OGA) personnel detailed to the FBI. FGJ subpoenas
can be used to demand documents, records, testimony of witnesses, or any other evidence
deemed relevant by a sitting grand jury. The FBI can request the issuance of an FGJ subpoena
in coordination with the responsible USAO in all criminal investigative mailers.I             I   b7E




               FGJ subpoenas are part of the investigative process. Thus, when an individual is
indicted, further FGJ subpoenas may not be issued that are related to those offenses.
Additional FGJ subpoenas pertaining to this individual could be issued, however, only for
crimes which continue to be investigated and have not yet been indicted. FGJ subpoenas
cannot be used to gather evidence for trial; trial subpoenas must be used for that purpose (see
Rule 17 FRCP). See DIOG subsection 18.6.5.14 for guidance on the use of a FGJ subpoena in
fugitive investigations.
      18.6.5.4.1     (U) SCOPE OF FGJ POLICY ON ADMINISTRATIVE PERSONNEL

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(U          FBI employees who are preparing a response to a Freedom of Information Act or
Privacy Act request may properly access grand jury material because they are considered to
be assisting the grand jury attorney by ensuring against any improper disclosure.
18.6.5.5       (U) APPROVAL REQUIREMENTS

(U) There are no FBI supervisory approval requirements associated with issuing •
subpoena. but all FGJ subpoenas must be issued by the USAO that is handling th                     b7E
Assessment or Predicated Investigation to which the subpoenaed materials or witnesses are
relevant.
18.6.5.6       (U) DURATION OF APPROVAL
(U) FGJ subpoenas include a "return date," which is the date on which the subpoenaed
materials or testimony is due to the grand jury.
18.6.5.7       MEMBERS OF TILE NEWS MEDIA
      (U) Approval Requirements: A FGJ subpoena directed to a provider of electronic
      communication services or any other entity seeking to obtain local and long distance
      connection records, or for records of session times of calls, that were made by a member
      of the news media may only he issued with the specific approval of the Attorney General.
      Before proposing such a subpoena, an agent should review 28 C.F.R. § 50.10. Requests
      for AG approval must be made by the AUSA involved in the investigation consistent
      with the DOJ policies set forth in 28 C.F.R. § 50.10. and DOJ News Media Poli cy Memo.
      dated February 21, 2014, DOJ News Media Policy, and the D0,1 News Media Policy
      Memo.          1 ,99cirg 14, 2 015.

(U) 28 C.F.R. § 50.10(b)(1)(ii) provides guidance on categories of individuals and entities not
covered under the requirements set out above.
(U) Additional guidance on the DOJ policy may be obtained from the field office CDC, the
Investigative Law Unit and the Privacy and Civil Liberties Unit, OGC.
18.6.5.8       (U) NOTICE AND REPORTING REQUIREMENTS
(U) There is no FBI notice or reporting requirements for FGJ subpoenas.
18.6.5.9       (U) DEFINITION OF MATTERS OCCURRING BEFORE TILE GRAND JURY
(U)                                                                                                b7E




        18.6.5.9.1      (U) EXAMPLES OF MATTERS OCCURRING BEFORE THE GRAND JURY

(U) As a general rule, the following constitute matters occurring before the grand jury: (I) the
names of targets of the FGJ; (2) witnesses scheduled to be called by the FGJ; (3) the original
FGJ subpoenas with any and all attachments; (4) grand jury testimony (including any and all
transcripts of such testimony); and (5) documents that reveal the intentions or direction of the


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      18.6.5.9.2      (U)FEDERAL GRAND JURY PHYSICAL EVIDENCE AND STATEMENTS OF
                     WITNESSES

 (U) Physical evidence provided to the government in response to an FGJ subpoena is subject
to the secrecy rule regardless of whether such evidence is presented to the grand jury.
Physical evidence provided voluntarily or obtained by means other than grand jury process
(such as by consent or a search warrant) is not considered a matter occurring before the grand
jury regardless of whether such evidence was previously or is thereafter presented to the
grand jury. The fact that the physical evidence was presented to the Prand iury is however
subject to the grand jury secrecy rules                                                           b7E




 (U) Statements of witnesses obtained as a result of grand jury process including FGJ
subpoena. such as a statement given in lieu of grand jury testimony, are matters occurring
before the grand jury irrespective of whether such witnesses testified before the grand jury or
were not required to testify. Voluntary statements of witnesses made outside of the grand jury
context (not pursuant to any grand jury process including an FGJ grand jury subpoena),
including statements made outside the grand jury by a witness who is being prepared for
grand jury testimony, are not matters occurring before the grand jury irrespective of whether
the witness previously testified or will thereafter testify before the grand jury.




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       18.6.5.9.3     (U) DOCUMENTS CREATED INDEPENDENT OF GRAND JURY BUT
                      OBTAINED BY GRAND JURY SUBPOENA:

(U) As described earlier, Rule 6(e) generally prohibits disclosing matters occurring before the
grand jury. The rule, however, does not define that phrase. The issue of whether pre-existing
documents fall within that prohibition has never been settled conclusively by the Supreme
Court, although many lower courts have discussed it at. length. Courts generally agree that this
prohibition does not cover all information developed in the course of a grand jury
investigation; rather, the secrecy rule applies only to information that would reveal the
existence, strategy or direction of the grand jury investigation, the nature of the evidence
produced before the grand jury, the views expressed by members of the grand jury, or
anything else that actually occurred before the grand jury. In addition, many courts have held
that Rule 6(c) does not automatically protect third party documents from disclosure simply
because they were subpoenaed by the government. Those courts have focused on whether the
disclosure of the subpoenaed documents or their contents may tend to reveal the direction or
strategy of the grand jury's investigation. Due to developing law on this issue, FBI personnel
must consult with the AUSA responsible, and if appropriate, the CDC to determine how best
to handle such documents.
       18.6.5.9.4     (U/AFO.F.9) DATA EXTRACTED FROM RECORDS OBTAINED BY GRAND
                      JURY SUBPOENA:

(UHF U ) Information extracted from business records that were obtained by grand jury
subpoena is often used to facilitate investigations. Some of this type of data is. by statute or
case law, subject to grand jury secrecy rules. In other investigations, determination of whether
data must be considered subject to grand jury secrecy rules depends on the case law and local
practice in the federal district. Information extracted from grand jury subpoenaed financial
records subject to the Right to Financial Privacy Act of 1978 (12 U.S.C. § 3420) must be
treated as matters occurring before a federal grand jury "unless such record has been used in
the prosecution of a crime for which the grand jury issued an indictment or presentment or for
a purpose authorized by rule 6(e) of the Federal Rules of Criminal Procedure" (emphasis
added).
18.6.5.10     (U) RESTRICTIONS ON DISCLOSURE

(U) As a general rule, no one other than a grand jury witness may disclose matters occurring
before the grand jury. Government agents, even if called as witnesses, may not disclose
matters occurring before the grand jury. To determine if disclosure is permitted under certain
circumstances. or if the disclosure restrictions arc not applicable because the materials are not
matters occurring before the grand jury, see DIOG subsection 18.6.5.9, above, and relevant
subsections of 18.6.5.12 below.
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 18.6.5.11    (U) DISCLOSURES BY THE GOVERNMENT REQUIRING THE COURT'S
              PERMISSION

(U//F       ) The government, through its attorney, may disclose mailers occurring before the
grand jury under certain listed conditions and with permission of the court. Petitions to make
these disclosures are generally, but not always, filed with the court that impaneled the grand
jury. Unless the hearing on the government's petition is an ex parte hearing, the petition must
be served on all parties to the proceeding and the parties must be afforded a reasonable period
of time to respond.
  A)      (U) An attorney for the government may petition for disclosure to a foreign court or
          prosecutor for use in an official criminal investigation.
  B)      (U) An attorney for the government may petition for disclosure to a state, local, tribal, or
          foreign government official, if the government attorney can show that the matter may
          disclose a violation of state. tribal. or foreign criminal law, and the purpose of the disclosure
          is to enforce that law.
  C)       (U) An attorney for the government may petition for disclosure to an appropriate military
          official if the government attorney can show the matter may disclose a violation of military
          criminal law under the Uniform Code of Military Justice, and the purpose of the disclosure
          is to enforce that law.

       18.6.5.11.1      (U) DISCLOSURES BY THE GOVERNMENT NOT REQUIRING THE COURT'S
                       PERMISSION

(U//F      ) The government, through its attorney, may disclose matters occurring before the
grand jury without prior permission of the court under the following conditions:
  A)      (U) Under Rule 6(c)(3)(A), the government may disclose matters occurring before the
          federal grand jury to certain persons in certain situations provided the government does not
          disclose the grand jur's deliberations or any grand juror's vote and the government
          provides the court that impaneled the grand jury with the names of all persons to whom
          disclosure was made and certifies that the government has advised the receiving party of the
          obligation of secrecy under this rule, as set forth below in B - D.
  B)      (U) Also under Rule 6(e)(3)(A), persons eligible to receive matters occurring before the
          grand jury under this subsection arc: I) an attorney for the government for use in
          performing that attorney's duty; 2) any government personnel, including state, local. tribal.
          or foreign government personnel that an attorney for the government considers necessary to
          assist in performing that attorney's duty to enforce federal law; and 3) a person authorized
          under 18 U.S.C. § 3322.
  C)       (U) For Rule 6(e)(3)(A) purposes. OGC attorneys and CDCs are not "attorneys for the
          government." For purposes of the FRCP, it defines im-torney for the government as "the
          Attorney General, an authorized assistant of the Attorney General, a United States Attorney,
          land] an authorized assistant of the United States Attorney."




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  D)      (U) Rule 6(e)(3)(B) authorizes grand jury material to he used "to assist an attorney for the
          government in performing that attorney's duty to enforce federal criminal law." With the
          approval of the USAO, information from subpoenaed telephone records may be disclosed
          for use in unrelated federal criminal investigations in those districts where such material is
          not considered a matter occurring before a grand jury. if the USAO approves generally of
          this procedure, such information may be used in unrelated criminal investigations without
          authorization from a government attorney in each instance.
  E)      (U) Under Rule 6(e)(3)(c). an attorney for the government may disclose any matter
          occurring before the grand jury to another federal grand jury.
       18.6.5.11.2     (U) RULE 6(E) EXCEPTIONS PERMUTING DISCLOSURE OF FGJ
                       MATERIAL

(U) Rule 6(e) allows certain exceptions permitting disclosure of matters occurring before the
grand jury, which are discussed in the following sections. Rule 6(e)(3)(B) requires a federal
prosecutor who discloses grand jury material to government investigators and other persons
supporting the grand jury investigation to promptly provide the court that impaneled the grand
jury the names of the persons to whom such disclosure has been made and to certify that
he/she has advised such persons of their obligation of secrecy under the Rule. In order to
document the certification required by the Rule, government attorneys often execute and
deliver to the court a form, normally referred to as a "Certification" or "Rule 6(e) letter." A
copy of this document must be maintained with the grand jury material held in the FBI's
custody. The list of individuals authorized to access matters occurring before the grand jury,
referred to as the "6(e) list," is drawn from the Rule 6(e) letter. See also DIOG subsection
18.6.5.4.1 above for Rule 6(e) exceptions involving administrative personnel.
       18.6.5.11.3     (U) RULE 6(E)(3)(D) DISCLOSURE EXCEPTION FOR INTELLIGENCE OR
                       NATIONAL SECURITY PURPOSES

 (U) An attorney for the government may disclose any matter occurring before the grand jury
involving foreign intelligence, counterintelligence, or foreign intelligence information to any
federal law enforcement, intelligence, protective, immigration, national defense, or national
security official to assist the official receiving the information in the performance of that
official's duties. The government attorney must file, under seal, with the court that impaneled
the grand jury, a notice that such information was disclosed and the agencies or departments
that received the information. As used in Rule 6(e), foreign intelligence information is
information that relates to the ability of the United States to protect against actual or potential
attack or grave hostile acts by a foreign power or its agents; sabotage or international
terrorism by a foreign power or its agents or clandestine intelligence activities by an
intelligence service or network of a foreign power or its agents; or information with respect to
a foreign power or foreign territory that relates to the national defense or security of the
United States or the United States conduct of foreign affairs. An attorney for the government
may disclose any grand jury matter involving, either in the United States or elsewhere, a threat
of attack or other grave hostile acts of a foreign power or its agent, a threat of domestic or
international sabotage, or clandestine intelligence gathering activities by an intelligence
service or network of a foreign power or by its agent to any appropriate federal. state, local,
tribal, or foreign government official for the purpose of preventing or responding to such
threat or activities.


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(Uhl U ) FRCP 6(e)(3)(D) allows federal prosecutors to share foreign intelligence,
counterintelligence, and terrorism-related threat information, and it is the DOD's policy that
such information must he shared to the fullest extent permissible by law and in a manner
consistent with the rule. The Attorney General has issued FGJ practice guidelines for USA0s,
and the Guidelines For 1.1{a Di sc IIEC and Use orGrand Jury informalion Under Ride
taca(31(121, issued by the Deputy Attorney General on May 15, 2008, provides amplifying
guidance.
       18.6.5.11.4     (U) FI3I's CONDUIT RULE

(U//redo) Only the federal prosecutor is authorized to make an initial disclosure of Rule
6(e)(3)(D) foreign intelligence information. As a practical matter, such disclosures are
ordinarily accomplished through the FBI, which may have existing information-sharing
mechanisms with authorized receiving officials. If the prosecutor intends to share information
directly with another official, consultation with the FBI is required to ensure that disclosures
will be consistent with the existing policy of intelligence community agencies and to ensure
appropriate handling of sensitive or classified information                                                  b7E




(U//FOUO) If, in cases of emergency, the prosecutor must disclose information before
consulting with the FBI, the prosecutor must notify the FBI as soon as practicable.
       18.6.5.11.5     (U) OTHER STATUTORY DISCLOSURE RESTRICTIONS NOT AFFECTED

(U) Rule 6(e)(3)(D) does not eliminate certain other information protection requirements,
such as restrictions on disclosure of tax returns and tax information, on certain financial
information under the Right to Financial Privacy Act, and on classified information, to name
only a few examples. Specific statutes may impose additional burdens on disclosures.
       18.6.5.11.6     (U) RULE 6(E)(D) RECEIVING OFFICIAL RULES AND RESTRICTIONS

  A)       (U) An FBI employee may become a `receiving official," i.e.. the person to N\ hom matters
          occurring before the federal grand jury can he disclosed, if the FBI receives federal grand
          jury information developed during investigations conducted by other agencies. A receiving
          official is any federal, state, local, tribal. or foreign government official who receives grand
          jury information, disclosed by an attorney for the government. under any provision of Rule
          6(e)(3)(D). A receiving official may only use the disclosed material as necessary in the
          conduct of his/her official duties, and in a manner consistent with its sensitivity, FGJ
          guidelines, and any additional conditions placed on the use or handling of the information
          by the attorney for the government. The receiving official ordinarily must consult with the
          federal prosecutor before disseminating the information publicly. including in open court
          proceedings
  B)      (U//F U ) If dissemination is necessary to the performance of his or her official duties, a
          receiving official may disseminate Rule 6(e)(3)(D) information outside of that officials
          agency to other government officials.
  C)       (U) A receiving official, other than a foreign government official, must consult with the
          attorney for the government before disseminating Rule 6(e)(3)(D) information publicly
          (including through its use in a court proceeding that is open to or accessible to the public),
          unless prior dissemination is necessary to prevent harm to life or property. In such

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          instances, the receiving official must notify the attorney for the government of the
          dissemination as soon as practicable.
D)         (U) A foreign government receiving official must obtain prior consent from the disclosing
          official where possible, or if the disclosing official is unavailable, from the agency that
          disseminated the information to that foreign official before dissemination of the information
          to a third government or publicly. Public dissemination includes using the information in a
          court proceeding that is open to or accessible by the public.
E)         (U) A receiving official must take appropriate measures to restrict access to this
          information to individuals who require access for the performance of official duties.
F)         (U) A receiving official must immediately report to the disclosing attorney for the
          government: any unauthorized dissemination of Rule 6(e)(3)(D) information; or any loss,
          compromise, or suspected compromise of Rule 6(e)(3)(D) information.
G)         (U) Rule 6(e)(3)(D)(i) provides that receiving officials may use disclosed information only
          to conduct their -official duties subject to any limitation on the unauthorized disclosure of
          such information." This 'limitation on unauthorized disclosures" is understood to
          encompass applicable statutory, regulatory, and guideline restrictions regarding
          classification, privacy, or other information protection, as well as any additional restrictions
          imposed by the federal prosecutor.
H)        (U//l U ) The FGJ Guidelines do not require the receiving official to notify the federal
          prosecutor of subsequent disclosures, except for consultation concerning public disclosures
          and consent for certain disclosures by foreign officials. The receiving official is bound by
          whatever restrictions govern his or her use and disclosure of the information as part of his
          official duties. Of note, per Rule 6(e)(3)(D)(i i). if the FBI is included in the initial
          6(e)(3)(D) letter as an entity receiving disclosure, subsequent dissemination by the FBI is
          permitted and no additional permission or notification to the court is required. (Guidelines
            e the    selosere r, nd Usc of CrIP1Jca inCOrnm ti )1' '1'17'P        6i0C3AP.). issued by the
          Deputy Attorney General on May 15, 2008.
            18.6.5.11.6.1 (UHFOIA;)DOCUMENTATION OF INTERNAL DISCLOSURE OF
                           GRAND JURY MATERIAL

     (U) Grand jury material must be kept in such as fashion as to maintain the integrity of the
     material. Upon taking custody of grand jury material. the FBI employee must categorize
     it in a manner to identify its production source and how it was obtained, to include the
     identity of a custodian of record for documentary evidence. In lieu of a Rule 6(c) letter
     from the USAO containing an exhaustive list of names of FBI personnel, an FBI record
     of additional internal disclosures must be maintained by the case agent in order to
     establish accountability. Use of this "internal certification" procedure must be authorized
     by the appropriate USAO. The internal certification document (e.g. EC) must record the
     date of disclosure as well as the identity and position of the recipient. Such internal
     disclosures may be made only in support of the same investigation in which a federal
     prosecutor has previously issued a Rule 6(e) letter. In addition, the internal certification
     document must reflect that all recipients of matters occurring before the grand jury were
     advised of the secrecy requirements of Rule 6(e). Whenever practicable, recipients must
     be listed on this internal certification prior to disclosure. Local Rule 6(e) customs must
     govern the internal certification process used. See also DIOG subsection 18.6.5.4.1 above
     for Rule 6(e) exceptions involving administrative personnel.


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      18.6.5.11.7     (U) VIOLATIONS

 A)      (U) A receiving official who knowingly violates Rule 6(e)(3)(D) by using the disclosed
         information outside the conduct of his or her official duties. or by failing to adhere to any
         limitations on the dissemination of such information, may be subject to contempt of court
         proceedings and to restriction on future receipt of Rule 6(c)(3)(D) information.
 B)      (U) A state, local, tribal, or foreign government official who receives Rule 6(e)(3)(D)
         information, and who knowingly violates these guidelines, may be subject to contempt of
         court proceedings.
 C)      (U) An attorney for the government who knowingly violates Rule 6(e)(3)(D) may he subject
         to contempt of court proceedings.
18.6.5.12    (U) LIMITATION OF USE

 A)       (U) Rule 6(c)(3)(D) does not require notice to the court of subsequent dissemination of the
         information by receiving officials.
 B)       (U//1' U ) Disclosure of material considered matters occurring before the grand jury
         cannot he made within the FBI for unrelated investigations unless a government attorney
         has determined that such disclosure to a particular investigator is needed to assist that
         attorney in a specific criminal investigation. The ability of government attorneys to freely
         share grand jury material with other government attorneys for related or unrelated criminal
         investigations does not extend to investigators without investigation specific authorization
         from the government attorney and notice to the court. Therefore   .                              b7E




 C)      (lleeuOT TO> If a government attorney authorizes the disclosure of material considered
         matters occurring before the grand jury in the possession of the FBI for use in an unrelated
         federal criminal matter, such approval must be documented in the -G.1” sub-file of both the
         initiated investigation file and the subsequent investigation file. That documentation will he
         in addition to any necessary supplementation to the government attorney's Rule 6(e)
         disclosure letter and/or to the internal certification disclosure list.
 D)       (U/iteertNEY The USAO must be consulted immediately for precautionary instructions if
         material considered 'natters occurring before the grand jury will have application to civil
         law enforcement functions (e.g.. civil RICO or civil forfeiture). There are very limited
         exceptions that allow government attorneys to use grand jury material or information in
         civil matters (e.g.. civil penalty proceedings concerning banking law violations). These
         exceptions do not automatically apply to investigative personnel. Therefore, any similar use
         of FGJ information by the FBI must be approved in advance by the government attorney.
 E)       (IR/1'13P8) Disclosure cannot be made without a court order for use in non-criminal
         investigations, such as background investigations or name checks.
 F)       (U//Fe344€1+Government personnel who arc preparing a response to a Freedom of
         Information Act or Privacy Act request may properly access grand jury material under the
         Rule because they arc considered to be assisting the grand jury attorney by ensuring against
         any improper disclosure.
 G)       (U) Rule 6(c)(3)(B) requires a federal prosecutor who discloses material considered matters
         occurring before the grand jury to government investigators and other persons supporting
         the grand jury investigation to promptly provide the court that impaneled the grand jury the

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           names of the persons to whom such disclosure has been made and to certify that he/she has
           advised such persons of their obligation of secrecy under the Rule. In order to document the
           certification required by the Rule, government attorneys often execute and deliver to the
           court a form, normally referred to as a 'Certification' or -Rule 6(e) letter." A copy of this
           document must be maintained with the grand jury material held in the FBI's custody.
 18.6.5.13       (UMPOUS) MARKING, PHYSICAL STORAGE, AND MAILING OF GRAND JURY
                MATERIAL

 (U/AFSEE1) The FBI cannot make or allow unauthorized disclosure of matters occurring
before the grand jury. If material and records obtained pursuant to the FGJ process are stored
in FBI space,                                                                                                 b7E




process are frequently stored in FBI space. FBI employees must report any unauthorized
disclosure to the appropriate government attorney who, in turn, must notify the court. In order
to protect against unauthorized disclosure, grand jury material must he secured in the
following manner:
        I) (UHF U ) The page cover, envelope, or container holding grand jury materials or records
           that have been identified as a matter occurring before a grand jury" must be marked with
           the warning: "MATTERS OCCURING BEFORE THE FEDERAL GRAND JURY -
           DISSEMINATE ONLY PURSUANT TO RULE 6(e)." No grand jury stamp or mark
           should he affixed to the original material. Agents, analysts and other authorized parties
           should work from copies of such FGJ material whenever possible to ensure the original
           material retains its integrity




       2      (U//FOUO) Access to                                                                   must
             he limited to authorized persons (e.g., those assisting an attorney tor the government in a
             specific criminal investigation). All necessary precautions must be taken to protec
                                                                     to include maintaining the material in
             a secure location when not in use. The material must he appropriately segregated, 'ecured,
             safeguarded and placed in the investigative GJ sub-file)

             segregate and restrict access to the material_ or it can be entered in

                       is entered into a computer database, the data must he marked with the 6(e)
             warning and                  restricted within the system.
       3) (U//buuu) Registered mail or other traceable courier (such as Federal Express) approved
          by the Chief Security Officer (CSO) must be used to mail or transmit to other field offices


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          any documents containing grand jury material. Couriers and other personnel employed in
          these services will not he aware of the contents of the material transmitted because of the
          wrapping procedures specified below, and therefore, do not require a background
          investigation for this purpose. The names of persons who transport the material need not he
          placed on a 6(e) disclosure list.
      4) (U8P27171) Material considered matters occurring before the grand jury that is to he
         mailed or transmitted by traceable courier outside a facility must be enclosed in opaque
         inner and outer covers. The inner cover must he a sealed wrapper or envelope that contains
         the addresses of the sender and the addressee, who must he authorized to have access to the
         grand jury material. The inner cover must be conspicuously marked "Grand Jury
         Information To Be Opened By Addressee Only." The outer cover must he sealed,
         addressed, return addressed, and bear no indication that the envelope contains grand jury
         material. When the size, weight. or nature of the grand jury material precludes the use of
         envelopes or standard packaging, the material used for packaging or covering must he of
         sufficient strength and durability to protect the information from unauthorized disclosure or
         accidental exposure.
      5) (U/         If the government attorney determines that the sensitivity of, or threats to.
         such grand jury material necessitates a more secure transmission method, the material may
         he transmitted by an express mail service approved for the transmission of national security
         information or be hand carried by the assigned government attorney or his or her
         designated representative.
      6) (U//111,11111) Material considered matters occurring before the grand jury containing
         classified national security information must he handled. processed. and stored according
         to 28 C.F.R. Part 17. Such FGJ material containing other types of sensitive information.
         such as federal tax return information, witness security information, and other types of
         highly sensitive information that have more stringent security requirements than that
         usually required for matters occurring before the grand jury must be stored and protected
         pursuant to the security regulations governing such information and any special
         dissemination requirements provided by the organization that originated the information.
     18.6.5.13.1      (11/IFOUP) PHYSICAL STORAGE OF FGJ MATERIAL

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      18.6.5.13.2     (UNFEWS) ELECTRONIC STORAGE OF FGJ MATERIAL

(U//F U ) If information identified as matters occurring before the grand jury is entered into
a computer database, the data must be marked with the 6(e) warning and access must be
restricted within the systeni                                                                       b7E



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       18.6.5.13.3    (UMPOD7:7) HANDLING AND STORAGE OF FGJ MATERIAL AFTER THE
                      CLOSURE OF A CASE

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       18.6.5.13.4    (U//fOriti)DELETION OF ELECTRONICALLY STORED MATERIAL
                      IDENTIFIED AS MATTERS OCCURRING BEFORE THE GRAND JURY

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       18.6.5.13.5    (U//F-61,8) FGJ MATERIAL CONTAINING CLASSIFIED OR OTHER
                      SENSITIVE INFORMATION:
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 18.6.5.14    (U) REQUESTS FOR FGJ SUBPOENAS IN FUGITIVE INVESTIGATIONS
(U/     u The function of the grand jury is to decide whether a person should be charged
with a federal crime. Locating a person who has been charged is a task that is ancillary to,
rather than a part of. that function. As such, grand jury subpoenas cannot be used as an
investigative aid in the search for a fugitive in whose testimony the grand jury has no interest.
Absent one of the exceptions discussed below being applicable, grand jury subpoenas for
testimony or records related to a fugitive's whereabouts may not be requested in FBI fugitive
investigations.
(U//F U ) If the grand jury has a legitimate interest in the testimony of a fugitive regarding
another federal ongoing investigation, it may subpoena other witnesses and records in an
effort to locate the fugitive. In this situation, the responsible Assistant Attorney General must
approve a "target" subpoena for the fugitive before the grand jury may subpoena witnesses
and records to locate the fugitive.
(U//ree When a fugitive's present location is relevant to an offense under investigation,
the grand jury may legitimately inquire as to the fugitive's whereabouts. Offenses such as
harboring, misprision of a felony, and accessory after the fact are examples of crimes as to
which the fugitive's location may be relevant evidence. If, however, the person who is
suspected of harboring the fugitive or being an accessory after the fact has been immunized
and compelled to testify regarding the location of the fugitive. this will likely be viewed as
improper subterfuge.
(U//f141810.)-DOJ policy generally forbids the use of grand jury subpoenas to locate a
defendant charged in a federal criminal complaint with unlawful flight to avoid prosecution

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(UFAP). UFAP investigations are, as a general rule. not prosecuted. Use of the grand jury in
the investigation of a UFAP matter requires prior consultation with DOJ and written
authorization to prosecute from the Assistant Attorney General in charge of the Criminal
Division. Federal indictments for UFAP require prior written approval of the Attorney
General, Deputy Attorney General, or an Assistant Attorney General.
 18.6.5.15    (U) FGJ OVERPRODUCTION
(U) If any of the information received in response to an FGJ subpoena is subject to statutory
privacy protections (e.g., records subject to the Electronic Communications Privacy Act
(ECPA), Right to Financial Privacy Act (RFPA), the Fair Credit Reporting Act (FCRA),
Health Insurance Portability and Accountability Act (HIPAA), or the Buckley Amendment). it
must be reviewed at the time it is received by the employee who requested the issuance of the
FGJ subpoena to ensure that the information received is within the scope of the subpoena's
demand. Any information received from a third party provider that is beyond the scope of the
FGJ subpoena and is subject to statutory protections must be treated as an overproduction.
Overproduced material must not be electronically placed into any FBI application, database or
used in any manner. Instead, the FBI employee must promptly notify the AUSA who
authorized the issuance of the FGJ subpoena of the potential overproduction. The AUSA, in
coordination with the FBI employee, must determine whether the information exceeds the
scope of the FGJ subpoena. and if so, how to dispose of the overproduced material The
method of disposition for the overproduction must be documented in the investigation's
                                                                                         ■

 18.6.5.16    (U) FGJ MATERIAL. COMPLIANCE AND MONITORING
(U//F U )                                                                                     of
every field office must designate'                                                   o be
responsible for overseeing the FBI's compliance on handling, storage and labeling of FGJ
material meeting the definition of matters occurring before the federal grand jury. As part of
these duties, the designee must review the field office practices for handling, storage and
labeling such material at least once per fiscal year. This review must encompass the policy
standards set out in this section and along with any local "standing" judicial requirements. The
results of the review(s) must be reported to the field office Division Compliance Council
(DCO and throuah the DCC to the Office of Integrity and Compliance using file number
                                                 The field office may set its own unique            b7E
inaugural fiscal year review date and use that date thereafter as its basis for the annual review
period.
(UHF U ) All field office specific local "standing" judicial guidance must be made available
to employees assigned to that office.




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18.6.6      (U) INVESTIGATIVE METHOD: NATIONAL SECURITY LETTER
            (COMPULSORY PROCESS)

 18.6.6.1       (U) OVERVIEW OF COMPULSORY PROCESS
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 (U/if-e;€41                                                                                              b7E



 18.6.6.2       (U) APPLICATION

 (UilrOLO) NSLs may be used in a national security Predicated Investigation. This method
 may not he used for assistance to other government agencies, unless the information sought is
 relevant to an open FBI Predicated Investigation.
 18.6.6.3       (U) NATIONAL. SECURITY LETTERS

         18.6.6.3.1      (U) LEGAL AUTHORITY

   A)        (U) 12 U.S.C. § 3414(a)(5)(A);
   B)        (U) 15 U.S.C. §§ 1681u and 1681v;
  C)         (U) 18 U.S.C. § 2709;
   D)        (U) 50 U.S.C. § 3162;
   E)        (U) AGG-Dom. Part V; and
   F)        (U) An NSL may be used only to request:
          I) (U) Financial Records: The Right to Financial PliVaCV Act (RFPAL 12 U.S.C. §
             3414(x)(5);
          2) (U) Identity of Financial Institutions: Fair    Rciporting Act (FCRAi, 15 U.S.C. §
             1681u(a);
         3) (U) Consumer Identifying Information: FCRA, 15 U.S.C. § 1681u(b);
         4) (U) Full Credit Reports in International Terrorism Investigations: FCRA, 15 U.S.C. §
            1681v; and
          5) (U) Telephone Subscriber Information, Toll Billing Records. Electronic Communication
             Subscriber Information, and Electronic Communication Transactional Records: Electronic
                              Privacy Act (ECPA1. 18 U.S.C. § 2709.


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       18.6.6.3.2     (U) DEFINITION OF METHOD

(U) An NSL is an administrative demand for documents or records that are relevant to a
Predicated Investigation to protect against international terrorism or clandestine intelligence
activities                                                                                            b7E

       18.6.6.3.3     (U)APPROVAL REQUIREMENTS

(UHF U ) Those who approve NSLs are responsible for ensuring the investigative and
procedural requirements have been met. They must certify that the information sought by the
NSL is relevant to an open, predicated national security investigation. For an NSL to include a
nondisclosure provision. the approver must determine that disclosure of the NSL may
endanger the national security of the United States; interfere with a criminal.
counterterrorism, or counterintelligence investigation; interfere with diplomatic relations; or
endanger the life or physical safety of any person. Those who approve NSLs, as well as those
designated as acting officials who will approve NSLs, must have completed the Virtual
Academy course on NSLs, reviewed DIOG Section 18.6.6. (National Security Letter), and if
appropriate, received NSL training from the CDC/ADC or a National Security Law Branch
(NSLB) attorney prior to approving NSLs.
(U//F U ) The process for creating an NSL involves two documents: the NSL itself and the
EC approving the issuance of the NSL. The Director has delegated the authority to sign NSLs
to the Deputy Director. Executive Assistant Director, and Associate EAD for the National
Security Branch; Assistant Directors and all DADs for the Countertermism,
Counterintelligence, and Cyber Divisions, and the Weapons of Mass Destruction Directorate;
General Counsel; Deputy General Counsel for the National Security Law Branch; Assistant
Directors in Charge in New York. Washington, DC. and Los Angeles; and all SACs in all
field offices. See EC 333-HQ-A1487720 Serial 515 (May 15, 2012). No other delegations are
permitted]


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(UHF U ) In addition to being signed by a statutorily required approver, an NSL must be
approved by a CDC, ADC (or attorney acting in that capacity), or an NSLB attorney.
       18.6.6.3.4     (U) STANDARDS FOR ISSUING NSLs
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       18.6.63.5    (U) SPECIAL PROCEDURES FOR REQUESTING COMMUNICATION
                    SUBSCRIBER INFORMATION

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(Uilfeee                                                                the employee should     b7E
consider whether an NSL is the least intrusive and reasonable me ns based upon the
circumstances of the investiaation to obtain the information"




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       18.6.6.3.6       (U)DURATION OF APPROVAL

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       18.6.6.3.7       (U) SPECIFIC PROCEDURES FOR CREATING NSLs

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  F)      (UKFT:the.)




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               18.6 6.3.7.1 RO COVER EC APPROVING AN NSL

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L)         (u/i.pea.91                                                                    b7E


      (U//F U ) This list is not exhaustive.                                              b7E


             18.6.6.3.7.2 (U) COPY of THE NSL AND RELATED DOCUMENT S IN THE
                            INVESTIGATIVE FILE

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      (UKFHtte                                                                            b7E




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                      (U) COMMUNITY OF INTEREST INFORMATION
  (U/(&1                                                                                         b7E




         18.6.6.3.7.4 (U) CONTACT WITH MEMBERS OF THE NEWS MEDIA BY A                            b7E


  (U/frou uJI                                                                                    b7E




         18.6.6.3.7.5 (U) EMERGENCY CIRCUMSTANCES

  (U/ffr6i339§-ECPA protects subscriber or communications transactional information from
  disclosure by providers of electronic communication services. Generally, an NSL, grand
  jury subpoena. or another form of legal process must be used to compel a communication
  service provider to disclose subscriber or transactional information. In emergency
  circumstances, however, the provider may voluntarily disclose information to the FBI if
  the provider, in good faith, believes that an emergency involving danger of death or
  serious physical injury to any person exists and requires disclosure without delay. As a
  matter of FBI policy, when there is a danger of death or serious physical injury that does
  not permit the proper processing of an NSL, an administrative subpoena (if permissible),
  or a grand jury subpoena, then a letter to the provider citing 18 U.S.C. § 2702 may be
  used to request emergency disclosure, if approved by a SAC. ASAC, or FBIHQ Section
  Chief. If time does not permit the issuance of an emergency letter that cites 18 U.S.C. §
  2702, then an oral request to the provider may be made, but the oral request must be
  followed-up with a letter to the provider. In either situation, an         Form. which         b7E
  automatically generates the letter, must be completed.
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       18.6.6.3.8    (U) NOTICE AND REPORTING REQUIREMENTS
U/          ) NSLB compiles NSL statistics for reporting to Congress. The NSL subsystem
             automatically records the information needed for Congressional reporting. If the        b7E
NSL is created outside the subsystem, then the NSL's cover EC must include the information
necessary for NSLB to report NSL statistics accurately, i.e., delineate the number of targeted
facilities/accounts in each NSL issued to an NSL recipient.
(U/Pretiej NSLB also reports to Congress the USPER status of the target (as opposed to the
subject of the investigation) of all NSLs, other than NSLs that seek only subscriber
information. While the subject of the investigation is often the target of the NSL, that is not
always the case. The EC must record the USPER status of the target of the NSL—the person
whose information the FBI is seeking. If the NSL is seeking information about more than one
person, the EC must record the USPER status of each person.
       18.6.6.3.9     (U) RECEIPT OF NSL INFORMATION, REVIEW FOR OVERPRODUCTION,
                      ANI) RELEASING THE INFORMATION

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       18.610.10    (U) OVERPRODUCTION
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      18.6.6.3.11      (U) RETENTION OF NSL INFORMATION

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      18.6.6.3.12      (U) SERVICE AM) RETURNS Of NSLs
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              18.6.6.3.12.1   (U/TFOtte) ELECTRONIC SERVICE AM) RETURN
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             18.6.6.3.12.2   Wilfeiiei-RERSONAL SERVICE AND RETURN
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            18.6.6.3.12.3 (U/AFEWS) RESTRICTED MAIL SERVICE AND RETURN

    (U//Feb8                                                                                       b7E




            18.6.6.3.12.4 (UHFOU0) FAX SERVICE AND RETURN

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    B) (UHF U                                                                                      b7E


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    (U//Fr6b4);                                                                                    b7E


            18.6.6.3.12.5 (U//FOUO) COMBINATION SERVICE AND RETURN

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      18.6.6.3.13     (U) DISSEMINATION OF NSL INFORMATION

(U ITRICPti) Subject to certain statutory limitations, information obtained in response to an
NSL may be disseminated according to general dissemination standards in the AGG-Dom.
The Electronic Communications Privacy Act (ECPA) (telephone and electronic
communications transactional records) and the Right to Financial Privacy Act (RFPA)
(financial records) permit dissemination if consistent with the AGG-Dom and the information
is clearly relevant to the responsibilities of the recipient agency. The Fair Credit Reporting
Act (FCRA) permits dissemination of the identity of financial institutions and consumer
identifying information to other federal agencies as may be necessary for the approval or


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conduct of a foreign counterintelligence investigation. FCRA imposes no special rules for
dissemination of full credit reports.
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NSL nor the return information is classified,




      18.6.6.3.14    (U) SPECIAL PROCEDURES FOR HANDLING RIGHT TO FINANCIAL
                     PRIVACY ACT INFORMATION AND OTHER INFORMATION

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      18.6.6.3.15     (U) PAYMENT FOR NSL-DERIVED INFORMATION
(U//f U ) No legal obligation exists for the FBI to compensate recipients of NSLs issued
pursuant to ECPA (telephone and electronic communications transactional records) or FCRA,
15 U.S.C. § 1681v (full credit reports in international terrorism investigations), and therefore
no payment should be made in connection with those NSLs. See EC 3I9X-HQ-A1487720-
OGC, serial 222, for a form letter to be sent in response to demands for payment concerning
these NSLs.
(Uh'F-438Q) Compensation for responding to NSLs issued pursuant to RFPA (financial
records) and FCRA § 1681u (identity of financial institutions and consumer identifying
information) is covered by a lee schedule adopted under DOrs Cost Reimbursement
Guidance under the ECPA.
      18.6.6.3.16     (U) JUDICIAL REVIEW OF NSLs
(ullnT Tn) All NSLs should include the necessary legal notices. Specifically. an NSL issued
by the FBI must inform the recipient of the right to judicial review of the NSL pursuant to 18
U.S.C. § 3511(a). See Doe v. Mukasey. 549 F.3d 861 (2d Cir. 2008). An NSL issued by the
FBI must also inform the recipient of the right to judicial review of any nondisclosure
requirement imposed in connection with the NSL. See. e.g. 18 U.S.C. § 2709W). An NSL
must specifically advise that. if the recipient wishes to have a court review a nondisclosure
requirement imposed in connection with an NSL, the reci ient ma notify the Government,
which must then initiate judicial review proceedings                     if it wants to maintain    b7E
nondisclosure of the NSL. If the FBI determines that non Ise osure continues to be necessary
(see below paragraph for statutory standard for nondisclosure), the Government must
demonstrate to a federal judge the need for continued nondisclosure and obtain a judicial
order requiring such nondisclosure. The nondisclosure requirement will remain in effect
unless and until there is a final court order holding that disclosure is permitted.
(U//falia) In any judicial review proceeding regarding a nondisclosure requirement in
connection with an NSL. the Government will bear the burden of persuading the district court
that there is good reason to believe that disclosure may result in at least one of the enumerated
harms set forth in the NSL statues, e.g.. 18 U.S.C. § 2709(c), which are: a danger to the
national security of the United States; interference with a criminal. countertenprism. or

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counterintelligence investigation; interference with diplomatic relations; or danger to the life
or physical safety of any person. that is related to an authorized investigation to protect
against international terrorism or clandestine intelligence activities. Accordingly, the field
office or FBIHQ Division that issued the NSL, in conjunction with OGC, must coordinate
with DOJ and the United States Attorney's Office to ensure that the FBI's certification is
sufficient to meet the FBI's burden of proof.
       18.6.6.3.17    (U) REVIEW OF NONDISCLOSURE REQUIREMENT IN NSLs

(U//Pert+13) The USA FREEDOM Act of 2015 requires the FBI to review at certain intervals
during the investigation all National Security Letters (NSL) that included a nondisclosure
requirement pursuant to procedures adopted by the Attorney General. Pursuant to the Attorney
General Termination Procedures,fOr National Security Letter Nondisclosure Requirement
(Procedures), issued November 24, 2015, the review is to determine whether the
nondisclosure requirement in an NSL should continue or be terminated. Under these
Procedures, the nondisclosure requirement of an NSL shall terminate upon the closing of any
investigation in which an NSL containing a nondisclosure provision was issued except where
the FBI makes a determination that one of the exisiting statutory standards for nondisclosure
is satisfied. Pursuant to the Procedures, starting February 21, 2016, when (i) an open
invests alive file reaches its third-year anniversary                                               b7E
                and (ii) an investigative file is closed, an NSL nondisclosure review must occur.
If an investigation is closed before its third-year niversary, then the NSL nondisclosure
review will occur once, that is, when the investigation closes. There are no NSL nondisclosure
reviews beyond the third-year anniversary and/or when the investigative file is closed.
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18.6.7      (U) INVESTIGATIVE METHOD: FISA ORDER FOR BUSINESS RECORDS
            (COMPULSORY PROCESS)

 18.6.7.1       (U) OVERVIEW OF COMPULSORY PROCESS

 (UHF U                                                                                              b7E




                                                                                                     b7E


 18.6.7.2       (U) APPLICATION

 (U//FE/144;) FISA Business Records Orders may be used during authorized national secur y
 investigations'                                                                                     b7E
                                                  'When collecting positive foreign
 intelligence, if the subject is a non-USPER, a request for business records pursuant to 50
 U.S.C. §§ 1861-63 is lawful.
 18.6.7.3       (U) BUSINESS RECORDS UNDER FISA

         18.6.7.3.1    (U)LEGAL AUTHORITY

 (U) 50 U.S.C. §§ 1861-63
         18.6.7.3.2    (U) DEFINITION OF METHOD

 (U) A FISA order for business records, is an order for a third party to produce                     b7E

         relevant to an authorized national security investigation.




 (U)                                                                                                 b7E




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      18.6.7.3.3     (IP APPROVAL REQUIREMENTS

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                                                                                                      b7E




      18.6.7.3.4     (U) DURATION OF COURT APPROVAL

(U) Authority fora FISA business records order is established by court order.
      18.6.7.3.5     (U) NOTICE AND REPORTING REQUIREMENTS

(U) There are no special notice or reporting requirements.
      18.6.7.3.6     (U) COMPLIANCE REQUIREMENTS

(U) The employee who receives material produced in response to a FISA business records
order must do the following:
    A) (UHF U ) Handle the material as required by the Standard Minimization Procedures
       Adorned for Business Records Orders andl                                                       b7E



      18.6.7.3.7     (II) SEE THE CURRENT CLASSIFIED FISA BUSINESS RECORDS STANDARD
                     MINIMIZATION PROCEDURES:

              18.6.7.3.7.1 (U) FISA OVERCOLLECTION

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18.6.8      (U) INVESTIGATIVE METHOD: STORED WIRE OR ELECTRONIC
            COMMUNICATIONS AND TRANSACTIONAL RECORDS

 18.6.8.1       (U) ST NINIARY

 (U//F19‘40) FBI employees may acquire the contents of stored wire or electronic
 communications and associated transactional recordsincluding basic subscriber
 information—as provided in 18 U.S.C. §§ 2701-2712 (Electronic Communications Privacy
 Act (ECPA)). Requests for voluntary disclosure under the emergency authority of 18 U.S.C. §
 2702 require prior approval from the field office ASAC or FBIHQ Section Chief when
 appropriate.
 (U//fetlE0 All requests for information from electronic communication service providers
 (e.g., telephone companies, internet service providers) pertaining to a subscriber or customer
 must comply with ECPA. As used in ECPA, the term "information pertaining to a subscriber
 or customer" should be read broadly. It includes, for example, information regarding whether
 a particular individual has an account with a covered provider. Thus, unless done in
 accordance with ECPA, an FBI employee may not ask a telephone company or internet
 service provider whether John Smith has an account with the company (i.e., the FBI employee
 may not informally seek information that is statutorily protected prior to the issuance of
 appropriate process or the existence of an exception to ECPA). In addition, based on a
 November 5, 2008 interpretation of ECPA from the Office of Legal Counsel, the FBI may not
 ask a telephone company whether a given telephone number that the company services has
 been assigned to an individual. In short, in order to obtain any information specific to the
 subscriber from a telephone company or electronic communication service provider, the FBI
 must provide legal process pursuant to 18 U.S.C. §§ 2703 or 2709 or the request must fall
 within the limited exceptions established in 18 U.S.C. § 2702, and discussed below.
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 18.6.8.2       (U) APPLICATION
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         18.6.8.2.1    (U) STORED DATA

 (U)  The Electronic Communications Privacy Act (ECPA)-18 U.S.C. §§ 2701-2712—
 governs the disclosure of two broad categories of information: (i) the contents of wire or
 electronic communications held in "electronic storage" by providers of "electronic
 communication service" or contents held by those who provide "remote computing service"
 to the public; and (ii) records or other information pertaining to a subscriber to or customer of

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such services. The category of "records or other information" can be subdivided further into
subscriber records (listed in 18 U.S.C. § 2703(c)(2)) and stored traffic data or other records.
(U) Records covered by ECPA include all records that are related to the subscriber, including
buddy lists, "friend" lists (MySpace), and virtual property owned (Second Life). These other
sorts of records are not subscriber records and cannot he obtained with a subpoena under 18
U.S.C. § 2703(c)(2) or an NSL under 18 U.S.C. § 2709.
      18.6.8.2.2      (U) LEGAL PROCESS

(U) The legal process for obtaining disclosure will vary depending on the type of information
sought and whether the information is being voluntarily provided under 18 U.S.C. § 2702
(e.g., with consent or when emergency circumstances require disclosure) or the provider is
being compelled to provide the information under 18 U.S.C. § 2703, as outlined below. The
process for compelling production under 18 U.S.C. § 2709 is discussed in the NSL section
above.
      18.6.8.2.3      (U) RETRIEVAL

(U) Contents held in "electronic storage" by a provider of "electronic communication service"
for 180 days or less can only he obtained with a search warrant based on probable cause.
Accordingly, such records may only be obtained during a Full Investigation.
(U) Contents held by those who provide remote computing service" to the public and
contents held in "electronic storage" for more than 180 days by an "electronic communication
service" provider can be obtained with: a warrant; a subpoena with prior notice to the
subscriber or customer; or an order issued by a court under 18 U.S.C. § 2703(d) when prior
notice has been provided to the customer or subscriber (unless the court has authorized
delayed notice).
(U) Title 18 U.S.C. § 2705 establishes the standard to delay notice for an initial period of up
to 90 days. Records or other information pertaining to a subscriber to or customer of such
services, including basic subscriber information, can be obtained with a search warrant or an
18 U.S.C. § 2703(d) order without notice.
      18.6.8.2.4      (U) BASIC SUBSCRIBER INFORMATION

(U) Basic subscriber information, as described in 18 U.S.C. § 2703(c)(2), can he compelled
by a grand jury or administrative subpoena without notice.
      18.6.8.2.5      (U) PRESERVATION OF STORED DATA

(U) The government is authorized under 18 U.S.C. § 2703(0 to direct a provider to preserve
records or other information (stored records or communications) in its possession for 90 days
(which may be extended for an additional 90-days) pending issuance of applicable legal
process for disclosure. To make a preservation request. the FBI must believe that the records
will subsequently be sought by appropriate legal process.
      18.6.8.2.6      (U) COST REIMBURSEMENT

(U) 18 U.S.C. § 2706 requires the government to reimburse for costs incurred in providing the
contents of communications. records, or other information obtained under 18 U.S.C. §§ 2701
2701 or 2704, except that reimbursement is not required for records or other information

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maintained by a communications common carrier that relate to telephone toll records and
telephone listings obtained under 18 U.S.C. § 2703. In essence. the government does not have
to reimburse for the cost of producing records that the provider maintains in the ordinary
course of its business.
18.6.8.3       (U) LECAL AUTHORITY

(U) 18 U.S.C. §§ 2701-2712
(U) AGG-Dom, Part V.9
(U) ECPA-18 U.S.C. §§ 2701-2712— creates statutory privacy rights for the contents of
communications in "electronic storage" and records or other information pertaining to a
subscriber to or customer of an "electronic communication service" and a "remote computing
service." The statutory protections protect the privacy of an individual's electronic data
contained in a networked account—that may otherwise fall outside the scope of the
protections afforded by the Fourth Amendment—when such account or its service is owned or
managed by a third-party provider.
(U) ECPA generally: (i) prohibits access to the contents of wire or electronic communications
while in "electronic storage" unless authorized (18 U.S.C. § 2701); (ii) prohibits a provider of
service to the public from disclosing the contents of wire or electronic communications while
held in "electronic storage," and prohibits divulging to the government any information
pertaining to a subscriber to or customer of such service unless authorized (18 U.S.C. § 2702);
and (iii) authorizes the government to compel disclosure from a provider of stored contents of
a wire or electronic communication and records or other information pertaining to a
subscriber to or customer ( 18 U.S.C. § 2703). ECPA provides for reimbursement of costs
incurred in providing the information acquired.
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(U)


18.6.8.4       (U) ECPA DISCLOSURES

(U) ECPA authorities can be divided into two categories: (i) compelled disclosure—legal
process to compel providers to disclose the contents of stored wire or electronic
communications (including e-mail and voice mail—opened and unopened) and other
information, such as account records and basic subscriber information; and (ii) voluntary
disclosure of such information from service providers. Each of these authorities is discussed
below.
        18.6.8.4.1     (U)DEFINITIONS

      A) (U) Electronic Storage: is "any temporary, intermediate storage of a wire or electronic
         communication incidental to the electronic transmission thereof." or "any storage of such
         communication by an electronic communication service for purposes of hookup protection of
         such communication." 18 U.S.C. § 2510(17). In short, "electronic storage refers only to
         temporary storage. made in the course of transmission, by a provider of an electronic
         communication service.
      B) (U) Remote Computing Service (RCS): is a service that provides to the public" computer
         storage or processing services by means of an electronic communications system. 18 U.S.C. §


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         271 1(2). In essence, a remote computing service is an off-site computer that stores or
         processes data for a customer.
      C) (U) Electronic Communications System: is "any wire, radio. electromagnetic, photo optical
         or photo electronic facilities for the transmission of wire or electronic communications, and
         any computer facilities or related electronic equipment for the electronic storage of such
         communications." 18 U.S.C. § 2510(14).
      D) (U) Electronic Communication Service (ECS): is "any service that provides to users thereof
         the ability to send or receive wire or electronic communications." 18 U.S.C. § 2510(15). For
         example, telephone companies and electronic mail companies generally act as providers of
         electronic communication services.

        18.6.8.4.2      (U) COMPELLED DISCLOSURE

(U) 18 U.S.C. § 2703 lists live types of legal process that the government can use to compel a
provider to disclose certain kinds of information. The five mechanisms, in descending order
of required threshold showing are as follows:
      A) (U) Search warrant;
      B) (U) 18 U.S.C. § 2703(d) court order with prior notice to the subscriber or customer;
      C) (U) 18 U.S.C. § 2703(d) court order without prior notice to the subscriber or customer;
      D) (U) Subpoena with prior notice to the subscriber or customer; and
      E) (U) Subpoena without prior notice to the subscriber or customer.
(U)                                                                                                              b7E




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              18.6.8.4.2.1 (UHFOUG) COMPELLED DISCLOSURE REGARDING MEMBERS OF
                            THE NEWS MEDIA

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  (U) 28 C.F.R. § 50.10(b)(I)(ii) provides guidance on categories of individuals and
  entities not covered by, and therefore not entitled to the protections of the DOJ policy set
  out above.
          18.6.8.4.2.2 (Ulltserttr) NOTICE—ORDERS NOT TO DISCLOSE THE EXISTENCE
                        OF A WARRANT, SUBPOENA, OR COURT ORDER

  (UHF U ) FBI employees may obtain a court order directing network service providers
  not to disclose the existence of compelled process if the government has no legal duty to
  notify the customer or subscriber of the process. If an 18 U.S.C. § 2703W) order or 18
  U.S.C. § 2703(a) warrant is being used, a request for a non-disclosure order can be
  included in the application and proposed order or warrant. Ira subpoena is being used to
  obtain the information, a separate application to a court for a non-disclosure order must
  be made.
          18.6.8.4.2.3 (U) LEGAL STANDARD

  (U//-FeetY) A court may order an electronic communications service provider or remote
  computing service not to disclose the existence or a warrant, subpoena, or court order for
  such period as the court deems appropriate. The court must enter such an order if it
  determines that there is reason to believe that notification of the existence of the warrant,
  subpoena. or court order will result in:
  A) (U) Endangering the life or physical safety of an individual;
  B) (U) Flight from prosecution;
  C) (U) Destruction of or tampering    ith evidence;
  D) (U) Intimidation of potential witnesses; or
  E) (U) Otherwise seriously jeopardizing an investigation or unduly delaying a trial. 18 U.S.C.
     2705(b).
          18.6.8.4.2.4 (U) SEARCII WARRANT

  (U//        Investigators can obtain the full contents of a network account with a search
  warrant issued pursuant to FRCP Rule 41. However, FRCP Rule 41 search warrant may
  not be issued in Preliminary Investigations. See DIOG Section 18.7.1.3.4.4.
          18.6.8.4.2.5 (U) COURT ORDER WITH PRIOR NOTICE TO THE SUBSCRIBER OR
                        CUSTOMER

  (U//F        Investigators can obtain everything in a network account except for
  unopened e-mail or voice-mail stored with a provider for 180 days or less using a 18
  U.S.C. § 2703(d) court order with prior notice to the subscriber unless they have obtained
  authority for delayed notice pursuant to 18 U.S.C. § 2705. ECPA distinguishes between
  the contents of communications that are in "electronic storage" (e.g., unopened e-mail)
  for less than 180 days, and those that have been in "electronic storage" for longer or that
  are no longer in "electronic storage" (e.g.. opened e-mail).
  (U) FBI employees who obtain a court order under 18 U.S.C. § 2703(d), and either give
  prior notice to the subscriber or comply with the delayed notice provisions of 18 U.S.C. §
  2705(a). may obtain:

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  A) (U) ''The contents of a wire or electronic communication that has been in electronic storage in
     an electronic communications system for more than one hundred and eighty days." 18 U.S.C.
     § 2703(a).
  B) (U) "The contents of any wire or electronic communication" held by a provider of remote
     computing service "on behalf of ... a subscriber or customer of such remote computing
     service: 18 U.S.C. §§ 2703(b)(1)(13)(ii), 2703 (h)(2); and
  C) (U) Everything that can he obtained using an 18 U.S.C. § 2703(d) court order without notice.
  (U) I                                                                                           I        b7E




  (U                                                                                                       b7E




 18.6.8.4.2.5.1      (U) LEGAL STANDARD

  (U) To order delayed notice, the court must find that "there is reason to believe that
  notification of the existence of the court order may... endanger the life or physical safety
  of an individual; [lead to] Hight from prosecution; [lead to] destruction of or tampering
  with evidence; [lead to] intimidation of potential witnesses; or ... otherwise seriously
  jeopardiz[e] an investigation or unduly delay' J a trial." 18 U.S.C. §§ 2705(a)(1)(A) and
  2705(a)(2). The applicant must satisfy this standard anew each time an extension of the
  delayed notice is sought.
 18.6.8.4.2.5.2      (U) NATIONWIDE SCOPE

  (U) Federal court orders under 18 U.S.C. § 2703W) have effect outside the district of the
  issuing court. Orders issued pursuant tol8 U.S.C. § 2703(d) may compel providers to
  disclose information even if the information is stored outside the district of the issuing
  court. See 18 U.S.C. § 2703(d) ("any court that is a court of competent jurisdiction" may
  issue a 18 U.S.C. § 2703W) order); 18 U.S.C. § 2711(3) (court of competent jurisdiction
  includes any federal court having jurisdiction over the offense being investigated without
  geographic limitation).
  (U) 18 U.S.C. § 2703(d) orders may also be issued by state courts. See 18 U.S.C. §§
  2711(3), 3127(2)(B). These orders issued by state courts, however, do not have effect
  outside the jurisdiction of the issuing state. See 18 U.S.C. §§ 2711(3).
          18.68.4.2.6 (U) COURT ORDER WITHOUT PRIOR NOTICE TO TILE SUBSCRIBER
                        OR CUSTOMER

  (U) A court order under 18 U.S.C. § 2703(d) may compel disclosure of:


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  A) (U) All "record(s) or other information pertaining to a subscriber to or customer of such
     service (not including the contents of communications I held by providers of electronic
     communications service and remote computing service I)," and
  B) (U) Basic subscriber information that can be obtained using a subpocn'      hout notice. 18
     U.S.C. § 2703(c)(1 ).
 18.6.8.4.2.6.1      (U) TYPES OF TRANSACTIONAL RECORDS

  (U) The broad category of transactional records includes all records held by a service
  provider that pertain to the subscriber beyond the specific records listed in 2703(c)(2)
                                                                                                           b7E


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 18.6.8.4.2.6.2      (U) CELL SITE AND SECTOR INFORMATION

  (U) Cell site and sector information is considered "a record or other information
  pertaining to a subscriber" and therefore, production of historical and prospective cell site
  and sector information may be compelled by a court order under 18 U.S.C. § 2703(d).
  Requests made pursuant to 18 U.S.C. § 2703(d) for disclosure of prospective cell site and
  sector information—which is delivered to law enforcement under Communications
  Assistance for Law Enforcement Act (CALEA) at the beginning and end of calls— must
  be combined with an application for pen register/trap and trace device. Some judicial
  districts will require a showing of probable cause before authorizing the disclosure of
  prospective cell site and sector information.
 18.6.8.4.2.6.3      (U)                                                                                   b7E

  (U) I                                                                                                    b7E




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  (U)                                                                                                     b7E




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  (U



 18.6.8.4.2.6.4         (U) LEGAL STANDARD

  (U) A court order under 18 U.S.C. § 2703(d) is known as an "articulable facts" court
  order or simply a "d" order. This section imposes an intermediate standard to protect on-
  line transactional records. It is a standard higher than a subpoena, but not a probable
  cause warrant.
  (U) In applying for an order pursuant to 18 U.S.C. § 2703 (d), the FBI must state
  sufficient specific and articulable facts for the court to find that there are reasonable
  grounds to believe that the contents of a wire or electronic communication, or the records

  investigation
                  i
  or other infori ation sought are relevant and material to an ongoing criminal
                                                                                                          b7E


          18.68.42.7 (U) SUBPOENA WITH PRIOR NOTICE TO THE SUBSCRIBER OR
                          CUSTOMER

  (U//f086) Investigators can subpoena opened e-mail from a provider if they give prior
  notice to the subscriber or comply with the delayed notice provisions of 18 U.S.C. §
  2705(a)                                                               that there is reason              b7E
  to believe notification of the existence of the subpoena may have an adverse result.
  (U) FBI employees who obtain a subpoena and give prior notice to the subscriber or
  comply with the delayed notice provisions of 18 U.S.C. § 2705(a) may obtain:
  A) (U) "The contents of any wire or electronic communication" held by a provider of remote
     computing service "on behalf of ... a subscriber or customer of such remote computing
     service." 18 U.S.C. § 2703(b)(1 )(B)0). § 2703(h)(2);
  B) (U) "The contents of a wire or electronic communication that has been in electronic storage in
     an electronic communications system for more than one hundred and eighty days." 18 U.S.C.
     § 2703(a); and

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  C) (U) Basic subscriber information listed in 18 U.S.C. § 2703(c)(2).

  (U) As a practical mailer, this means that                                                                b7E




                                                                                                            b7E
  (U)




  (U) Legal standards for delaying notice: The supervisory official must certify in writing
  that "there is reason to believe that notification of the existence of the court order may...
  endanger[] the life or physical safety of an individual; [lead to] flight from prosecution;
  [lead toj destruction of or tampering with evidence; [lead toj intimidation of potential
  witnesses; or... otherwise seriously jeopardiz[e] an investigation or unduly delay[] a
  trial." 18 U.S.C. §§ 2705(a)(1)(A), 2705(a)(2). This standard must be satisfied anew
  every time an extension of the delayed notice is sought. This documentation must be
  placed with the subpoena in the appropriate investigative file.
          18.6.8.4.2.8 (U) SUBPOENA WITHOUT PRIOR NOTICE TO THE SUBSCRIBER OR
                        CUSTOMER

  (U/{Fetter) Without notice to the subscriber or customer, investigators can subpoena
  basic subscriber information:
          (U) name; address; local and long distance telephone connection records, or
          records of session times and durations; length of service (including start date) and
          types of service used; telephone or instrument number or other subscriber
          number or identity, including any temporarily assigned network address; and
          means and source of payment for such service (including any credit card or bank
          account number)11" 18 U.S.C. § 2703(c)(2).
                                                                                                            b7E




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       A) (U) Legal Standard: The legal threshold for issuing a subpoena is relevance to the
          investigation. Courts arc reluctant to review the ';good faith' issuance of subpoenas as long as
          they satisfy the following factors': (i) the investigation is conducted pursuant to a legitimate
          purpose; (i i) the information requested under the subpoena is relevant to that purpose; (iii) the
          agency does not already have the information it is seeking with the subpoena; and (iv) the
          agency has followed the necessary administrative steps in issuing the subpoena.
          (U//IOUO) In the event that a federal grand jury subpoena is used, however, appropriate
          protections against disclosure must he followed in compliance with FRCP Rule 6(e).
       B) (U//l":51119)                                                                                            b7E




       C) (U) Members of the News Media: Approval of the Attorney general must he obtained prior to
          seeking telephone billing records of a member of the news media. (See DIOG Section
          18.6.5..8)

         18.6.8.4.3        (U) VOLUNTARY DISCLOSURE

 (U)                                                                                                               b7E



       A) (U) Service NOT Available to the Public: ECPA does not apply to providers of services that
          are not available "to the public:" accordingly such providers may freely disclose both contents
          and other records relating to stored communications. Andersen Consulting v. UOP, 991 F.
          Supp. 1041 (ND. III. 1998) (giving hired consulting firm employees access to UOP's e-mail
          system is not equivalent to providing e-mail to the public).
       B) (U) Services That ARE Available to the Public: If the provider offers services to the public,
          then ECPA governs the disclosure of contents and other records.
       C) (U) If the provider is authorized to disclose the information to the government under 18
          U.S.C. § 2702 and is willing to do so voluntarily, law enforcement does not need to obtain a
          legal order or provide other legal process to compel the disclosure.
       D) (U) If a provider voluntarily discloses under the statute, there is no follow-up legal process
          required or available. If the provider, on the other hand, either may not or will not disclose the
          information voluntarily, FBI employees must rely on compelled disclosure provisions and
          obtain the appropriate legal orders.
          1) (U) Voluntary Disclosure of Stored Contents - ECPA authorizes the voluntary disclosure
             of stored contents when:
              a) (U) The originator, addressee. intended recipient. or the subscriber (in the case of
                 opened c-mail) expressly or impliedly consents. 18 U.S.C. § 2702(h)(3);
              h) (U) The disclosure "may he necessarily incident to the rendition of the service or to the
                 protection of the rights or property of the provider of that service: 18 U.S.C.
                 2702(h)(5);




(U) United States v. Morton Salt Co. 338 U.S. 632 642-43 (1950).

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       M (U) The provider "in good faith, believes that an emergency involving danger of death
         or serious physical injury to any person requires disclosure without delay of information
         relating to the emergency," 18 U.S.C. § 2702(b)(8):
       d) (U//F.841Q) An emergency disclosure under this statutory exception is justified when
          the circumstances demand action without delay to prevent death or serious bodily
          injury; the statute does not depend on the immediacy of the risk of danger itself. For
          example.                                                                                    I   b7E




          H.R Rep. No. 107-497 at 13-14 (2002) accompanying The Cyber Security
          Enhancement Act of 2002, H.R. 3482, which passed as part of the comprehensive
          Homeland Security Act of 2002. Pub. L. No. 107-296. § 225 116 Stat. 2135 (2002).
       e) (U) The disclosure is made to the National Center for Missing and Exploited Children.
          in connection with a report submitted thereto under Section 227 of the Victims of Child
          Abuse Act of 1990. (42 U.S.C. § 13032 and 18 U.S.C. § 2702lb II60; or
       0 (U) The contents arc inadvertently obtained by the service provider and appear to
         pertain to the commission of a crime. Such disclosures can only be made to a law
         enforcement agency. 18 U.S.C. § 2702(10(7)
    2) (U) Voluntary Disclosure of Non-Content Customer Records - ECPA permits a
       provider to voluntarily disclose non-content customer records to the government when:
       a) (U) The customer or subscriber expressly or impliedly consents, 18 U.S.C.
          2702(c)(2);
       b) (U) The disclosure "may be necessarily incident to the rendition of the service or to the
          protection of the rights or property of the provider of that service: 18 U.S.C. §
          2702(c)(3);
       c) (U) The provider "in good faith, believes that an emergency involving danger of death
          or serious physical injury to any person requires disclosure without delay of information
          relating to the emergency," 18 U.S.C. § 2702(c)(4): or
       d) (U/WOUO) Note: An emergency disclosure under this statutory exception is justified
          when the circumstances demand immediate action (i.e., obtaining/disclosing
          information "without delay) to prevent death or serious bodily injury; the statute does
          not depend on the immediacy of the risk of danger itself. For example, an c-mail that
          discusses a planned terrorist attack but not the timing of the attack would constitute an
          emergency that threatens life or limb and requires immediate action, even though the
          timing of the attack is unknown. It is the need for immediate action to prevent the
          serious harm threatened rather than the immediacy of the threat itself that provides the
          justification for voluntary disclosures under this exception. H.R Rep. No. 107-497 at
          13-14 (2002) accompanying The Cyber Security Enhancement Act of 2002, H.R. 3482,
          which passed as part of the comprehensive Homeland Security Act of 2002, Pub. L. No.
          107-296, § 225 116 Stat. 2135 (2002).
       e) (U) The disclosure is to the National Center for Missing and Exploited Children, in
          connection with a report submitted thereto under Section 227 of the Victims of Child
          Abuse Act of 1990. (42 U.S.C. § 13032 and 18 U.S.C. § 27021(115D



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    3) (U) Preservation of Evidence under 18 U S C          2703(f)                                       b7E



                                                                                                          b7E


                                        A governmental entity is authorized to direct providers to
          preserve stored records and communications pursuant to 18 U.S.C. § 2703(t). Once a
          preservation request is made, ECPA requires that the provider must retain the records
          for 90 days. renewable for another 90-day period upon a government request. See 18
          U.S.C. § 2703 (1)(2).
       b) (U) There is no legally prescribed format for 18 U.S.C. § 2703(t) requests.                     b7E



       c) (U) FBI employees who send 18 U.S.C. § 2703(1) letters to network service providers
          should be aware of two limitations. First, the authority to direct providers to preserve
          records and other evidence is not prospective. Thus. 18 U.S.C. § 2703(t) letters can
          order a provider to preserve records that have already been created but cannot order
          providers to preserve records not yet made. If FBI employees want providers to record
          information about future electronic communications, they must comply with the
          electronic surveillance statutes. A second limitation of 18 U.S.C. § 2703(t) is that some
          providers may be unable to comply effectively with 18 U.S.C. § 2703(t) requests
                                                                                                          b7E




    4) (U) Video Tape Rental or Sales Records - 18 U.S.C. § 2710 makes the unauthorized
       di closure of records by any person engaged in the rental, sale, or delivery of prereco ded
       video cassette tapes or similar audiovisual materials unlawful and provides an exclusionary
       ru e to prohibit personally identifiable information otherwise obtained from being
       admissible as evidence in any court proceeding. Personally identifiable information is
       defined as "information that identifies a person as having requested or obtained specific
       video material or services ...."
       a) (U) The disclosure to law enforcement of "personally identifiable information' is
          permitted only when the law enforcement agency:
          (i)       (U) Has the written consent of the customer;
          (ii)     (U) Obtains a search warrant issued under Rule 41. FRCP or equivalent state
                 warrant; or
                    (U) Serves a grand jury subpoena;

          (U)                                                                                             b7E




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           c) (U) This type of information was specifically not included in the definition of
              "personally identifiable information" to allow law enforcement to obtain information
              about individuals during routine investigations such as neighborhood investigations.
           d) (U/7111t11211±/) The disclosure of -personally identifiable information" in a national
              security investigation may he compelled through use of the above legal processes or
              pursuant to a business records order issued under 50 U.S.C. 5 1861.
18.6.8.5      (U) VOLUNTARY EMERGENCY DISCLOSURE

      18.6.8.5.1       (U) SCOPE

(U/1F U ) ECPA protects subscriber and transactional information regarding
communications from disclosure by providers of remote computing services or telephone or
other electronic communication services to the public (remote computing services. telephone
and other electronic communications services are hereafter collectively referred to as
"electronic communications service providers" or "providers"). Generally, an NSL, grand jury
subpoena. or other form of legal process must be used to compel the communication service
provider to disclose such information                                                                         b7E




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 U//E414391



                                                                                                              b7E
(U//FOU0) The use of the                   is designed to captures all the information the FBI
needs to satisfy statutory a nual Congres. ional reporting requirements.
(U//FOUO                                                                                                      b7E




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      18.6.8.5.2      (U)DURATION OF APPROVAL

(U) As authorized by statute (e.g.. for as long as the emergency necessitating usage exists and
only in those circumstances when it is impracticable to obtain other legal process such as a
subpoena or NSL) and applicable court order or warrant.
      18.6.8.5.3      (U) SPECIFIC PROCEDURES
    A (U/Pete) Required Form:I                                                                            b7E




    B) (1.1//frlt," Filing requirements:                                                                  b7E




    C) (U//P131:484 Contact with Providers:                                                               b7E




      18.6.8.5.4      (U) COST REIMBURSEMENT

(U) Policy and procedures regarding cost reimbursement are described in the following:
    A) (U) Standardized payment procedures may he found in the
    B) (U) DO1.= Cost R -'imhi•rso-n-(4 Cuid,ance order the (VP( can also he found in 18 U.S.C. §
       2706.

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      18.6.8.5.5      (U) REPORTING VOLUNTARY EMERGENCY DISCLOSURES

(U) 18 U.S.C. § 2702(d) requires the Attorney General to report annually to Congress
information pertaining to the receipt of voluntary disclosures of the contents of stored wire or
electronic communications in an emergency under 18 U.S.C. § 2702(b)(8), specifically:
    A) (U) The number of accounts from which the FBI received voluntary emergency disclosures;
       and
    B) (U) A summary of the basis for the emergency disclosure in those investigations that were
       closed without the filing of criminal charges.
                                                                                                             b7E
(U) The            Form will capture information required to meet these reporting requirement.
      18.6.8.5.6      (U)ROLESIRESPONSIBILITIES

(U) The                              that hosts the          form will, when necessary, follow-              b7E
up with e-mail notifications to the issuing employee to ensure that the information included in
the report to DOJ (which it uses to prepare the required Congressional report) is current. It is
the responsibility of the FBI employee to respond to these requests for information as soon as
practicable but no later than ten (10) business days. Failure to do so may be considered
"substantial non-compliance" pursuant to Section 3.
(U) OGC/ILB is assigned the administrative responsibility to complete the following by
December 31 of each year:
    A) (U) Tabulate the number of voluntary disclosures of stored contents received under the
       authority of 18 U.S.C. § 2702(6)(8) for the calendar year;
    B) (U) Prepare a report summarizing the basis for disclosure in those instances in which the
       relevant investigation was closed without the filing of criminal charges; and
    C) (U) Submit the report to the General Counsel for review and submission to DO1 according to
       the statutory requirement for annual report by the Attorney General.




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18.6.9      (U) INVESTIGATIVE METHOD: PEN REGISTERS AND TRAP/TRACE
            DEVICES (PR/TT)

 18.6.9.1       (U) SUMMARY
 (U) Pen register and trap and trace (PR/TT) devices enable the prospective collection of non-
 content traffic information associated with wire and electronic communications, such as: the
 phone numbers dialed from or to a particular telephone, including electronic communications;
 messages sent from or to a particular telephone; or the internet protocol (IP) address of
 communications on the Internet and other computer networks.
 18.6.9.2       (U) APPLICATION
                                                                                                    b7E
 (uurulle)1




 18.6.9.3       (U) LEGAL AUTHORITY
 (U) 18 U.S.C. §§ 3121 et seq. and 50 U.S.C. §§ 1842 et seq. regulate the use of PR/TT
 devices. PR/TT orders authorize the collection of phone number dialed from or to a particular
 telephone, IP addresses, port numbers and the "To" and "From" information from e-mail; they
 cannot intercept the content of a communication, such as telephone conversations or the
 words in the "subject line" or the body of an e-mail.
 18.6.9.4       (U) DEFINITION OF INVESTIGATIVE METHOD
 (U) A pen register device or process records or decodes dialing, routing, addressing or
 signaling information transmitted by an instrument or facility from which a wire or electronic
 communication is transmitted, provided that such information must not include the contents of
 any communication. See 18 U.S.C. § 3127(3).
 (U) A trap and trace device or process captures the incoming electronic or other impulses that
 identify the originating number or other dialing, routing, addressing or signaling information
 reasonably likely to identify the source of a wire or electronic communication, provided that
 such information does not include the contents of any communication. See 18 U.S.C. §
 3127(4).
 18.6.9.5       (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR INVESTIGATIVE
                METHOD

         18.6.9.5.1    (U) PEN REGISTER/TRAP AND TRACE UNDER FISA
 (U) Applications for authority to use a PR/TT device can be made to the FISC in national
 security investigations. See 50 U.S.C. § 1842.
 (U//Feinkt)                                                                                        b7E




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(U) 28 C.F.R. § 50.10(b)(1)(ii) provides guidance on categories of individuals and entices
not covered by. and therefore not entitled to the protections of the DOJ policy set out above.
            18.6.9.5.1.1 (U) LEGAL STANDARD
    (U) Applications to the FISC are to be under oath and must include:
    A) (U) The identity of the federal officer making the application; and
    B) (U) A certification by the applicant that the information likely to be obtained is foreign
       intelligence information not concerning an USPER or is information that is relevant to an
       ongoing investigation to protect the United States against international terrorism or clandestine
       intelligence activities; and that such investigation, if of an USPER, is not conducted solely
       upon the basis of activities protected by the First Amendment to the Constitution.
            18.6.9.5.1.2 (U) PROCEDURES
    (14//49433) Requests for initiating or a renewal of FISA PR/TT must be made using                      b7E




                Routing a paper copy for signatures is not required.
    (U/1       ) Sec
                for additional guidance.                                                                   b7E

            18.6.9.5.1.3 (U) EMERGENCY AUTHORITY—FISA: 50 U.S.C. § 1843
    (UHF U ) Under the provisions of FISA, the Attorney General may grant Emergency
    Authority (EA) for PR/TT. Requests for Emergency Authority must be referred to the
    appropriate FBIHQ division.
    (U//                                                                                                   b7E




    A) (U) The Attorney General may authorize the installation and use of a PR/TT upon a
       determination that an emergency exists and that the factual basis exists for a court order. The
       FISC must be informed at the time of the authorization and an application for a court order

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       must he made to the court as soon as practicable, but no more than seven (7) days after the
       authorization. If the court does not issue an order approving the use of a PR/TT, an
       emergency-authorized PR/TT use must terminate at the earliest of when the information
       sought is obtained, when the FISC denies the application, or seven (7) days after the Attorney
       General authorization is given.
    B) (U) If the FISC denies the application after an emergency PR/TT device has been installed, no
       information collected as a result may he used in any manner, except with the approval of the
       Attorney General upon a showing that the information indicates a threat of death or serious
       bodily harm to any person.
    (U) Notwithstanding the foregoing, the President, acting through the Attorney General,
    may authorize the use of a PR/TT. without a court order, for a period not to exceed 15
    calendar days. following a declaration of war by Congress. See 50 U.S.C. § 1844.
    (U//FOU0) For an emergency authorization to use a PR/TT surveillance,                                 b7E

                               lat any time.
            18.6.9.5.1.4 (U) FISA OVERCOLLECTION

    (ullret,e) In accordance with Foreign Intelligence Surveillance Court (FISC) Rule of
    Procedure 15. information acquired outside of the scope of the FISA authorization
    ("FISA overcollection") will no longer be sequestered with the FISC, absent
    extraordinary circumstances. Contact NSLB for further guidance regarding the handling
    of any FISA overcollection.
      18.6.9.5.2      (U) CRIMINAL PEN REGISTER/TRAP AND TRACE UNDER TITLE 18

(U) Applications for the installation and use of a PR/TT device may be made to a "court of
competent jurisdiction"—i.e., "any district court of the United States (including a magistrate
judge of such a court) or any United States court of appeals having jurisdiction over the
offense being investigated, or any court of general criminal jurisdiction of a State authorized
by the law of that State to enter orders authorizing the use of a pen register or trap and trace
device." See 18 U.S.C. § 3127(2).
(U/bFetit)) I                                                                                      I      b7E




(U) Note: 28 C.F.R. § 50.10(b)(1)(n) provides guidance on categories of Individuals and
entities not covered by, and therefore not entitled to the protections of the DOJ policy set out
above.
            18.6.9. 5.2. 1 (U) LEGAL STANDARD

    (U) Applications for authorization to install and use a PR/TT device must include:


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  A) (U) The identity of the attorney for the government or the state law enforcement or
     investigative officer making the application and the identity of the law enforcement agency
     conducting the investigation; and
  B) (U) A certification by the applicant that the information likely to be obtained is relevant to an
     ongoing criminal investigation being conducted by that agency.
          18.6.9.5.2.2 (U//            PROCEDURES

  (U//FOLIO) An SSA must approve a request for initiating or renewal of PR/TT use prior
  to submission of the request to an attorney for the government. Before approving such a
  request, the SSA should consider of the following:
  A) (11/7C11:149) The use of resources based on the investigative purpose set forth;
  B) (U/71-161i6) Whether there is sufficient factual basis for the certification to he made in the
     application (i.e., is the information likely to he obtained relevant to an ongoing criminal
     investigation);
  C) (U/tF6149) Whether the customer or subscriber has consented to the use of a PR/TT, see 18
     U.S.C. § 3121(b)(3); or
  D) (U//ittr) Whether the use of a PR/TT         the least intrusive method if reasonable based upon
     the circumstances of the investigation.
  (U//F U ) A copy of the approving EC must be maintained in the pen register sub-file
  "PEN."
  (U111'017119) A PR/TT order is executable anywhere within the United States and, upon
  service, the order applies to any person or entity providing wire or electronic
  communication service in the United States whose assistance may facilitate the execution
  of the order.
                                                                                                           b7E
  (U//POLIO) See
  for additional guidance.
          18.69.5.2.3 (U) EMERGENCY AUTHORITY—CRIMINAL: 18 U.S.C. § 3125

  (U) The Attorney General, the Deputy Attorney General, the Associate Attorney General,
  any Assistant Attorney General, any acting Assistant Attorney General, or any Deputy
  Assistant Attorney General may specially designate any investigative or law enforcement
  officer to reasonably determine whether an emergency situation exists that requires the
  installation and use of a PR/TT device before an order authorizing such installation and
  use can, with due diligence, be obtained and there are grounds upon which an order could
  be entered authorizing the installation and use of a PR/TT.
  (U) An emergency situation as defined in this section involves:
  A) (U) Immediate danger of death or serious bodily injury to any person;
  B) (U) Conspiratorial activities characteristic of organized crime;
  C) (U) An immediate threat to a national security interest; or
  D) (U) An ongoing attack on a protected computer (as defined in 18 U.S.C. § 1030) that
     constitutes a crime punishable by a term of imprisonment greater than one year.



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    (U) Only DOJ officials have the authority to authorize the emergency installation of a
    PR/TT. The FBI does not have this authority. If the DOJ authorizes the emergency
    installation of a PR/TT, the government has 48 hours after the installation to apply for
    and obtain a court order according to 18 U.S.C. § 3123. It is a violation of law to fail to
    apply for and obtain a court order within this 48 hour period. Use of the PR/TT shall
    immediately ten-innate when the information sought is obtained, when the application for
    a court order is denied, or if no court order has been obtained 48 hours after the
    installation of the PR/TT device in emergency situations.
                                                                                                         b7E
    (U//FOUO) As with requesting authorization for an emergency Title




                                                                                Once that
    approval has been obtaed.in   me IRA attorney will advise me AU A mat t) e emergency
    use has been approved and that the law enforcement agency may proceed with the
    installation and use of the PR/TT. The DOJ attorney will send a verification
    memorandum, signed by the authorizing official, to the AUSA. The AUSA will include
    an authorization memorandum with the application for the court order approving the
    emergency use.
                                                                                                         b7E
    (U//R414fr If an emeraencv situation arises after recular business hours

                                                       punng regular business hours, I


18.6.9.6     (U) DURATION OF APPROVAL
    A) (U) FISA: The use of a PR/TT device may he authorized by the FISC for a period of time not
       to exceed 90 days in investigations targeting an USPER. Extensions may he granted for
       periods not to exceed 90 days upon re-application to the court. In investigations in which the
       applicant has certified that the information likely to he obtained is foreign intelligence
       information not concerning a U.S. person (USPER), an order or extension may be for a period
       of time not to exceed one year.
    B) (U) CriminaC The installation and use of a PR/TT device may be authorized by court order
       under 18 U.S.C. § 3123 for a period not to exceed 60 days. which may be extended for
       additional 60-day periods.
18.6.9.7     (U) SPECIFIC PROCEDURES

(U//FOU ) Rim to installing and using a PR/TT device (whether issued in a criminal or
national security matter), the case agent must:
                                                                                                         b7E
    ARUM- U )




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    C) (uNizigtual                                                                                      b7E



       (1.1//14 ,77r)                                                                                   b7E




    E) (uhitetrinr                                                                                      b7E
     1
18.6.9.8       (U) USE OF FISA DERIVED INFORMATION IN OTHER PROCEEDINGS

    (UfrPOLICO There are statutory (50 U.S.C. Sections 1806. 1825, and 1845) and Attorney
    General (AG) policy restrictions on the use of information derived from a FISA ELSUR,
    physical search, or PR/TT. These restrictions apply to and must be followed by anyone
    "who may seek to use or disclose FISA information in any trial, hearing, or other
    proceeding in or before any court, department, officer, agency, regulatory body, or other
    authority of the United States...." See DIOG Appendix E for the AG Memo, Revised
    Policy on the Use or Disclosure of FISA Information. dated 01-10-2008. The guidance in
    the AG's Memo establishes notification/approval procedures which must he strictl
    followed. Though not contained in the AG Memo, FBI policy requires that                             b7E
                                                 Questions concerning the FISA use policy or
    requests for assistance in obtaining FISA use authority from the AG should be directed to
    NSLB's Classified Litigation Support Unit.
    (U//F U ) The United States must, prior to the trial, hearing, or other proceeding or at a
    reasonable time prior to an effort to disclose or use that information or submit it into
    evidence, notify the "aggrieved person" [as defined in 50 U.S.C. Sections I801(k),
    1821(2), or 1841(2)], and the court or other authority in which the information is to be
    disclosed or used, that the United States intends to disclose or use such information. See
    50 U.S.C. Sections 1806(c), 1825(d), and 1845(c).
18.6.9.9       (U) CONGRESSIONAL. NOTICE AND REPORTING REQUIREMENTS
      18.6.9.9.1          (U) CRIMINAL PEN REGISTER/TRAP AND TRACE- ANNUAL REPORT

(U) The Attorney General is required to make an annual report to Congress on the number of
criminal PR/TT orders applied for by DOJ law enforcement agencies. See 18 U.S.C. § 3126.
The report must include the following information:
    A) (U) The period of interceptions authorized by the order, and the number and duration of any
       extensions;
    B) (U) The offense specified in the order or application, or extension

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    C) (U) The number of investigations involved;
    D) (U) The number and nature of the facilities affected; and
    E) (U) The identity. including the district, of the applying agency making the application and the
       person authorizing the order.
(U//FOUO) DOJ, Criminal Division. 0E0 requires the FBI to provide quarterly reports on
pen register usage. To satisfy DOJ data requirements and standardize at d simplify field
reporting, court-ordered pen register usage must be reported to FBIHQ                                      b7E
                                                        'within five (5) workdays after the
expiration date of an original order and any extensions, or denial of an application for an
order. For all criminal PR/TT orders or extensions issued on or after January 1, 2009. the
                                                                  hese reporting requirements
do not apply to PR/TT authorized pursuant to consent or under the provisions of FISA.
      18.6.9.9.2      (U)NATIONAL SECURITY PEN REGISTERS AND TRAP AND TRACE — SEMI-
                      ANNUAL REPORT

(U) The Attorney General must inform the House Permanent Select Committee on
Intelligence. Senate Select Committee on Intelligence. Committee of the Judiciary of the
House Representatives, and Committee of the Judiciary of the Senate concerning all uses of
PR/TT devices pursuant to 50 U.S.C. § 1846. This report is coordinated through DOJ NSD. A
semi-annual report must be submitted that contains the following information:
    A) (U) The total number of applications made for orders approving the use of PR/TT devices;
    B) (U) The total number of such orders either granted. modified, or denied; and
    C) (U) The total number of PR/TT devices whose installation and use was authorized by the
       Attorney General on an emergency basis and the total number of subsequent orders approving
       or denying the installation and use of such PR/TT devices.
18.6.9.10    (U) POST CET-THROUGH DIALED DIGITS (PCTDD)

      18.6.9.10.1     (V) OVERVIEW'

(U//F U ) Telecommunication networks provide users the ability to engage in extended
dialing and/or signaling (also known as "post cut-through dialed digits" or PCTDD), which in
some circumstances are simply call-routing information and, in others. are call content. For
example. non-content PCTDD may be generated when a party places a calling card, credit
card, or collect call by first dialing a long-distance carrier access number and then, after the
initial call is "cut through," dialing the telephone number of the destination party. In other
instances. PCTDD may represent call content, such as when a party calls an automated
banking service and enters an account number, calls a pharmacy's automated prescription
refill service and enters prescription information, or enters a call-back number when prompted
by a voice mail service. See United States Telecom Assn v. Federal Communications
Commission 227 F.3d 450, 462 (D.C. Cir. 2000).                                                             b7E



(U//FOU0) The definition of both a pen register device and a trap and trace device provides
that the information collected by these devices "shall not include the contents of any


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communication." See 18 U.S.C. § 3127(3) and (4). In addition. 18 U.S.C. § 3121(c) makes
explicit the requirement to "use technology reasonably available" that restricts the collection
of information "so as not to include the contents of any wire or electronic communications."
"Content" includes any information concerning the substance, purport, or meaning of a
communication. See 18 U.S.C. § 2510(8). When the pen register definition is read in
conjunction with the limitation provision, however, it suggests that although a PR/TT device
may not be used for the express purpose of collecting content, the incidental collection of
content may occur despite the use of "reasonably available" technology to minimize, to the
extent feasible, any possible over collection of content while still allowing the device to
collect all of the dialing and signaling information authorized.
(UHF U ) DOJ Policy: In addition to this statutory obligation. DOJ has issued a directive in
                                                   to all DOJ agencies requiring that no             b7E
affirmative investigative use may be made of PCTDD Incidentally collected that constitutes
content, except in cases of emergencyto prevent an immediate danger of death, serious
physical injury, or harm to the national security.
(1.177T-944,8)                                                                                       b7E




         18.6.9.10.2      (U) COLLECTION OF PCTDD
(11/eFeeet)1                                                                                         b7E




       A (Li/int/tilt                                                                                b7E




       B) (U/44947115)                                                                               b7E




         18.6.9.10.3      (U) USE OF PCTDD
(U//                                                                                                 b7E




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  B) (U /F01810)                                                                    b7E




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        18.6.9.10.4     (U) WHAT CONSTITUTES PCTDD CONTENT

(U//F       In applying the above, the term "content" is interpreted to mean "any information
concerning the substance, purport, or meaning of a communication" as defined in 18 U.S.C. §
2510. Questions concerning whether specific PCTDD are content as opposed to dialing,
routing, addressing. or signaling information should be addressed to the CDC or OGC for
coordination with DOJ as necessary.
                                                                                                          b7E
(U/tFebISQ)




18.6.9.11     (U//POU 01                                                                                  b7E


(11//ftlee                                                                                                b7E




                                       (See also guidance provided in the OTD Technology-
based
        18.6.9.11.1     (111/Pre9)TO LOCATE A KNOWN PHONE NUMBER
    A) (U//146lle) Authority: A standard PR/TT order issued pursuant to 18 U.S.C. § 3127 is
       adequate to authorize the use of this technology to determine the location of a known targeted
       phone, provided that the language authorizes FBI employees to install or cause to be installed
       and use a pen register device, without geographical limitation, at any time of day or night
       within (X) days from the date the order is signed, to record or decode dialing, routing,
       addressing, or signaling information transmitted by the 'Subject Telephone." Due to varying
       and often changing court interpretations of the requirements for obtaining cell site location
       information, agents contemplating legal process to obtain such information should consult as
       necessary with their CDC and/or AUSA for the legal requirements in their particular
       jurisdiction. The application and order should generally also request authority to compel
       disclosure of cell site location data on an ongoing basis under 18 U.S.C. § 2703(d) or
       probable cause, if such is required by the particular district couras such information may
       assist in determining the general location of the targeted phone.                                  b7E


    B) (U//111*149)1                                                                                      b7E




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   C) (u/tem4e) I                                                                                       b7E




                           Under Evil° v. United States, 533 U.S. 27 (2001), the use of equipment
      not in general public use to acquire data that is not otherwise detectable that emanates from a
      private Demise implicates the Fourth Amendment.'


                                                                                                        b7E
   D (UhrertIFFI




     18A9.11.2       (UMF-e)&03 To IDENTIFY AN UNKNOWN TARGET PHONE NUMBER

(U 'Fete) Authority:                                                                                    b7E




(U//F U )I                                                                                              b7E




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    A) (UM-OU0)                                                                                 b7E



    B (U/I                                                                                      b7E




      18.6.9.1      (U) PR/TT ORDER LANGUAGE
    (U) The language in the order should state that "the pen register will be implemented
    unobtrusively and with minimum interference with the services accorded to customers of
    such service."
18.6.9.12    (U) EVIDENCE HANDLING

(U//FOU0) All ELSUR downloading, processing, and handling of original, derivative, and
copies of original or derivative ELSUR evidence must be conducted by an ELSUR operations
technician (EOT) or other designated employee (e.g. an agent who has successfully completed
ELSUR training, in Virtual Academy). ELSUR evidence must not be uploaded into                   b7E




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18.6.10 (U) INVESTIGATIVE METHOD: MAIL COVERS
 18.6.10.1        (U) SUMMARY

 (U) A mail cover may be sought only in a Predicated Investigation when there are reasonable
 grounds to demonstrate that the mail cover is necessary to: (i) protect the national security; (ii)
 locate a fugitive; (iii) obtain evidence of the commission or attempted commission of a
 federal crime; or (iv) assist in the identification of property, proceeds or assets forfeitable
 because of a violation of criminal law. See 39 C.F.R. § 233.3(e)(2).
 (U)                                                                                                            b7E




 (U)I                                                                                                           b7E




 18.6.10.2        (U) APPLICATION

 (U/Mttkie)                                                                                                     b7E




 18.6.10.3        (U) LEGAL AUTHORITY
        A) (U) Postal Service Regulation 39 C.F.R. § 233.3 is the sole authority and procedure for
           opening a mail cover and for processing. using and disclosing information obtained from a
           mail cover;
        B) (U) There is no Fourth Amendment protection for information on the outside of a piece of
           mail. See. e.g.. U.S. v. Choate. 576 F.2d 165. 174 (91h Cir.. 1978); and U.S. v. Huie. 593 F.2d
           14 (5th Cir.. 1979); and
        C) (U) ACC-Dom, Part V.A.2.
 18.6.10.4        (U) DEFINITION OF INVESTIGATIVE METHOD

 (U) A mail cover is the non-consensual recording of any data appearing on the outside cover
 of any sealed or unsealed mail mailer to obtain information in order to:
        A) (U) Protect the national security;
        B) (U) Locate a fugitive;
        C) (U) Obtain evidence of commission or attempted commission of a federal crime;
        D) (U) Obtain evidence of a violation or attempted violation of a postal statute; or


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        E) (U) Assist in the identification of property, proceeds or assets forfeitable under law.
           See 39 C.F.R. § 233.3(c) (I).
    (U) In this context, a "recording" means the transcription, photograph, photocopy, or other
    facsimile of the image of the outside cover, envelope. or wrapper of mailed matter. A warrant
    or court order is almost always required to obtain the contents of any class of mail, sealed or
    unsealed.
    18.6.10.5     (U) STANDARD FOR USE AND APPROVAL REQUIREMENTS FOR INVESTIGATIVE
                  METHOD
                                                                                                                b7E




                                                                                                                b7E




    (U IF4313C3). National Security Mail Cover:I                                                                b7E




    (tin rOU8)                                                                                                  b7E




    (U/tFr6tr34) Required Form:                                                                                 b7E

I                                                                                                    li
    address information on the D1OG Res           c PEN.
                                                                                                                b7E
    (Ill/F0448) Criminal Mail Cover:




    (Ultfiebte) Required Form:     r                                                                            b7E




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(UilidaW4) Review and Approval of National Security or Criminal Mail Cover Requests:
Approval of any mail cover request or extension is conditioned on the following criteria being
met:
    A) (U//140U0)                                                                                            b7E




    B) (U//Fbt19)                                                                                            b7E




    C   ruLtRAttcyl                                                                                          b7E




    D) (U//R7tte                                                                                             b7E




    E) (Uhrt3t10)                                                                                            b7E




    F) (U/71-0U0)                                                                                            b7E
                                                                                              Under postal
        regulations, a mail cover must not include matter mailed between the mail cover subject and
        the subjects attorney, unless the attorney is also a subject under the investigation.
    ci)(u7Forrel                                                                                             b7E


    Hyugrou           I                                                                                      b7E


    I) (UifruLrul                                                                                            b7E




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(U) Emergency Requests: When time is of the essence, the Chief Postal Inspector (or
designee at National Headquarters) or after delegation, in criminal mail cover requests, the
Criminal Investigations Service Center Manager (or designee), or the local Inspector in
Charge, may act upon an oral request to be confirmed by the requesting agency, in writing,
within three calendar days. Information may be released prior to receipt of the written request
only when the releasing official is satisfied that an emergency situation exists. See 39 C.F.R. §
233.3(e)(3).
(U) An "emergency situation" exists when the immediate release of information is required to
prevent the loss of evidence or when there is a potential for immediate physical harm to
persons or property. See 39 C.F.R. § 233.3(c)(10).
18.6.10.6       (U) DURATION OF APPROVAL
       A) (U) National Security Mail Covers: No national security mail cover may remain in force for
          longer than 120 continuous days unless personally approved for further extension by the Chief
          Postal Inspector or his/her designees at National Headquarters. Sec 39 C.F.R. § 233.3(g)(6).
       B) (U) Criminal Mail Covers Except Fugitives: A mail cover in a criminal investigation is
          limited to no more than 30 days, unless adequate justification is provided by the requesting
          authority. See 39 C.F.R. § 233.3(g)(5). Renewals may he granted for additional 30-day
          periods, up to the maximum of 120 days, under the same conditions and procedures applicable
          to the original request. The requesting authority must provide a statement of the investigative
          benefit of the mail cover and anticipated benefits to he derived from the extension.
       C) (U) Fugitives: No mail cover instituted to locate a fugitive may remain in force for longer
          than 120 continuous days unless personally approved for further extension by the Chief Postal
          Inspector or his/her designees at National Headquarters. See 39 C.F.R. § 233.3(g)(6).
       D) (U) Exception for Indictments and Information: Except for fugitive investigations, no mail
          cover may remain in force when an information has been filed or the subject has been indicted
          for the matter for which the mail cover has been requested. If the subject is under investigation
          for further criminal violations, or a mail cover is required to assist in the identification of
          property, proceeds or assets forfeitable because of a violation of criminal law, a new mail
          cover order must be requested. See 39 C.F.R. § 233.3(g)(7)                                          b7E




18.6.10.7       (U) STORAGE OF MAIL COVER INFORMATION

(U//FOLIO) The Postal Regulation requires that physical storage of all reports issued pursuant
to a mail cover request to be at the discretion of the Chief Postal Inspector. See 39 C.F.R. §
233.3(h)(1). Accordingly, FBI employees must conduct a timely review of mail cover
documents received from the USPS. A copy of the signed mail cover request and the signed
transmittal letter must be maintained in the investigative file.
18.6.10.8       (U) RETURN OF MAIL. COVER INFORMATION TO USPS

(U//                                                                                                          b7E




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18.6.10.9    (U) COMPLIANCE AND MONITORING

(U/,TOUO) FBI employees must conduct a timely review of mail cover information received
from the USPS for any potential production of data beyond the scope of the requested mail
cover ("overproduction"). Overproduced information from a mail cover must not he serialized
into any FBI database or used in any manner.
    A) (U//1 U ) Criminal Mail Cover - Overp odu ion:I                                          b7E




    B) (U//F U ) National Security Mail Cover -Overproduction:                                  b7E




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18.6.11 (U) INVESTIGATIVE METHOD: POLYGRAPH EXAMINATIONS

 18.6.11.1      (U)SUMMARY
(U//FOUO) The polygraph examination is used in Predicated Investigations to: (i) aid in
determining whether a person has pertinent knowledge of a particular matter under
investigation or inquiry; (ii) aid in determining the truthfulness of statements made or
information furnished by a subject, victim. witness, CH& or an individual making allegations;
and (iii) obtain information leading to the location of evidence, individuals or sites of offense.
(U/lf-ebte4                                                                                            b7E




(U//F      ) This policy does not limit other authorized uses of polygraph method outside of
Assessments or Predicated Investigations, such as the FBI's responsibilities to conduct
background checks and inquiries concerning applicants and employees under federal
personnel security programs.
 18.6.11.2      (U) APPLICATION

(U//Fee(21)                                                                                            b7E

                                        not otherwise prohibited by AGG-Dom, Part III.B.2-3




 18.6.11.3      (U) LEGAL AUTHORITY
(U) AGG-Dom. Part V.A.6.
 18.6.11.4      (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR INVESTIGATIVE
                METHOD
(U//feee)) An SSA may approve the use of a polygraph if:
  A)             ette)l                                                                                b7E

  B)      (U//Fie).149)

  C)         U//1'

(U//FOUOII



 18.6.11.5      (U) DURATION OF APPROVAL
 IV/                                                                                                   b7E



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18.6.11.6      (U) SPECIFIC PROCEDURES

(U//POU0) An EC must he prepared requesting SSA approval for the polygraph. If an AUSA
is assigned to the investigation. an FBI employee must confer with the USAO to discuss any
prosecutorial issues prior to the administration of a polygraph.
18.6.11.7      (U) COMPLIANCE AND MONITORING

(U//F U ) All polygraphs conducted in Predicated Investigations must be documented in the
 ins   t . dive fUr                                                                              b7E




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18.6.12 (U) INVESTIGATIVE METHOD: SEARCHES THAT DO NOT REQUIRE A
            WARRANT OR COURT ORDER                                                                     b7E


                                          AND INVENTORY SEARCHES GENERALLY

  18.6.12.1       (U)SCMMARY
(U) The Fourth Amendment to the United States Constitution prevents the FBI from
conducting unreasonable searches and seizures. It also generally requires a warrant be
obtained if the search will intrude on a reasonable expectation of privacy. To qualify as a
"reasonable expectation of privacy," the individual must have an actual subjective expectation
of privacy and society must be prepared to recognize that expectation as objectively
reasonable. See Katz v. United States. 389 U.S. at 361. If an individual has a reasonable
expectation of privacy, a warrant or order issued by a court of competent jurisdiction or an
exception to the requirement for such a warrant or order is required before a search may be
conducted. Physical searches of personal or real property may be conducted without a search
warrant or court order if there is no reasonable expectation of privacy in the property or area.
As a general matter, there is no reasonable expectation of privacy in areas that are exposed to
public view or that are otherwise available to the public.
 (U//COBS) Note: Consent Searches are authorized in Assessments, as well as in Predicated
 Investigations.
 (U) A reasonable expectation of privacy may be terminated by an individual abandoning
 property, setting trash at the edge of the curtilage or beyond for collection, or when a private
 party reveals the contents of a package (See DIOG subsection 18.6.12.4.2. However, the
 AGG-Dorn and FBI policy have restricted the use of "trash covers" to Predicated
 Investigations.                                                                                       b7E

  18.6.12.2       (U) APPLICATION
                                                                                                       b7E
 (1)//Pett86.




 (Uf/F0S84                                                                                             b7E


 (Uf/c81814511)                                                                                        b7E




  18.6.12.3       (U) LEGAL AUTHORITY
      A) (U) AGG-Dom, Part V.A.3,
      B) (U) Fourth Amendment to the United States Constitution

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18.6.12.4     (U) DEFINITION OF INVESTIGATIVE METHOD
       18.6.12.4.1      (U) DISTINCTION BETWEEN A TRASH COVER, A SEARCH OF ABANDONED
                        PROPERTY IN A PUBLIC RECEPTACLE, AND ADMINISTRATIVE INVENTORY
                        SEARC1146 OF A LOST OR MISPLACED ITEM

   A) (1.1ftfite/tIttY) Trash Cover:                                                                        b7E


                                              A trash cover is a targeted effort to gather information
       regarding a particular person or entity by reviewing that person or entity's refuse. Generally, a
       trash cover is planned in advance based upon information indicating that a specific trash
       container will contain evidence or intelligence of an investigative interest within a specified
       period of time.
   B) (11//1-0701

                                                                 If. for example, an FBI employee


       value in any public trash receptacle, the FBI employee may recover the item(s) without havi ig
       an Assessment or Predicated Investigation open at that time.
   C     (0//11€1Y6)




   D) (U)




   (U)




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     (U)                                                                                                 b7E




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     (U)


       18.6.12.4.2     (U) DETERMINATION OF AN AREA OF CURTILAGE AROUND A HOME

(U) Whether an area is curtilage around a home is determined by reference to four factors:
proximity of the area in question to the home; (ii) whether the area is within an enclosure
surrounding the home; (iii) nature of the use to which the area is put; and (iv) steps taken to
protect the area from observation by passers-by.
(U) An area is curtilage if it is so intimately tied to the home itself that it should be placed
under the home's umbrella of Fourth Amendment protection.
 18.6.12.5    (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR A TRASH
              COVER
            ) SSA approval is required for the use of a trash cover. In Type 5 Assessments,
prior to using a trash cover, the employee must also consult with the CDC or OGC to
determine whether the search implicates a reasonable expectation of privacy and thus requires
a search warrant. During Predicated Investigations, if there is a doubt as to whether a person
has a reasonable expectation of privacy in the area to be searched, the employee must consult
with the CDC or OGC to determine whether a search warrant is required. Use of this method
must be documented in the investigative file.




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 18.6.12.6       (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS RETRIEVAL OF
                 DISCARDED OR ABANDONED PROPERTY, ADMINISTRATIVE SEARCHES OF
                 LOST OR MISPLACED PROPERTY AND INVENTORY SEARCHES GENERALLY

(I THF-perHer)                                                                           b7E




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18.6.13     (U) INVESTIGATIVE METHOD: UNDERCOVER OPERATIONS

 18.6.13.1      (U) SUMMARY
                                                                                                         b7E
 (U//FOUO)




 (U//FOUO) Undercover operations must be conducted in conformity with The Attorney
 General's Guidelines on Federal Bureau of Investigation Undercover Operations (AGG-
 UCO) in investigations relating to activities in violation of federal criminal law that do not
 concern threats to the national security or foreign intelligence. In investigations that concern
 threats to the national security or foreign intelligence, undercover operations involving
 religious or political organizations must be reviewed and approved by FBI Headquarters, with
 participation by the NSD in the review process. (AGG-Dom, Part V.A.7) Other undercover
 operations involving threats to the national security or foreign intelligence are reviewed and
 approved pursuant to FBI policy as described herein.
 (ullmyrryrAnnlication1                                                                I                 b7E




 18.6.13.2      (U) LEGAL AUTHORITY
        A) (U) AGG-Dom, Part V.A.7
        B) (U) AGG-UCO
 18.6.13.3      (U) DEFINITION OF INVESTIGATIVE METHOD
                                                                                                         b7E
   A)       (U//FOU0) Undercover Activity.




   B)       (U//F131441)




        C) (U//FOU0) Undercover Operation:1
                                                                                                    11

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      18.6.13.3.1     (U) DISTINCTION BETWEEN SENSITIVE CIRCUMSTANCE AND SENSITIVE
                      INVESTIGATIVE MATTER

(U//FOUO)I



                                                                  in the AGG-UCO and the
USOPG and for national security matters in the NSUCOPG



              The detailed policy for undercover operations is described in this section of
the DIOG, the USOPG, the NSUCOPG, and the FBIHQ operational division PGs.
18.6.13.4    (U/IFOU0) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR
             INVESTIGATIVE METHOD
      18.6.13.4.1     (U) STANDARDS FOR USE OF INVESTIGATIVE METHOD
(U//FOUO) An official considering approval or authorization of a proposed undercover
application must weigh the risks and benefits of the operation, giving careful consideration to
the following:
    A) (U//FOU0) The risks of personal injury to individuals, property damage, financial loss to
       persons or business, damage to reputation, or other harm to persons;
    B) (U//FOUO) The risk of civil liability or other loss to the government;
    C) (U//FOUO) The risk of invasion of privacy or interference with privileged or confidential
       relationships and any potential constitutional concerns or other legal concerns;
    D) (U//FOU ) The risk that individuals engaged in undercover operations may become involved
       in illegal conduct; and
    E) (U//FOUO) The suitability of government participation in the type of activity that is expected
       to occur during the operation. See AGG-UCO, Part IV.A.

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    F) U//1-0U0                                                                          1

      18.6.13.4.2        (U/IrtIVO) APPROVAL REQUIREMENTS FOR UCOS (INVESTIGATIONS OF
                         VIOLATIONS OF FEDERAL CRIMINAL LAW THAT DO NOT CONCERN
                         THREATS TO NATIONAL SECURITY OR FOREIGN INTELLIGENCE)

(U//-F4U,Q)



    A) (U//f0U0)1                                                                        1
                                               1
    B)




    C) (uiff6wo)1



    D)




    E) (U//f.01449)11




    F) (U//FOUO) 1



    G) (U//"Mt5.494




    H) (U/PrePt444




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         I) (ullfou0)1


           18.6.13.4.3     (UHF-4144) APPROVAL REQUIREMENTS FOR UCOS




   (ui/PG444911

         A) (U//FerttO)




         B) (U//FOUOJ



         C) (ui+494441

                                                    Ilf the matter involves religious or political
            organizations, the review must include participation by a representative of the DOJ NSD. See
            AGG-Dom, Section V; andl
         D) (UHFOU )1




         E) (U//FOUO)


    18.6.13.5      (U)I                     10IA IN UNDERCOVER OPERATIONS

   (U//FOUOI

         A) (U)I


         B) (U)I



         C)FLJ
             T
                                                                                                   I

         D)0_
             ,

47 (U)



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    18.6.13.6      (U) DURATION OF APPROVAL

    (U//FOLIO) I


    18.6.13.7      (U) ADDITIONAL GUIDANCE
        A) (U//FOU0)



        B) (U/I-F6ttO



        C) (U/Illertil)



    18.6.13.8      (U) COMPLIANCE AND MONITORING, AND REPORTING REQUIREMENTS

    (ufirett49) All UCOs must provide and                                 asing the
I          Ito appropriate




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18.7     (U) AUTHORIZED INVESTIGATIVE METHODS IN FULL INVESTIGATIONS

(U) See AGG-Dom, Part V.A.11-13.
(U) In Full Investigations, to include Enterprise Investigations, the authorized investigative
methods include:
        A) (U) The investigative methods authorized for Assessments.
           1) (U) Public information. (See Section 18.5,1)
           2) (U) Records or information - FBI and DOJ. (See Section 18.5,2)
           3) (U) Records or information - Other federal, state, local, tribal, or foreign government
              agency. (See Section 1. 8.5.'3)
           4) (U) On-line services and resources. (See Section 18,5.4)
           5) (U) CHS use and recruitment. (See Section 18.55)
           6) (U) Interview or request information from the public or private entities. (See Section
              18.5.6)
           7) (U) Information voluntarily provided by governmental or private entities. (See Section
              18,5.7)
           8) (U) Physical Surveillance (not requiring a court order). (See Section 18,5.,
        B) (U) The investigative methods authorized for Preliminary Investigations.
           1) (U) Consensual monitoring of communications, including electronic communications. (See
              Section 18,6.1)
           2) (U) Intercepting the communications of a computer trespasser. (See Section 18.6.2)
           3) (U) Closed-circuit television/video surveillance, direction finders, and other monitoring
              devices. (See Section 18.63)
           4) (U) Administrative subpoenas. (See Section 18.6A)
           5) (U) Grand jury subpoenas. (See Section 18.6,5)
           6) (U) National Security Letters. (See Section 18.6.6)
           7) (U) FISA Order for business records. (See Section 18.6.7)
           8) (U) Stored wire and electronic communications and transactional records. (See Section
              18,6.8)48
           9) (U) Pen registers and trap/trace devices. (See Section 18.69)
           10) (U) Mail covers. (See Section 18.6.10)
           11) (U) Polygraph examinations. (See Section 18.6,11)
           12) (U) Trash Covers (Searches that do not require a warrant or court order). (See Section
              18.6.12)
           13) (U) Undercover operations. (See Section 18.613)



48(U//FOUO) The use of Search Warrants to obtain this information in Preliminary Investigations is
prohibited. (See DIOG Section 18.6.8.4.2.3)

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       C) (U) Searches — with a warrant or court order (reasonable expectation of privacy). (See Section
          18.7.1 below)
       D) (U) Electronic surveillance — Title III. (See Section 1 8.7.2 below)
       E) (U) Electronic surveillance — FISA and FISA Title VII (acquisition of foreign intelligence
          information). (See Section 1,7.3 below)
(UHF4940) Not all investigative methods are authorized while collecting foreign intelligence as
part of a Full Investigation. See DIOG Section 9 for more information.




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 18.7.1       (U) INVESTIGATIVE METHOD: SEARCHES - WITH A WARRANT OR COURT
              ORDER (REASONABLE EXPECTATION OF PRIVACY)
(U) See AGG-Dom, Part V.A.12 and the Attorney General's Guidelines On Methods Of
Obtaining Documentary Materials Held By Third Parties, Pursuant to Title II, Privacy Protection
Act of 1980 (Pub. L. 96-440, Sec. 201 et seq.; 42 U.S.C. § 2000aa-11, et seq.).
   18.7.1.1      (U) SUMMARY

  (U) The Fourth Amendment to the United States Constitution governs all searches and
  seizures by government agents. The Fourth Amendment contains two clauses. The first
  establishes the prohibition against unreasonable searches and seizures. The second provides
  that no warrant (authorizing a search or seizure) will be issued unless based on probable
  cause. Although an unlawful search may not preclude a prosecution, it can have serious
  consequences for the government. These include adverse publicity, civil liability against the
  employee or the government and the suppression of evidence from the illegal seizure.
  (U//FOUO) Application:




  (U) A search is a government invasion of a person's privacy. To qualify as reasonable
  expectation of privacy, the individual must have an actual subjective expectation of privacy
  and society must be prepared to recognize that expectation as objectively reasonable. See
  Katz v. United States, 389 U.S. at 361. The ability to conduct a physical search in an area or
  situation where an individual has a reasonable expectation of privacy requires a warrant or
  order issued by a court of competent jurisdiction or an exception to the requirement for such a
  warrant or order. The warrant or order must be based on probable cause. The United States
  Supreme Court defines probable cause to search as a "fair probability that contraband or
  evidence of a crime will be found in a particular place." Illinois v. Gates, 462 U.S. 213, 238
  (1983). A government agent may conduct a search without a warrant based on an individual's
  voluntary consent. A search based on exigent circumstances may also be conducted without a
  warrant, but the requirement for probable cause remains.
  (U//F48440) There are special rules that must be followed prior to obtaining a search warrant
  that might intrude upon professional, confidential relationships.
   18.7.1.2      (U) LEGAL AUTHORITY

  (U) Searches conducted by the FBI must be in conformity with FRCP Rule 41; FISA, 50
  U.S.C. §§ 1821-1829; or E.O. 12333 § 2.5.




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18.7.1.3      (U) DEFINITION OF INVESTIGATIVE METHOD
(U) Physical Search defined: A physical search constitutes any physical intrusion within the
United States into premises or property (including examination of the interior of property by
technical means) that is intended to result in the seizure, reproduction, inspection, or alteration
of information, material, or property, under circumstances in which a person has a reasonable
expectation of privacy.
(U) A physical search requiring a warrant does not include: (i) electronic surveillance as
defined in FISA or Title III; or (ii) the acquisition by the United States Government of foreign
intelligence information from international foreign communications, or foreign intelligence
activities conducted according to otherwise applicable federal law involving a foreign
electronic communications system, using a means other than electronic surveillance as
defined in FISA.
      18.7.1.3.1       (U) REQUIREMENT FOR REASONABLENESS

(U) By the terms of the Fourth Amendment, a search must be reasonable at its inception and
reasonable in its execution]




      18.7.1.3.2       (U) REASONABLE EXPECTATION OF PRIVACY

(U) The right of privacy is a personal right, not a property concept. It safeguards whatever an
individual reasonably expects to be private. The protection normally includes persons,
residences, vehicles, other personal property, private conversations, private papers and
records. The Supreme Court has determined that there is no reasonable expectation of privacy
in certain areas or information. As a result, government intrusions into those areas do not
constitute a search and, thus, do not have to meet the requirements of the Fourth Amendment.
These areas include: (i) open fields; (ii) prison cells; (iii) public access areas; and (iv) vehicle
identification numbers. The Supreme Court has also determined that certain governmental
practices do not involve an intrusion into a reasonable expectation of privacy and, therefore,
do not amount to a search. These practices include: (i) aerial surveillance conducted from
navigable airspace; (ii) field test of suspected controlled substance; and (iii) odor detection. A
reasonable expectation of privacy may be terminated by an individual taking steps to
voluntarily relinquish the expectation of privacy, such as abandoning property or setting trash
at the edge of the curtilage or beyond for collection.
      18.7.1.3.3       (II) ISSUANCE OF SEARCH WARRANT

(U) Under FRCP Rule 41, upon the request of a federal law enforcement officer or an attorney
for the government, a search warrant may be issued by:
    A) (U) a federal magistrate judge, or if none is reasonably available, a judge of a state court of
       record within the federal district, for a search of property or for a person within the district;
    B) (U) a federal magistrate judge for a search of property or for a person either within or outside
       the district if the property or person is within the district when the warrant is sought but might
       move outside the district before the warrant is executed;


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    C) (U) a federal magistrate judge in any district in which activities related to the terrorism may
       have occurred, for a search of property or for a person within or outside the district, in an
       investigation of domestic terrorism or international terrorism (as defined in 18 U.S.C. § 2331);
       and
    D) (U) a magistrate with authority in the district to issue a warrant to install a tracking device.
       The warrant may authorize use of the device to track the movement of a person or property
       located within the district, outside, or both.
(U) Physical searches related to a national security purpose may be authorized by the FISC.
(50 U.S.C. §§ 1821-1829)
      18.7.1.3.4       (U) PROPERTY OR PERSONS THAT MAY BE SEIZED WITH A WARRANT
(U) A warrant may be issued to search for and seize any: (i) property that constitutes evidence
of the commission of a criminal offense; (ii) contraband, the fruits of crime, or things
otherwise criminally possessed; or (iii) property designed or intended for use or that is or has
been used as the means of committing a criminal offense. In addition to a conventional search
conducted following issuance of a warrant, examples of search warrants include:
            18.7.1.3.4.1 (U) ANTICIPATORY WARRANTS
    (U) As the name suggests, an anticipatory warrant differs from other search warrants in
    that it is not supported by probable cause to believe that contraband exists at the premises
    to be searched at the time the warrant is issued. Instead, an anticipatory search warrant is
    validly issued where there is probable cause to believe that a crime has been or is being
    committed, and that evidence of such crime will be found at the described location at the
    time of the search, but only after certain specified events transpire. These conditions
    precedent to the execution of an anticipatory warrant, sometimes referred to as
    "triggering events," are integral to its validity. Because probable cause for an anticipatory
    warrant is contingent on the occurrence of certain expected or "triggering" events,
    typically the future delivery, sale, or purchase of contraband, the judge making the
    probable cause determination must take into account the likelihood that the triggering
    event will occur on schedule and as predicted. Should these triggering events fail to
    materialize, the anticipatory warrant is void.
            18.7.1.3.4.2 (U) SNEAK AND PEEK SEARCH WARRANTS
    (U) A sneak and peek search warrant allows law enforcement agents to surreptitiously
    enter a location such as a building, an apartment, garage, storage shed, etc., for the
    purpose of looking for and documenting evidence of criminal activity'                  I




            18.7.1.3.4.3 (U) MAIL OPENINGS
    (U) Mail in United States postal channels may be searched only pursuant to court order,
    or presidential authorization. United States Postal Service regulations governing such

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  activities must be followed. A search of items that are being handled by individual
  couriers, or commercial courier companies, under circumstances in which there is a
  reasonable expectation of privacy, or have been sealed for deposit into postal channels,
  and that are discovered within properties or premises being searched, must be carried out
  according to unconsented FISA or FRCP Rule 41 physical search procedures.
         18.7.1.3.4.4 (U) COMPELLED DISCLOSURE OF THE CONTENTS OF STORED WIRE
                      OR ELECTRONIC COMMUNICATIONS
  (U) Contents in "electronic storage" (e.g., unopened e-mail/voice mail) require a search
  warrant. See 18 U.S.C. § 2703(a). A distinction is made between the contents of
  communications that are in electronic storage (e.g., unopened e-mail) for less than 180
  days and those in "electronic storage" for longer than 180 days, or those that are no
  longer in "electronic storage" (e.g., opened e-mail). In enacting the ECPA, Congress
  concluded that customers may not retain a "reasonable expectation of privacy" in
  information sent to network providers. However, the contents of an e-mail message that
  is unopened should nonetheless be protected by Fourth Amendment standards, similar to
  the contents of a regularly mailed letter. On the other hand, if the contents of an unopened
  message are kept beyond six months or stored on behalf of the customer after the e-mail
  has been received or opened, it should be treated the same as a business record in the
  hands of a third party, such as an accountant or attorney. In that case, the government
  may subpoena the records from the third party without running afoul of either the Fourth
  or Fifth Amendment. If a search warrant is used, it may be served on the provider without
  notice to the customer or subscriber.
 18.7.1.3.4.4.1      (U) SEARCH WARRANT

  (U//f0943a) Investigators can obtain the full contents of a network account with a search
  warrant. ECPA does not require the government to notify the customer or subscriber
  when it obtains information from a provider using a search warrant. Warrants issued
  under 18 U.S.C. § 2703 must either comply with FRCP Rule 41 or be an equivalent state
  warrant. Warrants issued pursuant to 18 U.S.C. § 2703 do not require personal service on
  the customer; the warrants are only be served on the electronic communication service or
  a remote computing service. FRCP Rule 41 requires a copy of the warrant be left with the
  provider, and a return and inventory be made. Federal courts have nationwide jurisdiction
  to issue these search warrants (see below).
  (U) With a search warrant issued based on probable cause pursuant to FRCP Rule 41 or
  an equivalent state warrant, the government may obtain:
  A) (U) The contents of a wire or electronic communication that has been in electronic storage in
     an electronic communications system for one hundred and eighty days or less, and
  B) (U) Everything that can be obtained using a 18 U.S.C. § 2703(d) court order with notice.
  (U) In other words, every record and all of the stored contents of an account—including
  opened and unopened e-mail/voice mail— can be obtained with a search warrant based
  on probable cause pursuant to FRCP Rule 41. Moreover, because the warrant is issued by
  a neutral magistrate based on a finding of probable cause, obtaining a search warrant
  effectively insulates the process from challenge under the Fourth Amendment.


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 18.7.1.3.4.4.2      (U) NATIONWIDE SCOPE

  (U) Search warrants under 18 U.S.C. § 2703(a) may be issued by a federal "court with
  jurisdiction over the offense under investigation," and may be executed outside the
  district of the issuing court for material responsive to the warrant. State courts may also
  issue warrants under 18 U.S.C. § 2703(a), but the statute does not give these warrants
  effect outside the issuing court's territorial jurisdiction. As with any other FRCP Rule 41
  warrant, investigators must draft an affidavit and a proposed warrant that complies with
  FRCP Rule 41.
 18.7.1.3.4.4.3      (U) SERVICE OF PROCESS

  (U) 18 U.S.C. § 2703(a) search warrants are obtained just like any other FRCP Rule 41
  search warrant but are typically served on the provider and compel the provider to find
  and produce the information described in the warrant. ECPA expressly states that the
  presence of an officer is not required for service or execution of a search warrant issued
  pursuant to 18 U.S.C. § 2703(a).
 18.7.1.3.4.4.4      (U) COURT ORDER WITH PRIOR NOTICE TO THE SUBSCRIBER OR CUSTOMER

  (Uhreeblei-Investigators can obtain everything in a network account except for
  unopened e-mail or voice-mail stored with a provider for 180 days or less using a 18
  U.S.C. § 2703(d) court order with prior notice to the subscriber unless they have obtained
  authority for delayed notice pursuant to 18 U.S.C. § 2705. ECPA distinguishes between
  the contents of communications that are in "electronic storage" (e.g., unopened e-mail)
  for less than 180 days, and those that have been in "electronic storage" for longer or that
  are no longer in "electronic storage" (e.g., opened e-mail).
  (U) FBI employees who obtain a court order under 18 U.S.C. § 2703(d), and either give
  prior notice to the subscriber or comply with the delayed notice provisions of 18 U.S.C. §
  2705(a), may obtain:
  A) (U) "The contents of a wire or electronic communication that has been in electronic storage in
     an electronic communications system for more than one hundred and eighty days." 18 U.S.C.
     § 2703(a).
  B) (U) "The contents of any wire or electronic communication" held by a provider of remote
     computing service "on behalf of . . . a subscriber or customer of such remote computing
     service," 18 U.S.C. §§ 2703(b)(1)(B)(ii), 2703 (b)(2); and
  C) (U) Everything that can be obtained using a 18 U.S.C. § 2703(d) court order without notice.
  (U)I




  (U)




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  18.7.1.3.4.4.5       (U) LEGAL STANDARD

   (U) To order delayed notice, the court must find that "there is reason to believe that
   notification of the existence of the court order may... endanger the life or physical safety
   of an individual; [lead to] flight from prosecution; [lead to] destruction of or tampering
   with evidence; [lead to] intimidation of potential witnesses; or . . . otherwise seriously
   jeopardiz[e] an investigation or unduly delay[ ] a trial." 18 U.S.C. §§ 2705(a)(1)(A) and
   2705(a)(2). The applicant must satisfy this standard anew each time an extension of the
   delayed notice is sought.
  18.7.1.3.4.4.6       (U) NATIONWIDE SCOPE

   (U) Federal court orders under 18 U.S.C. § 2703(d) have effect outside the district of the
   issuing court. Orders issued pursuant to18 U.S.C. § 2703(d) may compel providers to
   disclose information even if the information is stored outside the district of the issuing
   court. See 18 U.S.C. § 2703(d) ("any court that is a court of competent jurisdiction" may
   issue a 18 U.S.C. § 2703[d] order); 18 U.S.C. § 2711(3) (court of competent jurisdiction
   includes any federal court having jurisdiction over the offense being investigated without
   geographic limitation).
   (U) 18 U.S.C. § 2703(d) orders may also be issued by state courts. See 18 U.S.C. §§
   2711(3), 3127(2)(B). Such orders issued by state courts, however, do not have effect
   outside the jurisdiction of the issuing state. See 18 U.S.C. §§ 2711(3).
  18.7.1.3.4.4.7       (U) COURT ORDER WITHOUT PRIOR NOTICE TO THE SUBSCRIBER OR
                       CUSTOMER

   (U) A court order under 18 U.S.C. § 2703(d) may compel disclosure of:
   A) (U) All "record(s) or other information pertaining to a subscriber to or customer of
      such service (not including the contents of communications [held by providers of
      electronic communications service and remote computing service])," and
   B) (U) Basic subscriber information that can be obtained using a subpoena without
      notice. 18 U.S.C. § 2703(c)(1).
18.7.1.4      (U) APPROVAL REQUIREMENTS FOR INVESTIGATIVE METHOD
 A)        (U//FOUO) Search warrants issued under authority of FRCP Rule 41: A warrant
           to search is issued by a federal magistrate (or a state court judge if a federal
           magistrate is not reasonably available). Coordination with the USAO or DOJ is
           required to obtain the warrant.
   B) (11//F43140) FISA: In national security investigations, field office requests for FISA
      authorized physical searches must be submitted to FBIHQ using the FBI FISA
      Request Form. Field office requests for FISA approval are tracked througl-
      This form should be completed by the case agent.
   C) (U//FOUO) Sensitive InvestiJative Matters (SIM): Notice to the appropriate FBIHQ
      operational Unit Chief and Section Chief is required if the matter under investigation

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       is a sensitive investigative matter. Notice to DOJ is also required, as described in
       DIOG Section 10.
    D) (U//FC4444)I




(U) 28 C.F.R. § 50.10(b)(1)(ii) provides guidance on categories of individuals and entities not
by, and therefore not entitled to the protections of the DOJ policy set out above.

18.7.1.5     (U) DURATION OF APPROVAL
(U) The duration for the execution of a warrant is established by the court order or warrant.
18.7.1.6     (U) SPECIFIC PROCEDURES

      18.7.1.6.1      (U) OBTAINING A WARRANT UNDER FRCP RULE 41
            18.7.1.6.1.1 (U) PROBABLE CAUSE
    (UNFOUO) After receiving an affidavit or other information, a magistrate judge or a
    judge of a state court of record must issue the warrant if there is probable cause to search
    for and seize a person or property under FRCP Rule 41(c). Probable cause exists where
    "the facts and circumstances within the FBI employee's knowledge, and of which they
    had reasonably trustworthy information are sufficient in themselves to warrant a person
    of reasonable caution in the belief that..." a crime has been or is being committed, and
    that sizable property can be found at the place or on the person to be searched. Probable
    cause is a reasonable belief grounded on facts. In judging whether a reasonable belief
    exists, the test is whether such a belief would be engendered in a prudent person with the
    officer's training and experience. To establish probable cause, the affiant must
    demonstrate a basis for knowledge and belief that the facts are true and that there is
    probable cause to believe the items listed in the affidavit will be found at the place to be
    searched.
            18.7.1.6.1.2 (U) REQUESTING A WARRANT IN THE PRESENCE OF A JUDGE
    A) (U) Warrant on an Affidavit: When a federal law enforcement officer or an attorney for the
       government presents an affidavit in support of a warrant, the judge may require the affiant to
       appear personally and may examine under oath the affiant and any witness the affiant
       produces.
    B) (U) Warrant on Sworn Testimony: The judge may wholly or partially dispense with a written
       affidavit and base a warrant on sworn testimony if doing so is reasonable under the
       circumstances.
    C) (U) Recordinj Testimony: Testimony taken in support of a warrant must be recorded by a
       court reporter or by a suitable recording device, and the judge must file the transcript or
       recording with the clerk, along with any affidavit.




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             18.7.1.6.1.3 (U) REQUESTING A WARRANT BY TELEPHONIC OR OTHER MEANS
A)        (U) In General: A magistrate judge may issue a warrant based on information
          communicated by telephone or other appropriate means, including facsimile transmission.
     B) (U) Recording Testimony: Upon learning that an applicant is requesting a warrant, a
        magistrate judge must: (i) place under oath the applicant and any person on whose testimony
        the application is based; and (ii) make a verbatim record of the conversation with a suitable
        recording device, if available, or by a court reporter, or in writing.
     C) (U) Certifying Testimony: The magistrate judge must have any recording or court reporter's
        notes transcribed, certify the transcription's accuracy, and file a copy of the record and the
        transcription with the clerk. Any written verbatim record must be signed by the magistrate
        judge and filed with the clerk.
     D) (U) Suppression Limited: Absent a finding of bad faith, evidence obtained from a warrant
        issued under FRCP Rule 41(d)(3)(A) is not subject to suppression on the ground that issuing
        the warrant in that manner was unreasonable under the circumstances.
             18.7.1.6.1.4 (U) ISSUING THE WARRANT
     (U) In general, the magistrate judge or a judge of a state court of record must issue the
     warrant to an officer authorized to execute it. The warrant must identify the person or
     property to be searched, identify any person or property to be seized, and designate the
     magistrate judge to whom it must be returned. The warrant must command the officer to:
     (i) execute the warrant within a specified time no longer than 14 days; (ii) execute the
     warrant during the daytime, unless the judge for good cause expressly authorizes
     execution at another time; and (iii) return the warrant to the magistrate judge designated
     in the warrant.
             18.7.1.6.1.5 (U) WARRANT BY TELEPHONIC OR OTHER MEANS
     (U) If a magistrate judge decides to proceed under FRCP Rule 41(d)(3)(A), the following
     additional procedures apply:
     A) (U) Preparing a Proposed Duplicate Original Warrant: The applicant must prepare a
        "proposed duplicate original warrant" and must read or otherwise transmit the contents of that
        document verbatim to the magistrate judge.
     B) (U) Preparing an Original Warrant: The magistrate judge must enter the contents of the
        proposed duplicate original warrant into an original warrant.
     C) (U) Modifications: The magistrate judge may direct the applicant to modify the proposed
        duplicate original warrant. In that case, the judge must also modify the original warrant.
     D) (U) Signing the Original Warrant and the Duplicate Original Warrant: Upon determining to
        issue the warrant, the magistrate judge must immediately sign the original warrant, enter on its
        face the exact time it is issued, and direct the applicant to sign the judge's name on the
        duplicate original warrant.
             18.7.1.6.1.6 (U) WRITTEN OPERATION ORDERS FOR SEARCH OPERATIONS
     (U) The ADIC/SAC is responsible to ensure that careful and thorough planning is
     conducted for the successful execution of a high risk search operation involving a
     potentially dangerous situation or subject. The plan must be adapted to each situation and
     must include relevant details to enhance the safety and effectiveness of the agents and

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     officers involved in the search operation. The planning and execution of arrests, raids,
     and searches should be assigned to experienced Agents. All plans must be approved by
     ASACs or their designees.
     (U) Prior to conducting a search operation deemed a high risk, the agent must prepare a
     written operation order (OPORDER) to include the five critical categories: Situation,
     Mission, Execution, Administration and Equipment, and Control and Communication
     (SMEAC), and must utilize the Law Entbrremeni 0 )erations Oreler OPORDER) PD-
     888. In situations where an FBI SWAT Team(s) or the Critical Incident Response
     Group's (CIRG), Tactical Section is involved, the Operations Order Template must be
     used in lieu of the FD-888. See thel
     andl                                                 [or more on the use of the SWAT
     Teams and CIRG, Tactical Section in high risk operations.
     (U) The written OPORDER must be presented in an oral briefing to all personnel
     involved in the execution of the search warrant prior to the operation. During the briefing,
     the briefing agent should stress to the participants of the operation that the search has the
     potential to become dangerous. At the discretion of the field office approving official, the
     CDC/ADC may review the OPORDER (FD888) and/or participate in providing the FBI
     deadly force briefing to the search operation participants.
     (U) Exigent circumstances (i.e., emergency, pressing necessity requiring immediate
     action) may necessitate an oral briefing in lieu of the written OPORDER. The ASAC or
     designee must approve the use of an oral briefing in lieu of a written and approved
     OPORDER in exigent circumstances. An oral briefing must follow the requirements of a
     written OPORDER to address the SMEAC categories identified above. Documentation of
     the oral briefing must occur as soon as possible following the operation by preparing and
     filing the FD-888 or the Operations Order Template, whichever is appropriate for the
     situation.
     (U) The agent may consider utilizing, and/or alerting local authorities to the planned
     search, if appropriate under the circumstances. Although the time of notification is left to
     the discretion of the agent, he/she must consider the jurisdiction of local law
     enforcement, its responsibility to its community and its need to be aware of law
     enforcement actions in its jurisdiction.
             18.7.1.6.1.7 (U) EXECUTING AND RETURNING THE WARRANT
A)        (U) Noting the Time: The officer executing the warrant must enter on its face the exact date
          and time it is executed.
     B) (U) Inventory: An officer present during the execution of the warrant must prepare and verify
        an inventory of any property seized. The officer must do so in the presence of another officer
        and the person from whom, or from whose premises, the property was taken. If either one is
        not present, the officer must prepare and verify the inventory in the presence of at least one
        other credible person.
     C) (U) Receipt: The officer executing the warrant must: (i) give a copy of the warrant and a
        receipt for the property taken to the person from whom, or from whose premises, the property
        was taken; or (ii) leave a copy of the warrant and receipt at the place where the officer took the
        property.


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    D) (U) Return: The officer executing the warrant must promptly return it — together with a copy
       of the inventory — to the magistrate judge designated on the warrant. The judge must, on
       request, give a copy of the inventory to the person from whom, or from whose premises, the
       property was taken and to the applicant for the warrant.
            18.7.1.6.1.8 (U) FORWARDING PAPERS TO THE CLERK
    (U) The magistrate judge to whom the warrant is returned must attach to the warrant a
    copy of the return, the inventory, and all other related papers and must deliver them to the
    clerk in the district where the property was seized. (FRCP Rule 41)
            18.7.1.6.1.9 (U) WARRANT FOR A TRACKING DEVICE
    A) (U) Noting the Time: The officer executing a tracking device warrant must enter on it the
       exact date and time the device was installed and the period during which it was used.
    B) (U) Return: Within 10 calendar days after the use of the tracking device has ended, the officer
       executing the warrant must return it to the judge designated in the warrant.
    C) (U) Service: Within 10 calendar days after use of the tracking device has ended, the officer
       executing the warrant must serve a copy of the warrant on the person who was tracked.
       Service may be accomplished by delivering a copy to the person who, or whose property was
       tracked; or by leaving a copy at the person's residence or usual place of abode with an
       individual of suitable age and discretion who resides at that location and by mailing a copy to
       the person's last known address. Upon request of the government, the judge may delay notice
       as provided in FRCP Rule 41(0(3).
            18.7.1.6.1.10 (U) DELAYED NOTICE
    (U) Upon the government's request, a magistrate judge—or if authorized by FRCP Rule
    41(b), a judge of a state court of record—may delay any notice required by FRCP Rule
    41 if the delay is authorized by statute.
      18.7.1.6.2      (U) OBTAINING A FISA WARRANT
(U) Applications for court-authorized physical search pursuant to FISA must be made by a
federal officer in writing upon oath or affirmation and with the specific approval of the
Attorney General. (See 50 U.S.C. § 1823).
            18.7.1.6.2.1 (U) CERTIFICATE BY THE DIRECTOR OF THE FBI
    (U) Each FISA application must be accompanied by a Certification by the Director of the
    FBI or one of nine other individuals authorized by Congress or the President to provide
    such certifications that: the information being sought is foreign intelligence information;
    that a significant purpose of the search is to obtain foreign intelligence information; that
    such information cannot reasonably be obtained by normal investigative techniques; that
    the information sought is "foreign intelligence information" as defined by FISA. The
    certification must include a statement explaining the certifier's basis for the certification.
    (U) 50 U.S.C. § 1823 specifies the Assistant to the President for National Security
    Affairs; E.O. 12139 as amended by E.O. 13383 specifies the Director of the FBI, Deputy
    Director of the FBI, the Director of National Intelligence, the Principal Deputy Director
    of National Intelligence, the Director of the Central Intelligence Agency, the Secretary of
    State, the Deputy Secretary of State, the Secretary of Defense, and the Deputy Secretary

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  of Defense as appropriate officials to make certifications required by FISA. The FBI
  Director has represented to Congress that the FBI deputy Director will only certify
  FISA's when the FBI Director is not available to do so.
         18.7.1.6.2.2 (U) LENGTH OF PERIOD OF AUTHORIZATION FOR FISC ORDERS
  (U) Generally, a FISC Order approving an unconsented physical search will specify the
  period of time during which physical searches are approved and provide that the
  government will be permitted the period of time necessary to achieve the purpose, or for
  90 days, whichever is less, except that authority may be:
  A) (U) For no more than one year for "Foreign Power" targets (establishments); or
  B) (U) For no more than 120 days for a non-USPER agent of a foreign power, with renewals for
     up to one.
         18.7.1.6.2.3 (U) EXTENSION OF PHYSICAL SEARCH AUTHORITY
  (U//fOUO) An extension of physical search authority may be granted on the same basis
  as the original order upon a separate application for an extension and upon new findings
  made in the same manner as the original order.
         18.7.1.6.2.4 (U) EMERGENCY FISA AUTHORITY
  A) (U) The Attorney General may authorize an emergency physical search under FISA when he
     reasonably makes a determination that an emergency situation exists that precludes advance
     FISA court review and approval, and there exists a factual predication for the issuance of a
     FISA Court Order. In such instances, a FISC judge must be informed by the Attorney General
     or his designee at the time of the authorization and an application according to FISA
     requirements is submitted to the judge as soon as is practicable but not more than seven (7)
     days after the emergency authority has been approved by the Attorney General.
  B) (U) If a court order is denied after an emergency authorization has been initiated, no
     information gathered as a result of the search may be used in any manner except if with the
     approval of the Attorney General, the information indicates a threat of death or serious bodily
     harm to any person.
  C) (U//F.43148} For an emergency FISA for physical search,

                                    ...




         18.7.1.6.2.5 (U) SPECIAL CIRCUMSTANCES
  (U) The President through the Attorney General may also authorize a physical search
  under FISA without a court order for periods of up to one year, if the Attorney General
  certifies that the search will be solely directed at premises, information, material, or
  property that is used exclusively by or under the open and exclusive control of a foreign
  power; there is no substantial likelihood that the physical search will involve the
  premises, information, material, or property of a United States person (USPER); and
  there are minimization procedures that have been reported to the court and Congress. The
  FBI's involvement in such approvals is usually in furtherance of activities pursued
  according to E.O. 12333. Copies of such certifications are to be transmitted to the FISA
  Court. See 50 U.S.C. § 1822[a].


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  (U) Information concerning USPERs acquired through unconsented physical searches
  may only be used according to minimization procedures. See: 50 U.S.C. §§ 1824(d)(4)
  and 1825(a).
          18.7.1.6.2.6 (U) REQUIRED NOTICE
  (U) If an authorized search involves the premises of an USPER, and the Attorney General
  determines that there is no national security interest in continuing the secrecy of the
  search, the Attorney General must provide notice to the USPER that the premises was
  searched and the identification of any property seized, altered, or reproduced during the
  search.
          18.7.1.6.2.7 (U/         }FISH VERIFICATION OF ACCURACY PROCEDURES
  (Ulla4149)                                                                                        b7E



  (U//FOUO) 1



  A) (U/IFOT1-0)1                                                                             I
     submission to the FISC must include                                               I his FISA
                      must be used for copies of all of the supporting documentation relied upon
     when making the certifications contained on the I
   1                                                                                        'must
     include:
     1) (U//F0

     2) (u//44,14e)I                                                                                b7E


     3)(ufirouo)1                                                                            1




  B) (U//FOU0




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         18.7.1.6.2.8 (U) USE OF FISA DERIVED INFORMATION IN OTHER PROCEEDINGS
  (UNFOU0) There are statutory (50 U.S.C. Sections 1806, 1825, and 1845) and Attorney
  General (AG) policy restrictions on the use of information derived from a FISA ELSUR,
  physical search, or PR/TT. These restrictions apply to and must be followed by anyone
  "who may seek to use or disclose FISA information in any trial, hearing, or other
  proceeding in or before any court, department, officer, agency, regulatory body, or other
  authority of the United States. . . ." See DIOG Appendix E for the AG Memo, Revised
  Policy on the Use or Disclosure of FISA Information, dated 01-10-2008. The guidance in
  the AG's Memo establishes notification/approval procedures which must be strictly
  followed. Though not contained in the AG Memo, FBI policy requires that




  (UNFOU0) The United States must, prior to the trial, hearing, or other proceeding or at a
  reasonable time prior to an effort to disclose or use that information or submit it into
  evidence, notify the "aggrieved person" [as defined in 50 U.S.C. Sections 1801(k),
  1821(2), or 1841(2)], and the court or other authority in which the information is to be
  disclosed or used, that the United States intends to disclose or use such information. See
  50 U.S.C. Sections 1806(c), 1825(d), and 1845(c).
         18.7.1.6.2.9 (U//f-efi-01


  (U/if U ) Each investigative file for which an application is or has been prepared for
  submission to the FISC will include a sub-file to be labeled'
                                             This                sub-file is to contain copies
  of all applications to and orders issued by the FISC for the conduct of physical searches
  in the investigation. The following data must be included in this
  A) (U/te0U0
     and
  B) (U//FOUOI

         18.7.1.6.2.10 (U//Fettit)-FISA RENEWALS
  (U1/FOU0)




  (U//




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  (U//FOUO




 18.7.1.6.2.10.1     (U) APPEALING THE DECISION OF THE REVIEW BOARD

  (U/IFOU0)1




          18.7.1.6.2.11 (U) COMPLIANCE AND MONITORING FOR FISA
  (uPfe4444 I



          18.7.1.6.2.12 (U) FISA OVERCOLLECTION
  (uie)1


                    contact NSLB for further guidance regarding the handling of any
  FISA overcollection.




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18.7.2      (U) INVESTIGATIVE METHOD: ELECTRONIC SURVEILLANCE -TITLE III
 18.7.2.1      (U) SUMMARY
 (U//€       -) Electronic Surveillance (ELSUR) under Title III is a valuable investigative
 method. It is, also, a very intrusive means of acquiring information relevant to the effective
 execution of the FBI's law enforcement. To ensure that due consideration is given to the
 competing interests between law enforcement and the effect on privacy and civil liberties, this
 section contains various administrative and management controls beyond those imposed by
 statute and DOJ guidelines. Unless otherwise noted, it is the responsibility of the case agent
 and his/her supervisor to ensure compliance with these instructions.'
                                                                                     itle III ELSUR
 requires: (i) administrative or judicial authorization prior to its use; (ii) contact with the field
 office ELSUR Technician to coordinate all necessary recordkeeping; and (iii) consultation
 with the Technical Advisor (TA) or a designated TTA to determine feasibility, applicability,
 and use of the appropriate equipment.
 (U11F41444 Application]




 18.7.2.2      (U) LEGAL AUTHORITY
 (U) Title III ELSUR is authorized by chapter 119, 18 U.S.C. §§ 2510-2522 (Title III of the
 Omnibus and Safe Streets Act of 1968).
 18.7.2.3      (U) DEFINITION OF INVESTIGATIVE METHOD
 (U) Title III ELSUR is the non-consensual electronic collection of information (usually
 communications) under circumstances in which the parties have a reasonable expectation of
 privacy and court orders or warrants are required.
 18.7.2.4      (U) TITLE III GENERALLY
 (U) With the prior approval of the Attorney General, or Attorney General's designee, the
 United States Attorney, by and through an AUSA, or the Strike Force Attorney, may apply to
 a federal judge for a court order authorizing the interception of wire, oral, or electronic
 communications relating to one or more of the offenses listed in Title III (18 U.S.C. § 2516).
 Judicial oversight continues throughout the operational phase of the electronic surveillance
 including the installation, monitoring, and handling of recording media.
 (U) For purposes of obtaining review and approval for use of the method, Title III
 applications are considered to be either "sensitive" or "non-sensitive." The requirements for
 each are set forth below.
 18.7.2.5      (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR NON-
               SENSITIVE TITLE HIS
 (U//FOU0) An SAC is the authorizing official to approve all requests for "non-sensitive"
 Title III orders, including original, extension, and renewal applications. SAC approval of all

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extensions and renewals is required to ensure that field office managers will allocate the
resources necessary to use this method. Any delegation of SAC approval authority to an
ASAC under this section must be in writing (See DIOG Section 3.4.3).
(Ull-Ffit87 Prior to SAC approval referred to above, CDC or OGC review is required for the
initial "non-sensitive" Title III order. Extensions and renewals sought within 30 days after the
expiration of the original Title III order in non-sensitive Title Ills do not require CDC review,
unless requested by the SAC or designee. The CDC must review renewals sought more than
30 days after the expiration of the original Title III order.
(tymerte) There may be situations or unusual circumstances requiring the FBI to adopt an
already existing Title III from another federal law enforcement agency. Such adoptions may
only be done on a case-by-case basis, in exceptional circumstances, and subject to the
requirements set forth herein relating to CDC review and SAC approval. Should the Title III
proposed for adoption involve sensitive circumstances, it must also be handled in accordance
with the approval and review requirements set forth below.
18.7.2.6      (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR SENSITIVE
              TITLE MS
(UHFOU0) All Title III applications involving one of the seven "sensitive circumstances,"
listed below, including all extensions and renewals, must be reviewed by OGC and approved
by FBIHQ. The SAC, with the recommendation of the CDC, must determine whether the
request involves sensitive circumstances. The term "sensitive circumstances" as used in this
section relating to electronic surveillance under Title III is different from the term "sensitive
investigative matters," as used in conjunction with approval requirements for opening
Assessments and Predicated Investigations, and is different from the term "sensitive
monitoring circumstances" as used in conjunction with the approval requirements for
consensual monitoring.
(U/74F0T444 The field office must include a copy of the completed CDC checklist (FD-926)
when forwarding the initial sensitive Title III applications to OGC and FBIHQ for review.
After the initial submission, the CDC checklist must be completed by the appropriate OGC
unit for all subsequent extensions or renewals of sensitive Title Ills.
(11/1170U0) Although ultimate approval for sensitive Title Ills is at the FBIHQ level, the SAC
or ASAC must continue to review and approve the use of the method for all sensitive Title III
applications as it relates to the allocation of resources within their field office.
(Ili/Fee0) The following five sensitive circumstances require the approval of a Deputy
Assistant Director (DAD) or a higher level official from the Criminal Investigative Division
(CID), Cyber Division, Counterterrorism Division (CTD), Weapons of Mass Destruction
Directorate (WMDD), or Counterintelligence Division (CD), as appropriate, and such
approvals must be documented in an EC:
    A) (UNF-,e.ee'rSignificant privilege issues or First Amendment concerns (e.g., attorney-client
       privilege or other privileged conversations or interception of news media representatives);
    B) (U//FOU0) Significant privacy concerns are anticipated (e.g., placing a microphone in a
       bedroom or bathroom);



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    C) (U/X441:343) Application is based on "relaxed specificity" (i.e., "roving" interception) under 18
       U.S.C. § 2518(11)(a) and (b);
    D) (U//FOU0) Application concerns a Domestic Terrorism (DT), International Terrorism, or
       Espionage investigation; or
    E) (U//FOU ) Any situation deemed appropriate by the AD of CID or OGC.
(U//FOU0) The following two sensitive circumstances require the approval of the Director,
the Acting Director, Deputy Director, or the Executive Assistant Director (EAD) for the
Criminal Cyber Response and Services Branch or National Security Branch, or the respective
Assistant Director for Criminal Investigative Division (CID), Cyber Division,
Counterterrorism Division (CTD), Weapons of Mass Destruction Directorate (WMDD), or
Counterintelligence Division (CD), and such approvals must be documented in an EC:
    A) (U/I9) "Emergency" Title III interceptions (i.e., interceptions conducted prior to judicial
       approval under 18 U.S.C. § 2518(7)); or
    B) (U//F$9) It is anticipated that conversations of members of Congress, federal judges, high-
       level federal officials, high-level state executives, or members of a state judiciary or
       legislature will be intercepted.
(ufirerult "Sensitive circumstances" may develop at any point in time during the course of a
Title III. For example, while an initial application for interceptions might not be considered
sensitive, conversations intercepted thereafter of a high-level state executive would render any
subsequent spinoffs, extensions, or renewals "sensitive" Title III requests.
18.7.2.7      (U) PROCEDURES FOR EMERGENCY TITLE III INTERCEPTIONS
(U//FOUO) 18 U.S.C. § 2518(7) provides that any investigative or law enforcement officer,
specially designated by the Attorney General, Deputy Attorney General, or the Associate
Attorney General, who reasonably determines that an emergency situation exists that requires
communications to be intercepted before an order authorizing such interception can, with due
diligence, be obtained, and there are grounds upon which an order could be entered
authorizing interception, may intercept such communications.
(U//FOUO) Section 2518(7) postpones, rather than eliminates the need for judicial
authorization. If the Attorney General, Deputy Attorney General, or the Associate Attorney
General authorizes an appropriate FBI official to approve an emergency Title III interception,
an after-the-fact application for an order approving the interception must be made in
accordance with Title III to the appropriate Court, and an order obtained, within 48 hours after
the interception has occurred or begins to occur.
(UHFOU0)




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(U) 18 U.S.C. § 2518(7) defines an emergency situation as one involving:
    A) (U) immediate danger of death or serious physical injury to any person,
    B) (U) conspiratorial activities threatening the national security interest, or
    C) (U) conspiratorial activities characteristic of organized crime.
(U//FOUO) In all but the most unusual circumstances, the only situations likely to constitute
an emergency by the Department of Justice (DOJ) are those involving an imminent threat to
life, e.g., a kidnapping, hostage taking, or imminent terrorist activity.
      18.7.2.7.1         (U) OBTAINING EMERGENCY A UTHORIZATION
U/IFOU0                                                                                                 b7E


    A) (U//FOUO)




    B)(ullrewci.J




    C) (UIIFOUO)J




    D) (UHFOU0)
       (U/711'0'171'0)




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      18.7.2.7.2     (U) POST-EMERGENCY AUTHORIZATION
(UNFOU0) Once the AG or his designee has authorized the Director, or his designee to make
the determination whether to proceed with the emergency Title III, the government has 48
hours (including weekends and holidays) from the time the AG granted authorization to apply
for a court order approving the interception. The field office, in coordination with the AUSA,
must immediately begin preparing an affidavit, application and proposed order for court
authorization.
(U//FOUO) The affidavit in support of the after-the-fact application to the court for an order
approving the emergency interception must contain only those facts known to the AG or his
designee at the time the emergency interception was approved. The application must be
accompanied by thel                                                                     !form,
which must reflect the date and time of the emergency authorization.
(U//FOUO) The government may also request, at the time it files for court-authorization for
the emergency, court-authorization to continue the interception beyond the initial 48 hour
period. If continued authorization is sought at the same time, one affidavit may be submitted
in support of both requests. However, the affidavit must clearly indicate what information was
communicated to the AG or his designee at the time the emergency interception was approved
and what information was developed thereafter. Two separate applications and proposed
orders should be submitted to the court in this situation — one set for the emergency and one
set for the extension. If continued interceptions are not being sought, no further authorization
is needed from OEO. The AUSA should, however, still submit the application, affidavit, and
order to OEO for review. If continued interceptions are sought, that application, affidavit, and
order must be reviewed by OEO and approved by DOJ like any other Title III request. In
either situation, the affidavit must also be submitted through the operational unit for OGC
review, when time allows.
(U//FOUO)




(U//FOLIO) Pursuant to 18 U.S.C. § 2518(7), in the absence of a court order, interception
shall immediately terminate when the communication sought is obtained or when the
application for the order is denied, whichever is earlier. In the event an application for
approval is denied, or in any other case where the interception is terminated without an order
having been issued, the contents of any wire, oral, or electronic communication intercepted

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shall be treated as having been obtained in violation of Title III, and an inventory shall be
served on the person named in the application.
(UN-Pet-44

    A) (ufireirro)
    B) (U/++30(e0)
    C) (U/IF U )
(U//FOUO)I

    A? (U/TrFrit
                                                   I
    B) (U/4414e) I
     I                                                                       I
    C) (U//FOUO1
       I
18.7.2.8      (U) PRE-TITLE III ELECTRONIC SURVEILLANCE (ELSUR) SEARCH POLICY
(U//FAQ) 18 U.S.0 § 2518(1)(e) requires that each application for an order to intercept
wire, oral, or electronic communications (hereinafter "Title III") contain a statement
describing all previous applications for Title III surveillance of the same persons, facilities, or
places named in the current application]




(U) For specific details on how to conduct and document such ELSUR searches, see DIOG
Appendix H.
18.7.2.9      (U) DURATION OF APPROVAL FOR TITLE III
(U) Court orders issued pursuant to Title III are for a period not to exceed 30 days. An
"extension" order may be sought to continue monitoring beyond the initial 30-day period
without a lapse in time. When a break in coverage has occurred, a "renewal" order may be
sought to continue monitoring the same interceptees and facilities identified in the original
order. The affidavit and application in support of an extension or renewal must comply with
all of the Title III requirements, including approval of the Attorney General or designee.
18.7.2.10     (U) SPECIFIC PROCEDURES FOR TITLE III AFFIDAVITS
(ufiretT-et) The requirements in 18 U.S.C. § 2518 must be followed in the preparation of a
Title III affidavit. The employee drafting the Title III affidavit and approving officials must
consider the following requirements:
    A) (U//FOUO) The identity and qualifications of the affiant must be articulated;

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    B) (U/+ettO) For the interception of wire or oral communications, the affidavit must establish
       probable cause to believe a violation of at least one of the offenses enumerated in 18 U.S.C. §
       2516(1) has been, is being, or will be committed. For the interception of electronic
       communications, the affidavit must establish probable cause to believe that some federal
       felony has been, is being, or will be committed;
    C) (U/+49439) The affidavit must set forth the identities of those persons, if known, for whom
       there is probable cause to believe they are committing the alleged offenses, even if it is not
       believed they will be intercepted over the target facility. This group of individuals is often
       referred to as the "Subjects." "Interceptees" may be listed separately; "interceptee" are those
       Subjects who are expected to be intercepted;
    D) (U//FOU0) Probable cause must be current and relevant to the use of the particular facilities
       for which interception is sought;
    E) (U//1-0U0) The necessity for the Title III must be articulated. There must be a factual basis
       for concluding that alternative investigative procedures have been tried and failed or a
       demonstration why these procedures appear to be unlikely to succeed or would be too
       dangerous if tried ("boilerplate" statements in this respect are unacceptable);
    F) (U//PeRg.0) Interceptions must be minimized, as statutorily required;
    G)(u/iNeeo) The facility or premises to be intercepted must be described fully, including a
       diagram, if possible, if microphone installation is contemplated (surreptitious entries may not
       be conducted for the purpose of preparing a diagram); and
    H) (U//FOU0) A statement describing all previous applications for Title III surveillance of the
       same persons (both subjects and interceptees), facilities or places named in the current
       affidlyit. To comply with this reouirenient, a "search," e.g., an automated indices search of the
       FBI's'                                    I system and the systems of other appropriate agencies,
       must be conducted prior to submitting the Title III affidavit to the DOJ OEO (non-sensitive
       circumstances) or to the responsible FBIHQ operational unit (sensitive circumstances). The
       squad SSA is responsible for verifying that pre-Title III ELSUR checks have been completed
       before the affidavit is sent to the court. The ELSUR Operations Technician (EOT) and the
       ELSUR supervisor are responsible for confirming that ELSUR searches were properly
       conducted as set forth in the final application submitted to the court.
(U//f41414) Note: When drafting the Title III Affidavit, the agent must determine whether the
proposed Title III intercept involves any of the DOJ-designated seven "sensitive
circumstances" listed in DIOG Section 18.7.2.6. If the proposed Title III will involve one or
more of the seven "sensitive circumstances," the agent must consult with the assigned AUSA
to determine how the "sensitive circumstance(s)" will be addressed and how/when the federal
judge will be notified.
(U//FOUO) Note: It is also recommended that the application include how the FBI will
address any sensitive circumstances as listed in DIOG Section 18.7.2.6, if they exist.
(ulltertto) At least 10 calendar days prior to submitting the original Title III request to DOJ
OEO, the field office must forward an electronic communication to FBIHQ setting forth by
separate subheading: a synopsis of the investigation; the priority of the investigation within
the office; the anticipated manpower and/or linguistic requirements and outside support, if
any, that will be needed; a synopsis of the probable cause supporting the Title III application;
the prosecutive opinion of the USAO; and description of the interceptees. If a field office is
unable to submit the EC 10 calendar days prior to submitting the request to DOJ OEO, the

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field office must advise the operational unit immediately and note the circumstances that
prevent timely notification.
(U//F-41444) Case agents must use the


18.7.2.11     (U) DISPUTE RESOLUTION FOR TITLE III APPLICATIONS
(U//FOUO) When there are legal questions/concerns that cannot be resolved through
discussions with reviewing officials at DOJ, the responsible FBIHQ operational division
supervisors or executives must forward the application to OGC for its review, advice, and
recommendation.
18.7.2.12     (U) REPORTING AND NOTICE REQUIREMENTS — TITLE III
(U




(U/LFOUQ)




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(U//FOUO




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      18.7.2.12.1     (UIIFOUO) NOTICE REQUIREMENTS FOR SENSITIVE INVESTIGATIVE
                      MATTERS (SIM) THAT INVOLVE TITLE III INTERCEPTIONS

(U//FOUO) The anticipated interception of conversations related to a "Sensitive Investigative
Matter" (SIM) as defined in DIOG Section 10 requires notice to the appropriate FBIHQ Unit
Chief and Section Chief, and DOJ Criminal Division. Note: A sensitive investigative matter
(SIM) is not the same as a sensitive circumstance described in DIOG Section 18.7.2.6.
18.7.2.13      (U) JOINT TITLE III OPERATIONS WITH OTHER LAW           ENFORCEMENT
               AGENCIES
      18.7.2.13.1     (U) FEDERAL LAW ENFORCEMENT AGENCIES
(U//FOUO) In joint FBI operations with other federal law enforcement agencies wherein
electronic surveillance is conducted through a Title III installation, the federal agency
administering the electronic surveillance will assume overall responsibility for ELSUR
indexing and recordkeeping. The fact that the investigation is a joint operation with another
federal law enforcement agency must be stated in the affidavit and application for the court
order. The joint federal agency must provide the FBI case agent with a copy of the court order
and application.
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      18.7.2.13.2     (U) STATE AND LOCAL LAW ENFORCEMENT AGENCIES

(U//FOUO) In joint FBI operations involving state and local law enforcement agencies
wherein electronic surveillance is conducted through a federal Title III installation, any state

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officer being used as an affiant must be federally deputized. The FBI will be the administering
agency responsible for the indexing and recordkeeping.
(11/AF4F-08) In joint FBI operations involving state and local law enforcement agencies
wherein electronic surveillance is conducted pursuant to the authorization of a state court (i.e.,
a wiretap authorized by a state court, as opposed to a federal court)




18.7.2.14     (U) EVIDENCE HANDLING

(U//f'OUO) All ELSUR downloading, processing, and handling of original, derivative, and
copies of original or derivative ELSUR evidence must be conducted by an ELSUR operations
technician (EOT) or other designated employee (e.g. an agent who has successfully completed
ELSUR training in Virtual Academy). ELSUR evidence must not be uploaded into




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18.7.3      (U) INVESTIGATIVE METHOD: ELECTRONIC SURVEILLANCE -FISA AND
            FISA TITLE VII (ACQUISITION OF FOREIGN INTELLIGENCE
            INFORMATION)
 18.7.3.1       (U) SUMMARY

 (U//F6(4,1,LELSUR conducted pursuant to the Foreign Intelligence Surveillance Act (FISA)
 is a valuable investigative method. It is, also, a very intrusive means of acquiring information
 relevant to the effective execution of the FBI's national security and intelligence missions. To
 ensure that due consideration is given to the competing interests between national security and
 the effect on privacy and civil liberties, this section contains various administrative and
 management controls beyond those imposed by statute and DOJ guidelines. Unless otherwise
 noted, it is the responsibility of the case agent and his/her supervisor to ensure compliance
 with these instructions. FISA ELSUR is only authorized as an investigative method in the
 conduct of Full Investigations. FISA ELSUR requires administrative or judicial authorization
 prior to its use.
 (11//r6t:T-6.) Coordination:




 (UHR316) Application:




 (U) This section is divided below into FISA (18.7.3.2) and FISA Title VII (18.7.3.3).
 18.7.3.2       (U) FOREIGN INTELLIGENCE SURVEILLANCE ACT (FISA)

         18.7.3.2.1    (U) LEGAL AUTHORITY

 (U) 50 U.S.C. §§ 1801-1811 (FISA) and E.O. 12333 § 2.5.
 (U) FISA Amendments Act of 2008 (P.L.No. 110-261).




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      18.7.3.2.2     (U) DEFINITION OF INVESTIGATIVE METHOD
(U) FISA is the non-consensual electronic collection of information (usually communications)
under circumstances in which the parties have a reasonable expectation of privacy and court
orders or warrants are required.
      18.7.3.2.3     (U) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR FISA
           18.7.3.2.3.1 (U) FISA REQUEST FORM
    (U/IFOUO) FBIHQ and field office requests for FISC ELSUR orders must use the FISA
    Request Form. Field office requests for FISA orders are submitted and tracked through
               The FISA request forms, in a question and answer format, have been designed
    to ensure that all information needed for the preparation of a FISC application is provided
    to FBIHQ and to the DOJ.
    (U//fteR4.4) See
    for additional guidance.
           18.7.3.2.3.2 (U) CERTIFICATE BY THE DIRECTOR OF THE FBI
    (U) Each FISA application must be accompanied by a Certification by the Director of the
    FBI or one of nine other individuals authorized by Congress or the President to provide
    such certifications that: the information being sought is foreign intelligence information;
    that a significant purpose of the electronic surveillance is to obtain foreign intelligence
    information; that such information cannot reasonably be obtained by normal investigative
    techniques; that the information sought is "foreign intelligence information" as defined
    by FISA. The certification must include a statement explaining the certifier's basis for the
    certification.
    (U) Title 50 of the United States Code Section 1804 specifies the Assistant to the
    President for National Security Affairs; E.O. 12139 as amended by E.O. 13383 specifies
    the Director of the FBI, Deputy Director of the FBI, the Director of National Intelligence,
    the Principal Deputy Director of National Intelligence, the Director of the Central
    Intelligence Agency, the Secretary of State, the Deputy Secretary of State, the Secretary
    of Defense, and the Deputy Secretary of Defense as appropriate officials to make
    certifications required by FISA. The FBI Director has represented to Congress that the
    FBI Deputy Director will only certify FISA' s when the FBI Director is not available to
    do so.
           18.7.3.2.3.3 (U) EMERGENCY FISA AUTHORITY (50 U.S.C. § 1805[F])
    (U) The Attorney General, on request from the Director of the FBI or his/her designee,
    may authorize an emergency FISA for electronic surveillance when it is reasonably
    determined that an emergency situation exists that precludes advance FISC review and
    approval and that a factual predication for the issuance of a FISA Order exists. A FISC
    judge must be informed by DOJ at the time of the emergency authorization and an
    application must be submitted to that judge as soon as is practicable but not more than
    seven (7) days after the emergency authority has been approved by the Attorney General.
    If a court order is denied after an emergency surveillance has been opened, no
    information gathered as a result of the surveillance may be used as evidence or disclosed

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       in any trial or other proceeding, and no information concerning any USPER acquired
       from such surveillance may be used or disclosed in any manner, except with the approval
       of the Attorney General if the information indicates a threat of death or serious bodily
       harm to any person.
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         18.7.3.2.4        (U) DURATION OF APPROVAL FOR FISA
(U//F6i7T441




         18.7.3.2.5        (U/IF-0649) SPECIFIC PROCEDURES FOR FISA
(11//F49+71-0) FISA related initiation and renewal rocedures are contained within the FISA
Initiation Form which can be found within              r on the Forms section of the NSLB
library.
                18.7.3.2.5.1 (U//FOU0) FISA VERIFICATION OF ACCURACY PROCEDURES
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       (11//-P4171+)




  A)         (U//F4413Q)
          1) (U//O)

          2) (U//Fetni




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     3) (U//FOU




  B) (U//FOUOJ




         18.7.3.2.5.2 (U) USE OF FISA DERIVED INFORMATION IN OTHER PROCEEDINGS
  (Ili/F.048) There are statutory (50 U.S.C. Sections 1806, 1825, and 1845) and Attorney
  General (AG) policy restrictions on the use of information derived from a FISA ELSUR,
  physical search, or PR/TT. These restrictions apply to and must be followed by anyone
  "who may seek to use or disclose FISA information in any trial, hearing, or other
  proceeding in or before any court, department, officer, agency, regulatory body, or other
  authority of the United States. . . ." See DIOG Appendix E for the AG Memo, Revised
  Policy on the Use or Disclosure of FISA Information, dated 01-10-2008. The guidance in
  the AG's Memo establishes notification/approval procedures which must be strictly
  followed. Though not contained in the AG Memo, FBI policy requires that!




  (Ili/FEN-44) The United States must, prior to the trial, hearing, or other proceeding or at a
  reasonable time prior to an effort to disclose or use that information or submit it into
  evidence, notify the "aggrieved person" [as defined in 50 U.S.C. Sections 1801(k),
  1821(2), or 1841(2)], and the court or other authority in which the information is to be
  disclosed or used, that the United States intends to disclose or use such information. See
  50 U.S.C. Sections 1806(c), 1825(d), and 1845(c).
         18.7.3.2.5.3 (U/fF-04,141) FISA ELECTRONIC SURVEILLANCE ADMINISTRATIVE
                      (FISA ELSUR) Sus-FILE
  (UNFOU0]



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    A) (U//60.14.0

    B) (U//FOUO)
           18.7.3.2.5.4 (U/AFTYCTO) FISA REVIEW BOARD
    (u/449{7Te)1




    (U//FOUO)I




    (11//-Fett6)




   18.7.3.2.5.4.1      (U) APPEALING THE DECISION OF THE REVIEW BOARD

    (U//FOUO)I




      18.7.3.2.6     (U) NOTICE AND REPORTING REQUIREMENTS FOR FISA
(U//U44144)1

      18.7.3.2.7     (U) COMPLIANCE AND MONITORING FOR FISA
(ufiretT-o)


      18.7.3.2.8     (U) SPECIAL CIRCUMSTANCES FOR FISA
(U) Under 50 U.S.C. § 1802, the President, through the Attorney General, may authorize
electronic surveillance under FISA without a court order for periods of up to one year, if the

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Attorney General certifies in writing under oath that the surveillance will be solely directed at
acquiring communications that are transmitted by means that are exclusively between or
among foreign powers and there is no substantial likelihood of the surveillance acquiring the
contents of communications to which USPERs are parties.
      18.7.3.2.9       (U) FISA OVERCOLLECTION

(UNFOU01                                                                                              b7E




contact NSLB for guidance regarding the handling of any NSA overcollection.
      18.7.3.2.10      (U) OTHER APPLICABLE POLICIES

              18.7.3.2.10.1 (U) FISA
    A) (U//FOUO) Counterintelligence Division Policy Guide, 0717DPG
    B) (U//FOUO) Counterterrorism Policy Guide, 077 DEC
    C) (U/Ift/t10) investigative Law Unit Library
    D) (U//      e.) Foregn intellitence Surveillance Act (FISA) Unit.
      18.7.3.2.11            (U)COLLECTION HANDLING

(UNFOU0) All ELSUR downloading, processing, and handling of original, derivative, and
copies of original or derivative ELSUR evidence must be conducted by an ELSUR operations
technician (EOT) or other designated official (e.g. an agent who has successfully completed         b7E
ELSUR training in Virtual Academy). ELSUR evidence must not be uploaded into
              18.7.3.2.11.1 (U) DOWNLOADING, HANDLING, AND STORAGE OF FISA
                          INTERCEPT MEDIA FOR USE AS ORIGINAL EVIDENCE

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    1) (U//FOUO)




    2) (U)




    3) (U//FOU0) I




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18.7.3.3     (U) FISA TITLE VII (ACQUISITION OF FOREIGN INTELLIGENCE INFORMATION)

      18.7.3.3.1      (U) SUMMARY
(U) Titles I and III of the FISA (codified as 50 U.S.C. §§ 1801, et seq.) provide the standard,
traditional methods of collection against agents of foreign powers (including USPERs and
non-USPERs) and foreign establishments inside the United States. Title VII of FISA,
"Additional Procedures Regarding Certain Persons Outside the United States," provides the
means to target non-USPERs reasonably believed to be located outside the United States.
      18.7.3.3.2      (U) LEGAL AUTHORITY
    A) (U) FISA Amendments Act of 2008 (122 Stat 2436)
    B) (U) AGG-Dom, Part V.A.13
      18.7.3.3.3      (U) DEFINITION OF INVESTIGATIVE METHOD
(U) Title VII may be used for conducting FISAs on certain persons located outside the United
States.
      18.7.3.3.4      (U//F0F0) STANDARDS FOR USE AND APPROVAL REQUIREMENTS FOR
                      INVESTIGATIVE METHOD
(U//fOUO) See requirements under DIOG Sections 18.7.1, 18.7.2, and 18.7.3 and
requirements specified above.
      18.7.3.3.5      (U)DURATION OF APPROVAL

(U//F€3440) See requirements under DIOG Sections 18.7.1, 18.7.2, and 18.7.3 above.
      18.7.3.3.6      (U/IF-(41.0) SPECIFIC COLLECTION PROCEDURES FOR TITLE VII
(U) The relevant procedures (or collections) under Title VII are:
            18.7.3.3.6.1 (U) SECTION 702 - PROCEDURES FOR TARGETING NON-U.S.
                         PERSONS (NON-USPERS) WHO ARE OUTSIDE THE UNITED STATES
    (U/      O) Under Section 702, the Government has the authority to target non-USPERs
    who are located outside the United States if the collection is effected with the assistance
    of an electronic communication service provider, as that term is defined in FISA. This
    section does not require a traditional FISA request. Rather, under this section, the
    Attorney General and the Director of National Intelligence may authorize, for periods of
    up to one year, the targeting of non-United States persons reasonably believed to be
    located outside the United States to acquire foreign intelligence information, provided
    they execute a Certification that is submitted to and approved by the FISC. The
    Certifications are accompanied by an affidavit signed by the FBI Director. In addition,
    the FBI is required to file "Targeting Procedures" that ensure that only non-U.S. persons
    (non-USPERs) reasonably believed to be located outside the United States will be
    targeted for collection and "to prevent the intentional acquisition of any communications
    as to which the sender and all intended recipients are known at the time of the acquisition
    to be located in the United States." Additionally, the statute prohibits targeting any person
    reasonably believed to be located outside the United States for the purpose of obtaining


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  the communications of a particular, known person reasonably believed to be in the United
  States. Finally, the FBI is also required to follow 702-specific minimization procedures.
         18.7.3.3.6.2 (U) SECTION 703 - CERTAIN ACQUISITIONS INSIDE THE UNITED
                      STATES TARGETING UNITED STATES PERSONS OUTSIDE THE
                      UNITED STATES
  (U//FOUO) Under Section 703, the Government has the authority to target USPERs who
  are reasonably believed to be located outside the United States if the collection is effected
  with the assistance of a United States provider and if the collection occurs inside the
  United States. This section only authorizes electronic surveillance or the acquisition of
  stored electronic communications or stored electronic data that requires a court order,
  e.g., non-consensual collection. FISA 703 is an alternative to traditional FISA electronic
  surveillance (Title I) or physical search (Title III) authority when the facts meet the 703
  criteria. There are two notable differences between Section 703 and traditional FISA
  authorities. First, although the application must identify any electronic communication
  service provider necessary to effect the acquisition, the application is not required to
  identify the specific facilities, places, premises, or property at which the acquisition will
  be directed. Second, Section 703 allows for the targeting of a USPER who is "an officer
  or employee of a foreign power," even if the target is not knowingly engaging in
  clandestine intelligence gathering activities, sabotage, or international terrorism. To
  obtain authority to collect information under this section, the FBI must submit a FISA
  request and obtain a FISC order and secondary orders, as needed. The process to obtain
  that order is the same as the standard FISA process. Refer to the FISA Unit's website for
  further information. Section 703 also allows for emergency authorization. Unlike
  traditional FISA orders, however, surveillance authorized pursuant to this section must
  cease immediately if the target enters the United States. If the FBI wishes to continue
  surveillance of the USPER while he or she is in the United States, the FBI must obtain a
  separate court order under Title I (electronic surveillance) and/or Title III (physical
  search) of FISA in order to conduct electronic surveillance or a physical search of that
  USPER while the person is located in the United States. The use of any information
  collected using FISA 703 authority must comply with the applicable minimization
  procedures.
         18.7.3.3.6.3 (U) SECTION 704 - OTHER ACQUISITIONS TARGETING UNITED
                      STATES PERSONS OUTSIDE THE UNITED STATES
  (11/1-43130) Under Section 704, the Government has the authority to target USPERs who
  are reasonably believed to be located outside the United States if the collection occurs
  outside the United States (i.e. without the assistance of a United States' electronic
  communication service provider). The statute requires that the FISA court issue an order
  finding probable cause to believe that the USPER target is a foreign power, an agent of a
  foreign power, or an officer or employee of a foreign power and is reasonably believed to
  be located outside the United States "under circumstances in which the targeted United
  States person has a reasonable expectation of privacy and a warrant would be required if
  the acquisition were conducted in the United States for law enforcement purposes." To
  obtain authority to collect information under this section, the FBI must submit a FISA
  request and obtain a FISC order (the order will not include secondary orders). The

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  process to obtain a FISA 704 order is similar to, but more streamlined than, that for
  obtaining a traditional FISA under the standard FISA process. There are two notable
  differences between Section 704 and traditional FISA authorities. First, the application is
  not required to identify the specific facilities, places, premises, or property at which the
  acquisition will be directed. Second, Section 704 allows for the targeting of "an officer or
  employee of a foreign power" even if the target is not knowingly engaging in clandestine
  intelligence gathering activities, sabotage, or international terrorism. Refer to the FISA
  Unit's intranet website for further information. Section 704 also allows for emergency
  authorization. Unlike traditional FISA orders, however, surveillance authorized pursuant
  to this section must cease if the USPER enters the United States but may be re-started if
  the person is again reasonably believed to be outside the United States during the
  authorized period of surveillance. If there is a need to continue surveillance while the
  target is located inside the United States a separate court order must be obtained. The use
  of any information collected using FISA 704 authority must comply with the applicable
  minimization procedures.
  (uhteroi                                                                             I


         18.7.3.3.6.4 (U) SECTION 705 - JOINT APPLICATIONS AND CONCURRENT
                      AUTHORIZATIONS
  (U//FOUO) Section 705(a) "joint applications" allow the FISC, upon request of the FBI,
  to approve a joint application targeting an USPER under both Sections 703 and 704
  (authority to collect both when the facilities are located inside and outside the United
  States).
  (U//FOUO) Section 705(b) provides that if an order has been obtained under Section 105
  (electronic surveillance under Title I of FISA) or 304 (physical search under Title III of
  FISA), the Attorney General may authorize the targeting of the USPER target while such
  person is reasonably believed to be located outside the United States. The Attorney
  General has this authority under E.O. 12333 § 2.5. In other words, when the FISA Court
  authorizes surveillance of an USPER target, the Attorney General, under Section 705(b)
  and E.O 12333 § 2.5, can simultaneously authorize surveillance to continue if the target
  travels outside the United States during the authorized period of the surveillance.
  According to Section 705(b), there is no need for a separate order pursuant to Section 703
  or 704. During the FISA drafting process, an FBI employee should determine whether
  surveillance or physical search may occur for purpose of acquiring foreign intelligence
  while the person is reasonably believed to be outside the United States. If so, the FBI
  employee should consult with an OGC or DOJ-NSD attorney to ensure that appropriate
  language is added to the application.
  (u/iFeee)1


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